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UNITED STATES DISTRICT CG|URT FOR THE
NOR'I`HERN DISTRICT OF ILLINOIS, EAS'I`ERN DIVISION

UNITED STA'I`ES OF AMERICA,

Plaintiff,
V.
COOK COUNTY, ILLINOIS; NO. 10 C 2946
THOMAS DART, COOK COUNTY
SHERIFF (in his official capacity); Judge Virginia Kendall

TONI PRECKWINKLE, COOK COUNTY
BOARD PRES][DENT (in her official capacity);
COOK COUNTY BOARD OF
COMl\/IISSIONERS (in their official capacity),

Defendants,

 

 

Monitor Jeffrey L. Metznc]r', M.D.’s Report No. 11

 

.]effrey L. Metzner, M.D., P.C.

3300 East First Avenue

Suite 590

Denver, CO

E-mail: chfrev.metzner@ucdenver.edu

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JEFFREY L. METZNER, M.D., P.C.
3300 EAST FIRST AVEN`UE
SUITE 590
DENVER, COLORADO

TELEPI-IONE (303) 355-6842
FACSIMILE (303) 322-2155

l\/[EMORANDUM

TO: Donald J. Pechous, Esq.
Cook County State's Attoi'ney's Office
500 Riehard J. Daley Center
Chicago, lllinois 60610

]Paul O’Grady, Esq.

]Peterson Iolmson& Murray
233 South Wacl<er, 84th Floor
Chicago, lllinois 60606

Kerry Dean, Esq.

U.S. Department of Justice
]P.O. Box 66400
`Washjngton, DC 20035-6400

FROM: Jeffrey L. l\/letzner, M.D.

DATE: December 4, 2015
RE: U.S.A. v Cook Cow'zty, et al
No. 10C2946

l have completed my assessment of the mental health services offered at the Cool< County
Department of Corrections (CCDOC) through Cermak Health Services of Cook County (CI-ISCC).
I site visited CCDOC from November 2-6, 2015 .

Sources of information utilized in compiling this report included the following:

l. review of documents provided in response to my written request for pre-site information,
which included the following documents:
a. status update to the Agreed Order,
l). Mental Health Quality Improvement Committee meeting minutes,
c. Suicide Prevention Committee meeting minutes,
d. mental healthcare quality improvement studies,
e. two revised root cause analysis reports re: recent suicides Within CCDOC,
2. interviews With many inmates in group settings in Division 8 (RTU), Division 2 and
Division X,

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Re: Mental I-Iealth Services at CCDOC

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3. observation of treatment activities in Division 8,
4. information obtained nom key administrative and clinical staff that included, but was not
limited tO, the following persons:

J ay Shannon, M.D. (Acting CEO, Cool< County l-lealth and l-lospitals System),
Christopher Wurth (Chief Operating Officer Hospital Based Services),

Connie Mennella, M.D. (Chair, Department of Correctional Health Services),
Nneka Jones, Psy.D. (First Assistant Executive Director),

Kenya Key, Psy.D. (Chief of Psychoiogy),

David Kelner, M.D. (Chief of Psychiairy), and

Carlos Gomez, Psy.D. (Mental Health lDirector).

seasons

l also met with the psychologists and psychiatrists in a group settings during November 5 , 2015.

As always, l found the staff from Cl-ISCC and CCDOC to be courteous and helpful throughout my
five-day site visit.

ln this report the term “inmate” will be used in contrast to “detainee” in order to be consistent with
the Agreed Order’s terminology, although the vast majority of persons admitted to CCDOC are
pre-trial detainees

Overview

The Cook County Depa.rtment of Corrections consists of 9 main divisions in a group of buildings
covering over 100 acres. The inmate count during November 3, 2015 was 8,765.

Reference should be made to Appendix l for a more detailed summary of population and capacity
information

Findings

As per the June 3, 2010 memorandum regarding the June 2, 2010 meeting that included attorneys
from the Department of Justice, attorneys and representatives of the Defendants, and the monitors,
my findings relevant to the Mental Health Care section of the Agreed Order are summarized in
Appendix lV (5-13-10 Agreed Order Mental l-lealth provisions). Appendix IV includes excerpts
from prior site assessment reports if they provide relevant contextual information Consistent with
the June 2, 2010 meeting, I have forwarded my input to the other monitors who have primary
responsibility for sections that overlap with various mental health provisions as summarized in the
June 3, 2010 memorandum

Appendix ll summarizes the twelve mental health provisions of the Agreed Order that have been
in substantial compliance for at least 18 months. My assessment during this site visit did not raise
any concerns that these provisions were no longer in substantial compliance Appendix IlI
summarizes mental health provisions of the Agreed Order monitored by other monitors.

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Appendix V provides the current organizational chart regarding the Cermak Health Services.
Information Requests

Appendix Vl summarizes my revised document request for my next site assessment scheduled for
April 18-22, 2016

Please do not hesitate to contact me if l can answer any further questions
Sincerely,

0@_73 Mldg-MD

.leffrey L. Metzner, M.D.

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Execntive Summary-Eleventh Monitoring Report (Mental Health Provisions]|

Since the April 2015 site visit, the most significant progress has occurred in the following six
areas:

l. Continued improvement in the mental health programming (both in quantity and
quality) for inmates in the RTU and Special Care Unit.

2. Continued improvement in the quality improvement process, which is now in
substantial compliance

3. A significant increase in the salary for psychiatrists and an exemption relevant to the
Shal<man hiring requirements

4. initial implementation of out of cell correctional rehabilitation programming for
segregation inmates in Division IX.

5. lnitial implementation of out of cell structured therapeutic programming for RTU
segregation inmates.

6. initial implementation of the lntensive Management Unit (ll\/lU) in the RTU.

There is a total of 118 FTE mental health positions with 20 vacancies that represents 16.94%
vacancy rate. The vacancy rate has significantly decreased although the vacancy rate for
psychiatrists and psychologists remain problematic However, l am optimistic that recruitment of
psychiatrists and psychologists will significantly improve in the near future with the change in the
salary structure for psychiatrists and the modified Shakman hiring requirements

The leadership ofKenya Key (Chief Psychologist, Ph.D.), David Kelner, l\/l.D. (ChiefPsychiatrist)
and Carlos Gomez, Psy.D., Christopher Wirth M.D. and Connie Mennella, M.D. remains
impressive The working relationships between CCDOC and Cermak staffs continues to be good.

Two additional provisions of the Agreed Order are now in substantial compliance for at least 18
months, which means a total of 12 provisions have now been in compliance for at least 18 months.

Five (5) provision previously in partial compliance are now in substantial compliance
A total of nine (9) provisions were currently in partial compliance

Summa_r_'y of Compliance Findings

The following provisions Were assessed to be in substantial compliance (with the initial date of
substantial compliance noted in parenthesis):

Substantial compliance
59. Assessment and Treatment
a. Results of mental health intake screenings (§e§ provision 45.c, “Intake

Screening”) Will be reviewed by Qualified Mental Health Staff for appropriate
disposition (6/12)

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Executive Surnmary
Tenth l\/lonitoring Report (Mental Health Provisions)
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b. Cermak shall develop and implement policies and procedures to assess
inmates with mental illness; and to evaluate inmates’ mental health needs.
Said policies shall include definitions of emergent, urgent, and routine mental
health needs, as well as timeframes for the provision of services for each
category of mental health needs. (10/12)

i. Cermak shall provide the designated CCI)OC official responsible for inmate
disciplinary hearings with a mental health caseload roster listing the inmates
currently receiving mental health care. (6/12)

j. When CCDOC alerts Cermak that an inmate is placed in lock down status
for disciplinary reasons, a Qualified Mental Health Professional will review
the disciplinary charges against inmate to determine the extent to which the
charge was related to serious mental illness. The Qualified Mental Health
Professional will make recommendations to CCDOC when an inmate’s
serious mental illness should be considered as a mitigating factor when
punishment is imposed on an inmate With a serious mental illness and to
minimize any deleterious effect of disciplinary measures on an inmate’s
mental health status. (10/12)

k. In the case of mentally ill inmates in segregation, CCDOC shall consult with
Cermak to determine whether continued segregation is appropriate or
whether the inmate would be appropriate for graduated alternative based on
Cermak’s assessment (11/15)

l. Cermak shall ensure that mentally ill inmates in segregation receive timely
and appropriate treatment, including completion and documentation of
regular rounds in the segregation units at least once per week by adequately
trained Qualified Mental Health Professionals or by Qualified l\/llental Health
Staff With appropriate, on-site supervision by a Qualified Mental Health
Professional, in order to assess the serious mental health needs of inmates in
segregation Inmates who are placed in segregation shall be evaluated within
24 hours of placement and thereafter regularly evaluated by a Qualified
Mental Health Professional, or by a Qualified Mental Health Staff with
appropriate, on-site supervision by a Qualified Mental Health Professional to
determine the inmate’s mental health status, which shall include an
assessment of the potential effect of segregation on the inmate’s mental
health. During these regular evaluations, Cermak shall provide CCDOC
With its recommendation regarding whether continued segregation is
appropriate or Whether the inmate would be appropriate for graduated
alternative based on the assessment of the Qualified Mental Health
Professional, or Qualified Mental Health Staff With appropriate, on-site
supervision by a Qualified Mental Health Professional. (11/15)

m. Cermak shall maintain an updated log of inmates receiving mental health

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EXecutive Summary
Tenth Monitoring Report (l\/lental Health Provisions)
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services, which shall include both those inmates who receive counseling and
those who receive medication Cermak shall create such a log within six
months of the date this Agreed Order is executed The log shall include each
inmate’s name, diagnosis or complaint, and next scheduled appointment
Each clinician shall have ready access to a current log listing any prescribed
medication and dosages for inmates on psychotropic medications In
addition, inmate’s medical records shall contain current and accurate
information regarding any medication changes ordered in at least the past
year. (6/12)

61. Suicide Prevention Policy

a. CCDOC shall participate with Cerrnak in a jointly established Suicide
Prevention Committee charged with developing policies and procedures
to ensure the appropriate management of suicidal inmates and with
implementing and monitoring a suicide prevention program in
accordance with generally accepted correctional standards of care.

b. Cermak shall participate with CCDOC in a jointly established Suicide
Prevention Committee charged with developing policies and procedures
to ensure the appropriate management of suicidal inmates and with
implementing and monitoring a suicide prevention program in
accordance with generally accepted correctional standards of care.

c. The suicide prevention policy shall include, at a minimum, the following
provisions:
(1) an operational description of the requirements for both pre-service
and annual in-service training;
(2) intake screening/assessment;
(3) communication;
(4) housing;
(5) observation;
(6) intervention; and
(7) mortality and morbidity review. (11/13)

62. Suicide Precautions

a. CCDOC shall ensure that, where suicide prevention procedures established
jointly with Cermak involve correctional personnel for constant direct
supervision of actively suicidal inmates or close supervision of special needs
inmates with lower levels of risk (e..g., 115 minute checks), correctional
personnel perform and document their monitoring and checks.

b. Cermak shall ensure that, where suicide prevention procedures established
jointly with CCDOC involve health care personnel for constant direct
supervision of actively suicidal inmates or close supervision of special needs

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Tenth Monitoring Report (Mental Health Provisions)

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c.
d.

63.

64.

65.

3.

inmates with lower levels of risk (e.g., 15 minute checks), health care
personnel perform and document their monitoring and checks.

CCDOC shall ensure that when an inmate is identified as suicidal, the inmate
shall be searched and monitored with constant direct supervision until the
inmate is transferred to appropriate Cermak staff.

Cermak shall develop and implement policies and procedures for suicide
precautions that will set forth the conditions of the watch, including but not
limited to allowable clothing, property, and utensils, in accordance with
generally accepted correctional standards of care. These conditions shall be
altered only on the written instruction of a Qualified Mental Health
Professional, except under emergency circumstances (11/15)

Cermak shall ensure that Qualified Mental Health Staff assess and interact
with (not just observe) inmates on Suicide Precautions, and document the
assessment and interaction on a daily basis. (1 l/l ())

Suicide Risk Assessments

Cer_mak shall ensure that any inmate showing signs and symptoms of suicide
is assessed by a Qualified Mental Health Professional using an appropriate,
formalized suicide risk assessment instrument within an appropriate time not
to exceed 24 hours of the initiation of Suicide Precautions.

Cermak shall ensure that the risk assessment shall include the following:

(1) description of the antecedent events and precipitating factors;

(2) mental status examination;

(3) previous psychiatric and suicide risk history;

(4) level of lethality;

(5) current medication and diagnosis; and

(6) recommendations or treatment plan. Findings from the risk assessment
shall be documented on both the assessment form and in the inmate’s
medical record. (11/13)

Cermak shall ensure that inmates will only be removed from Suicide Precautions

after a suicide risk assessment has been performed and approved by a Qualified
Mental Health Professional, in consultation with a psychiatrist A Qualified Mental
Health Professional shall write appropriate discharge orders, including treatment
recommendations and required mental health follow-up. (11/15)

66.

a.

Suicide Prevention Policies

CCDOC shall ensure that suicide prevention policies established jointly with
Cerrnak include procedures to ensure the safe housing and supervision of
inmates based on the acuity of their mental health needs, in accordance with

4

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Executive Summary

Tenth Monitoring Report (Mental Health Provisions)

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generally accepted correctional standards

b. Cermak shall ensure that suicide prevention policies established jointly with
CCDOC include procedures to ensure the safe housing and supervision of
inmates based on the acuity of their mental health needs, in accordance with
generally accepted correctional standards. (6/12)

67. DFM shall ensure that cells designated by CC])OC or Cermak for housing
suicidal inmates shall be retrofitted to render them suicide-resistant (e.g.,
elimination of protrusive shower heads, unshielded lighting or electrical
sockets). Inmates known to be suicidal shall not be housed in cells with
exposed bars. (6/12)

68. Suicide Prevention Training

a. Cermak shall ensure that the Facility’s suicide prevention curriculum for health
care staff members, jointly established with CCD()C, addresses the following

topics:

(1).

(2)
(3)
(4)
(5)
(6)
(7)
(8)

(9)
(10)

the suicide prevention policy as revised consistent with this Agreed
Order;

why facility environments may contribute to suicidal behavior;
potential predisposing factors to suicide;

high risk suicide periods;

warning signs and symptoms of suicidal behavior;

observation techniques;

searches of inmates who are placed on Suicide Precautions;

case studies of recent suicides and serious suicide attempts (Serious
suicide attempts are typically considered to be those that either were
potentially life-threatening or that required medical attention);

mock demonstrations regarding the proper response to a suicide
attempt; and

the proper use of emergency equipment, including suicide cut-down
tools. (12/10)

70. Cermak shall document inmate suicide attempts at the Facility, as defined by the
Suicide Prevention Committee’s policies and procedure in accordance with generally
accepted correctional standards, in the inmate’s correctional record in CCDOC’s
new Jail Management System, in order to ensure that both correctional and health
care staff will be aware at future intakes of past suicide attempts, if an inmate with a
history of suicide attempts is admitted to the Facility again in the future. Cermak will
begin to document this information within six months after execution of this
Agreement. (6/12)

86. Quality Management and Performance Measurement

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Tenth Monitoring Report (Mental Health Provisions)

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Defendants shall each develop and implement written quality management
policies and procedures, in accordance with generally accepted correctional
standards, to regularly assess, identify, and take all reasonable measures to
assure compliance with each of the provisions of this Agreed Order applicable
to that Defendant.

Defendants shall each develop and implement policies to address and correct
deficiencies that are uncovered during the course of quality management
activities, including monitoring corrective actions over time to ensure
sustained resolution, for each of the provisions of this Agreed Order
applicable to that Defendant. (i 1/i5)

The complete list of provisions that were in partiai compliance Were as follows:

59. Assessment and Treatment

Cermak shall ensure that any inmate who screens positively for mental illness
or suicidal ideation during the intake screening process, through a mental
health assessment or who is otherwise referred for mental health services,
receives a clinically appropriate mental health evaluation in a timely manner,
based on emergent, urgent, and routine mental health needs, from a Qualified
Mental Health Professional, or Qualified Mental Health Staff with
appropriate, on-site supervision by a Qualified Mental Health Professional.
Such mental health evaluation shall include a recorded diagnosis section on
Axis I, II, and III, using the DSM-IV-'I`R, or subsequent Diagnostic and
Statistical Manual of the American Psychiatric Association. If a Qualified
Mental Health Professional, or a Qualified Mental Health Staff with
appropriate, on-site supervision by a Qualified Mental Health Professional,
finds a serious mental illness, they shall refer the inmate for appropriate
treatment Cermak shall request and review available information regarding
any diagnosis made by the inmate’s community or hospital treatment
provider, and shall account for the inmate’s psychiatric history as a part of the
assessment Cermak shall adequately document the mental health evaluation
in the inmate’s medical record.

Cermak shall ensure clinically appropriate and timely treatment for inmates,
whose assessments reveal serious mental illness or serious mental health needs,
including timely and regularly scheduled visits with Qualified Mental Health
Professionals or with Qualified Mental Health Staff, with appropriate, on-site
supervision by a Qualified Mental Health Professional.

Cermak shall ensure that treatment plans adequately address inmates’ serious
mental health needs and that the plans contain interventions specifically
tailored to the inmates’ diagnoses.

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Tenth Mom'toring Report (Mental Health Provisions)

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f’

g.

Cermak shall provide 24-hour/7-day psychiatric coverage to meet inmates’
serious mental health needs and ensure that psychiatrists see inmates in a
timer manner.

Cermak shall ensure timely provision of therapy, counseling, and other mental
health programs for all inmates with serious mental illness. This includes
adequate number of Qualified Mental Health Staff to provide treatment and an
adequate array of structured therapeutic programming Cermak will develop
and implement policies and procedures defining the various levels of care and
identifying the space, staff'mg, and programming that are appropriate to each
identified level of care.

Inmates shall have access to appropriate infirmary psychiatric care when
clinically appropriate

In the case of mentally ill inmates in segregation, CCDOC shall consult with
Cermak to determine whether condoned segregation is appropriate or whether
the inmate would be appropriate for graduated alternative based on Cermak’s
assessment

Cermak shall ensure that mentally ill inmates in segregation receive timely and
appropriate treatment including completion and documentation of regular
rounds in the segregation units at least once per week by adequately trained
Qualified Mental Health Professionals or by Qualified Mental Health Staff with
appropriate, on-site supervision by a Qualified Mental Health Professional, in
order to assess the serious mental health needs of inmates in segregation. Inmates
who are placed in segregation shall be evaluated within 24 hours of placement and
thereafter regularly evaluated by a Qualified Mental Health Professional, or by a
Qualified Mental Health Staff with appropriate, on-site supervision by a Qualified
Mental Health Professional to determine the inmate’s mental health status, which
shall include an assessment of the potential effect of segregation on the inmate’s
mental health. During these regular evaluations, Cermak shall provide CCDOC
with its recommendation regarding whether continued segregation is appropriate
or Whether the inmate Would be appropriate for graduated alternative based on
the assessment of the Qualified Mental Health Professional, or Qualified Mental
Health Staff with appropriate, on-site supervision by a Qualified Mental Health
Professional.

Cermak shall ensure that a psychiatrist physician or licensed clinical
psychologist conducts an in-person evaluation of an inmate prior to a seclusion
or restraint order, or as soon thereafter as possible. An appropriately
credentialed registered nurse may conduct the in-person evaluation of an
inmate prior to a seclusion or restraint order that is limited to two hours in
duration. Patients placed in medically-ordered seclusion or restraints shall be

7

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evaluated on an on-going basis for physical and mental deterioration.
Seclusion or restraint orders should include sufficient criteria for release.

Cermak shall ensure an adequate array of crisis services to appropriately
manage the psychiatric emergencies that occur among inmates. Crisis services
shall not be limited to administrative segregation or observation status.
Cermak shall ensure that inmates have access to appropriate acute infirmary
care, comparable to in-patient psychiatric care, within the Cermak facility.

60. Psychotherapeutic Medication Administration

21.

Cermak shall ensure that psychotropic medication orders are reviewed by a
psychiatrist on a regular, timely basis for appropriateness or adjustment
Cermak shall ensure that changes to an inmate’s psychotropic medications are
clinically justified and documented in the inmate’s medical record.

Cermak shall ensure timely implementation of physician orders for
medication and laboratory tests. Cermak shall ensure that inmates who are
being treated with psychotropic medications are seen regularly by a physician
to monitor responses and potential reactions to those medications, including
movement disorders, and provide treatment where appropriate

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Appendix l

 

11/3/2015

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auslNEss lN'rELLl¢ENcE uNl'r

 

Sheriff‘s Dailv Report
11/3/2015

 

 

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lail Population 8,765
Community Corrections 2,121

 

 

 

 

 

Jail Po

General ' n e

General 'on emale)

VRIC Cou.rt

PRC (Court Ordered Treatment

Women's 'Residential Court Ordered Treatment Program)
Outside Counties

Hospital

Comm Corrections P ulation

Electroru`c Monito ' (Court
Men
Wornen

Electronic Mo (Admin Ordered)
Men

Women

Court
M.O.M.s Program Court
VRIC Post Release (Court

 

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Cook County of Corrections Directors Log
Date: TUESDA¥, NOVEMBER 3, 2015 . oFc. DENNIS

Dorm One

Dorm Two
Dorm Three

Dorm Fou

Division Two

Div‘ls‘lon Three

Cermak

Div`lsion Four
Division Five
Division Six
Division t/RTU
Division Nine
D'N`ls`lon Ten
Division E|even

PRC population at Division 2, Dorm 2 &

s
E|ectronic
PRC at 3-Annex

General at 3-Annex

Sheriil“s Female Fu
Sheriff's Fema|e Fu
M.O.M.S. ram

Stroger Hospita|
Out[ying Hospita|s

 

 

 

 

 

 

Ma|es DeWitt
Fema|es ee
Livingston Cou
N|eroer Cou
Mou|trie
Piatt
County

Males 275 Marion
Females 50 Rock leland County

 

 

Division Nine Nolih Tower converted to specia|ity tiers, such as Discip|inary Segregation, Leve| System,
Proiective Custody and Administrative Segregation completed 12/07.

- Division Nine's capacity to 1012.

- Division Four's capacity to 704_

 

 

 

 

 

 

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Division Two

Division Three

Cermak

Dlvlsion Four
Dlvision Five
Division Slx
Division
Division Nine
Division Ten
Division Eleven

Divlslon Two
Divislon Three
Divlslon Four
Division Flve
Division Slx
Cermak
Division
Divislon Nine
Divlslon Ten
Divlslon E|even

Dorm One

Dorm Two
Dorm Three

Dorm Fou

lVllnlmum
Female Detalnees

Medlum
|Vledical

Maxlmum/Specialty

|V|ed Tler

Medlum

Beds not available due to them bel
Beds not available due to them

Beds not available due to them on

Beds not available due to them

female detainees
medical detainees
tiers Nine
Maximum
Schoo| tier beds
Worker tier beds

beds to be filled With lVllnlmum and Medlum General

 

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Appendix II

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59. Assessment and Treatment

a. Results of mental health intake screenings (see provision 45.<:, “Intake
Screening”) will be reviewed by Qualified Mental Health Staff for appropriate disposition.

Coinpliance Assessment: Substantial compliance (since June 2012).
Factual Findings:

May 2014 Metzner assessment Little change from November 2013. Still concerned re: likely
false positive screening numbers

November 2014 Cermak Status Update

Frorn intake referrals by nursing personnel (female intake = RN; male intake = RN or other
nursing designees) conducting screening upon all incoming inmates in RCDC, to the secondary
mental health assessments, the following referral numbers represent the percentage of referrals to
mental health by month from May 2014 through September 2014, Which show that the male
intake and secondary mental health referrals are remaining essentially constant at this point,
while there is a marked increase in female referrals to secondary mental health assessment
Further investigation by the Way of a Ql study of the lnitial lntake Evaluation Will need to be
conducted

SECONDARY MENTAL HEALTH REFER_RALS GENERATED BY INTAKE NURSING:

Male % Referral Total Female % Referral Total

Mayw2014 23.37% 832 3560 May_2014 57.08% 246 431
Jun_2014 22.41% 762 3401 Jun_2014 64.30% 272 423
Jul_2014 24.82% 865 3485 Jul__2014 63.79% 273 428
Aug_2014 22.48% 918 4083 Aug_2014 65.46% 290 443
sep_2014 22.17% 774 3491 sep_2014 79.42% 274 345

The chart below looks at the data from all new admissions to the mental health caseload, by
month and gender. The charts reflect those inmates identified and classified as P-2, P-3, or P-4
during the secondary mental health assessment at intake or Within the three days following
admission versus those Who Were placed on the mental health caseload at some later point during
incarceration The inter-rater reliability study has not yet been conducted for the Mental Health
Specialists within RCDC due to staffing levels and other competing priorities The data reflects
continual improvements in identifying mentally ill inmates at the onset of incarceration

MENTAL HEALTH CASELOAD GENERATED BY INTAKE V. DURING
INCARCERATION:
Adniit Month Male

Mental Health Classitication Within 3 day after Admit Mental Health Classification
During lncarceration
9_2014 95.28% 4.72%
8_2014 92.32% 7.68%

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7_2014 90.12% 9.88%
6_2014 89.37% 10.63%
5_2014 87.22% 12.78%

Admit Month Female
Mental Health Classification Within 3 day after Admit Mental Health Classification

During lncarceration

9__20l4 93.68% 6.32%

8_2014 88.09% 11.91%
7_2014 83.73% 16.27%
6_2014 37.20% 12.80%
5_2014 81.95% 18.05%

November 2014 Metzner assessment: Substantial compliance remains
b. Cermak shall develop and implement policies and procedures to assess inmates With
mental illness; and to evaluate inmates’ mental health needs. Said policies shall include

definitions of emergent, urgent, and routine mental health needs, as Well as timeframes for
the provision of services for each category of mental health needs.

Assessment: Substantial compliance (since October 2012)

i. Cermak shall provide the designated CCDOC official responsible for inmate
disciplinary hearings with a mental health caseload roster listing the inmates
currently receiving mental health care.,

Assessment: Substantial compliance (since lone 2012)
Factual Findings:
October 2012 Cermak Status Update
0 Cerner is now able to generate a patient roster for the mental health caseload to provide to
the CCDOC; however, it does not yet include the level of care/mental health classification
as this is being built Within the alert system
November 2013 Metzner assessment Substantial compliance continues.

November 2014 Cermak Status Updates

Cerner and CCOMS now have a fully operational, direct interface which makes mental health
classification/level of care immediately and accurately available to CCDOC by midnight each day.

November 2014 Metzner assessment No change

j. When CCDOC alerts Cermak that an inmate is placed in lock down status for
disciplinary reasons, a Qualified Mental Health Professional Will review the

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disciplinary charges against inmate to determine the extent to which the charge
was related to serious mental illness. 'll`he Qualified Menta]l Health Professional
will make recommendations to CCDOC when an inmate’s serious mental illness
should be considered as a mitigating factor when punishment is imposed on an
inmate with a serious mental illness and to minimize any deleterious effect of
disciplinary measures on an inmate’s mental health status.

Assessment: Substantial compliance continues (since October 2012).
Factual Findings:
November 2015 Metzner assessment Substantial compliance continues

m. Cermak shall maintain an updated log of inmates receiving mental health services,
Which shall include both those inmates Who receive counseling and those who
receive medication Cermak shall create such a log within six months of the date
this Agreed Order is cxecuted. The log shall include each inmate’s name,
diagnosis or complaint, and next scheduled appointment Each clinician shall
have ready access to a current log listing any prescribed medication and dosages
for inmates on psychotropic medications In addition, inmate’s medical records
shall contain current and accurate information regarding any medication changes
ordered in at least the past year.

Compliance Assessment: Substantial compliance (since lune 2012)
Factual Findings:

June 2012 Metzner assessment In addition to the above update section, staff demonstrated a
capacity to also include dosages of the psychotropic medications in the required log.

October 2012 Cermak Status Update

¢ The mental health roster has been updated. The roster is being updated routinely. Any
inmate on the roster Who is identified as missing an ICD 9 code as the result of data entry
of a tice text or another issue in Cerner is subsequently referred to a psychiatrist for entry
of a diagnosis and problem in correspondence to any prescription of a psychotropic
medication

November 2014 Metzner assessment No change.

61. Suicide Prevention Po]icy
a. CCDOC shall participate with Cermak in a jointly established Suicide
Prevention Committee charged with developing policies and procedures
to ensure the appropriate management of suicidal inmates and with
implementing and monitoring a suicide prevention program in
accordance with generally accepted correctional standards of care.

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b. Cermak shall participate with CCDOC in a jointly established Suicide
Prevention Committee charged with developing policies and procedures
to ensure the appropriate management of suicidal inmates and with
implementing and monitoring a suicide prevention program in
accordance with generally accepted correctional standards of care.

c. The suicide prevention policy shall include, at a minimum, the following
provisions:
(1) an operational description of the requirements for both pre-service
and annual in-service training;
(2) intake screening/assessment
(3) communication;
(4) housing;
(5) observation;
(6) intervention; and
(7) mortality and morbidity review.

Compliance Assessment: Substantial compliance (11/13)

Factual Findings:

November 2013 Metzner Assessment: Signiiicant improvement is noted in the Mortality &
Morbidity Review reports, Which are now using a root cause analysis format

As described elsewhere in this report, problems remain relevant to the intake
screening/assessment pr_ocess, especially in the context of priority referrals and segregation
admissions screening These issues are addressed elsewhere in this report.

November 2015 Metzner assessment My April 2015 recommendations were implemented
Substantial compliance continues

63. Cermalk shall ensure that Qualiiied Mental Health Staff assess and interact with (not
just observe) inmates on Suicide Precautions, and document the assessment and
interaction on a daily basis.

Compliance Assessment: Substantial compliance (since November 2010)

Factual Findings:

November 2013 Metzner Assessment: The EMRS of 10 inmates on suicide observation status
were reviewed Documentation was present in the EMR that mental health staff interacted with
(not just observed) these inmates on Suicide Precautions and documented their assessment and
interaction on a daily basis with one exception A patient on 2N while on suicide precautions only
received nursing notes one day, 10/20/13, which was a Sunday. There were no mental health
assessment notes documented that day.

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November 2014 Metzner assessment No change

64. Suicide Risk Assessments

a. Cermak shall ensure that any inmate showing signs and symptoms of suicide
is assessed by a Qualified Mental Health Professional using an appropriate,
formalized suicide risk assessment instrument within an appropriate time
not_to exceed 24 hours of the initiation of Suicide Precautions.

b. Cermak shall ensure that the risk assessment shall include the following:

(1)
(2)
(3)
(4)
(5)
(6)

description of the antecedent events and precipitating factors;
mental status examination;

previous psychiatric and suicide risk history;

level of Iethality;

current medication and diagnosis; and

recommendations or treatment plan. Findings from the risk
assessment shall be documented on both the assessment form and in
the inmate’s medical record. (11/13)

66, Suicide Prevention Policies

a. CCDOC shall ensure that suicide prevention policies established jointly with
Cermak include procedures to ensure the safe housing and supervision of inmates
based on the acuity of their mental health needs, in accordance with generally
accepted correctional standards.

b. Cermak shall ensure that suicide prevention policies established jointly with
CCDOC include procedures to ensure the safe housing and supervision of inmates
based on the acuity of their mental health needs, in accordance with generally
accepted correctional standards '

Compliance Assessment Substantial compliance (since lune 2012)

Factual Findings`:

November 2014 Metzner assessment No change

67. DFM shall ensure that cells designated by CCDOC or Cermak for housing suicidal
inmates shall be retrofitted to render them suicide-resistant (e.g., elimination of
protrusive shower heads, unshielded lighting or electrical sockets). Inmates known
to be suicidal shall not be housed in cells with exposed bars.

Compliance Assessm_ent Substantial compliance (since lune 2012)

Factual Findings:

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October 2012 Cermak Status Update:

¢ inmates known to be suicidal are not housed in cells with exposed bars; rather, they are
transported under 1:1 observation by a CO to Cermak and placed into a suicide resistant
cell, as ordered by a psychiatrist when deemed to be a suicide risk, and placed on close or
constant observation as ordered in Cemer.

November 2014 Metzner assessment No change.
68. Suicide Prevention Training

a. Cermak shall ensure that the Facility’s suicide prevention curriculum for health
care staff members, jointly established with CCDOC, addresses the following
topics:

(1) the suicide prevention policy as revised consistent With this Agreed
Order;

(2) why facility environments may contribute to suicidal behavior;

(3) potential predisposing factors to suicide;

(4) high risk suicide periods;

(5) warning signs and symptoms of suicidal behavior;

(6) observation techniques;

(7) searches of inmates who are placed on Suicide Precautions;

(8) case studies of recent suicides and serious suicide attempts (Serious
suicide attempts are typically considered to be those that either were
potentially life-threatening or that required medical attention);

(9) mock demonstrations regarding the proper response to a suicide
attempt and

(10) the proper use of emergency equipment including suicide cut-down
tools.

Colnpliance Assessment: Substantial compliance (since December 2010)
Factual Findings:

April 2013 Metzner assessment Relevant training continues to be provided to staff by the mental
health staff.

November 2013 Metzner assessment No change.
May 2014 Cermak Status Update

DOC Advanced Mental Health Training for In-Serviee: The DOC has now initiated its second
of many scheduled two-week iri-service training courses for existing DOC tenured Correctional
Officers in Advanced Mental Health Training to include Crisis Intervention Training (CIT) and
Cermak Health Services participates in the ClT component through a Correctional Psychologist
who describes the Cermak mental health delivery system and the mental health classification

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procedure as well. This program is provided at the jail on-site in training facilities within the
compound although it is nom the Academy curriculum

Cermak Suicide Prevention Training: The Cermak mental health training in Suicide Prevention
for mental health, nursing and medical professionals is ongoing and is offered routinely to ensure
that all staff maintain their current status in suicide training according to policy requirements A
Correctional Psycholo gist provides this training at least twice annually to assure ongoing
adherence to requirements in training and also offers Restraint Training as well.

November 2014 Cermak Status Updates

Same as above, training continues for all disciplines as described in May 2014 Cermak Status
Update.

November 2014 Metzner assessment No change

70. Cermak shall document inmate suicide attempts at the Facility, as defined by the
Suicide Prevention Committee’s policies and procedure in accordance with generally
accepted correctional standards, in the inmate’s correctional record in CCDOC’s
new Jail Management System, in order to ensure that both correctional and health
care staff will be aware at future intakes of past suicide attempts, if an inmate with a
history of suicide attempts is admitted to the Facility again in the future. Cermak will
begin to document this information within six months after execution of this
Agreement.

Compliance Assessment: Substantial compliance (since June 2012)

Factual Findings:

October 2012 Cermak Status Update:

o All inmate serious suicide attempts are monitored and reported at the Suicide Prevention
Committee that occurs on the fourth Friday of each month in Cermak, conducted by the
Chief Psychologist, with an agenda and minutes maintained A detailed report of each
serious suicide is completed and reviewed by a Correctional Psychologist at the committee
meeting following the attempt and it is treated as a morbidity review for the learning
experience CCDOC incident reports and Cermak medical records as well as court reports
are included in the morbidity review. Serious suicide attempts are also reported to the
monthly overall CQI committee and to the Sheriff’s Office. Any serious suicide attempt
also receives an alert in Cerner and in IMACS which is now also passed on to the Courts
so that they are aware of any history as well. There had been two instances of serious
attempts in court, where the court was not aware of prior attempts As a result, the Court
now participates in the monthly suicide prevention meeting and is now aware of these alerts
in Cerner and IMACS, a notable improvement directly attributable to a serious suicide
attempt

October 2012 Metzner assessment Substantial compliance continues

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May 2014 Cermak Status Update:

Suicide Prevention Committee Review: The Suicide Prevention Committee attempts to meet on
the fourth Priday each month and the agenda has a standing item to review any and all serious
suicide attempts for patterns that could identify areas for improvement to prevent future
occurrences from repeating events. Meeting minutes reflect review of individual cases and
ongoing efforts to prevent recurrence by efforts to correct any deficiencies identiHed. DOC,
Cermak, the Sheriff"s Office and the Court Oficials all participate in this mold-disciplinary
meeting.

November 2014 Cermak Status Updates

Suicide Prevention Committee Review: The Suicide Prevention Committee attempts to meet on
the fourth Friday each month and the agenda has a standing item to review any and all serious
suicide attempts for patterns that could identify areas for improvement to prevent future
occurrences from repeating events. Meeting minutes reflect review of individual cases and
ongoing efforts to prevent recurrence by efforts to correct any deficiencies identified DOC,
Cermak, the Sheriff’s Office and the Court Officials all participate in this multi-disciplinary
meeting Full Root Cause Analyses are completed during these meetings for any completed
suicides occurring in the 30 days prior. Root Cause Analyses are also used for other sentinel events
as determined by administration RCAs for two completed suicides since last site visit provided
as password protected files under separate cover.

November 2014 Metzner assessment Substantial compliance continues

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Appendix III

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Appendix III

Mental health provisions of the Agreed Order monitored by other monitors

H. QUALITY MANAGEMENT AND PERFORMANCE MEASUREMENT

C.

CCDOC shall participate with Cermak and DFM in a jointly established
Health Care Quality Improvement Committee, to be charged with
developing and implementing a joint quality improvement program.
CC])OC shall contribute the time and effort of CCDOC staff members who,
by virtue of their authority, current responsibilities, and/or past experience,
can provide this committee with needed correctional representation

Cermak shall participate with CCDOC and DFM in a jointly established
Health Care Quality Improvement Committee, to be charged with
developing and implementing a joint quality improvement program. Cermak
Will Work with CC])OC and DFM to identify those CCDOC and DFM staff
members who, by virtue of their authority, current responsibilities, and/or
past experience, can provide this committee with needed correctional
representation Quality management programs related to medical and
mental health care will utilize performance measurements to assess quality of
care and timely access to care with quantitative and qualitative data analysis
and trending over time.

DFM shall participate with CCDOC and Cermak in a jointly established
Health Care Quality Improvement Committee, to be charged with
developing and implementing a joint quality improvement program. DFM
shall contribute the time and effort of lDFM staff members who, by virtue of
their authority, current responsibilities, and/or past experience, can provide
this committee with needed correctional representation.,

Compliance Assessment: Refer to the report by Dr. Shansl<y (initially found to be in substantial
compliance during 2011 and again during 2013)

69. CCDOC shall ensure that security staff posts will be equipped, as appropriate, with
readily available, safely secured, suicide cut-down tools.

Compliance Assessment: Refer to the report by Susan l\/lcCampbell.

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Appendix IV

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AGREED ORDER
D. MENTAL HEAL'I`H CARE
59. Assessment and Treatment

c. Cermak shall ensure that any inmate who screens positively for mental
illness or suicidal ideation during the intake screening process, through a
mental health assessment, or who is otherwise referred for mental health
Services, receives a clinically appropriate mental health evaluation in a timely
manner, based on emergent, urgent, and routine mental health needs, from a
Qualified Mental Health Professional, or Qualified Mental Health StaH` with
appropriate, on-site supervision by a Qualified Mentai Health Professional.
Such mental health evaluation shall include a recorded diagnosis section on
Axis I, II, and III, using the DSlVl-IV-TR, or subsequent Diagnostic and
Statistical Manual of the American Psychiatric Association. If a Qualified
Mental Health Professional, or a Qualified Mental Health Staff with
appropriate, on-site supervision by a Qualified Mental llIealth Professional,
finds a serious mental illness, they shall refer the inmate for appropriate
treatment Cermak shall request and review available information regarding
any diagnosis made by the inmate’s community or hospital treatment
provider, and shall account for the inmate’s psychiatric history as a part of
the assessmentl Cermak shall adequately document the mental health
evaluation in the inmate’s medical record.

Compliance Assessment:

Partial compliance with paragraph c.
Factual Findings:

November 2015 Cermak Status Update

Cermak has begun tracking responses from other facilities and providers in response to Request
for Medical Records. Dr. Gomez requested that Medical Records add another metric to the
collectable data- length of time that takes responses to arrive, further updates to follow. The rate
of return is insufficient and a plan to ‘°personalize” data collection will be formulated through
speaking with the l\/ledical Records Departments of the main “feeder” institutions including
Chicago Read, the VA system and large community hospitals to facilitate the said exchange of
information

 

Mental Health Med/ Surg
June 15 Sent 63 Recvd 22 Sent 33 Recvd 10

 

 

 

 

 

 

 

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34.9% 30.3%
July 15 Sent 49 Recvd 27 Sent 38 Recvd 19
55.1% 50.0%
August 15 Sent 39 Recvd 17 Sent 47 Recvd 17
43.6% 36.2%
September 15 Sent 29 Recvd 9 Sent39 Recvd 15
31.0% 38.5%

 

 

 

 

 

 

All Providers, Psychologists, MSW and MHS have received their personalized access to the lail
Data Link database allowing them to source data about previous admissions to municipal and
State institutions receiving federal grants or directly administered by the State of lL. All
Providers, Psychologists, MSW and MHS have personalized access to the Jail Management
System (CCOMS) allowing them to review charges, legal and disciplinary history in real time.
All the WYSE terminals and desktops that Cermak utilizes across the compound (including
RCDC) permit CCOMS access

Since the April 2015 visit Cermak has reviewed, revised and updated relevant policies by
October l, 2015. Drs. Kelner and Key participated in the revision process of the relevant
policies Updated policies are currently posted on Cermak’s lntranet and available for review.
Unit Directors continued with annual policy reviews for MHS/ MSW during group supervisions
in respective clinical areas The following policies have been reviewed with Cermak’s doctoral
level Providers and Mental Health Specialists/Social Workers/Art Therapists: :

1. In person on 09/10/2015: D-02.1, E-05, E-06.l, E-08, E-09, E- 13.2, E-13.2, E-l$, I-Ol, 1-02,
I-02.l, l-04, I-05, 1-05.1, G-04, G-04.l.
2. On Cermak lntranet: G-03, G-05, G-12, D-Ol .8.

Unit Directors have continued with annual policy reviews for MHS/ MSW during group
supervisions in respective clinical areas ln October 20l5, all staff received overviews of the
Cermak policies most affecting MHS operations and staff, including: A-Ol, A-l l, B-02, B-03,
B-04, B-06, B-08, D-OS, E-02, E-OS, E-07, E-OS, E-09, E-12.2, E-l4, G-02, G-03, G-04, G-05,
G-06, G-lZ, H-Ol, H-02, I-02, I-05 and l-07. Training in Suicide Prevention and lntervention
was completed in Sept and October 2015 with 97% of all MHS completing the training All
Ml-lS staff can access all policies via the Cermak intranet.

Mental Health Caseload: October 20l 5
Total lail Population as of l0/01/2015: 8,751
P2-Outpatient Mental Health 1571 17.94% (oftotal) 77.6% (of Ml-l load)

P3- lntermediate Mental Health 382 4.36% (oftotal) 18.8% (of` Ml-l load)
P4- Infirmary Mental Health 69 0.78% (oftotal) 3.4 % (of MH load)

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Total 2022 23.08%

The percentage of P3 detainees has decreased from 23% to 18.8% even though the MH caseload
has increased by 466 detainees Aside from intrinsic/system specific factors (analyzed below)
there is a general consensus that the demographics of the detainees entering the CCDOC campus,
in spite of robust jail diversion efforts by CCDOC and the expansion of alternative programs
reflect to some degree the state of affairs in local communities where massive closure of city
clinics serving Cook County residents has taken place. Out of 12 clinics, 6 have been closed
between 2012 and 2014 with the resultant worsening of access to care for hundreds of the
mentally ill residents Furthennore, community trends point in the direction of snowballing
difficulties in terms of access to Mental Health Care.

As a result, we have been witnessing that the mentally ill enter the jail, in many cases, with
untreated or undertreated conditions and contribute to the pool of patients requiring higher levels
of care. Secondary mental health intake assessments completed during luly - September 2015
resulted in 20% of males being placed on the mental health caseload at the intermediate level of
care and 15% resulting in special care unit admissions For female admissions during the same
time frame, 22% were placed on the caseload at the intermediate level of care and 9%resulted in
special care unit admissions The intake mental health staff continues to identify the seriously
mental ill at a rate of above 90% for male detainees and approximately 88% for female
detainees See Excel Appendix.

The psychologist supervising the staff in the RCDC/lntake unit conducted a CQl audit of the
charts of 101 detainees with a completed MH assessment (aka secondary assessment) to examine
the quality of dispositions during Secondary Mental Health Assessments as well as rates of
referrals for Secondary MH Screening in RCDC is attached in the appendix. ln 94% of the cases
reviewed the supervisor agreed with the clinical disposition of the QMHP.

Mental Health Leadership met with Director of Patient Care Services to discuss ways of
improving the lnitial Screening process in RCDC (the rate of referrals to Secondary MH
Assessment/ the rate of false positives remains lower than expected). lt was decided to analyze
the existing instrument used by screeners in terms of sensitivity and balance it out against other
imperatives during the screening process lt was decided to maintain the screen in its current
form for the time being and instead focus on the process and fidelity of the screening assessment
to Cermak policies and procedures Next, the tool will be examined regarding any potential
changes that may be indicated

ln the meantime, primary screeners were presented with an overview/refresher of the procedure
lt was emphasized that the cut off score of 13 is important but not the only trigger to warrant
further referral to mental health There was a misconception that the total score on the 6-question
screen is the only thing that matters When considering referrals to mental health following the
initial CHS initial health Screen. Any positive response to a mental health related question
AND/OR a score of 13 or more on the 6-question screen results in an automatic referral to

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mental health for an assessment Screeners should be asking for lifetime use of mental health
services A detainee is to be referred to mental health for assessment at intake if the 6-question
screen is positive AND / OR the detainee responds affirmatively to any of the other Ml-l
screening questions We would expect to see a higher number of referrals going forward with
clarifications provided

Dr. Kehier reviewed psychiatry referrals originating in the intake process as per below. Chart
review of patients identified as not seen was also conducted and can be found in the Appendix.

 

 

 

 

Psychiatry Referrals Emergency lllrgent ROUTINE
from Intake

<4 Hrs 138 30.23%

<24 Hrs 11 6.40% 140 87.50% 27 5 .09%

 

 

 

 

 

 

 

 

 

 

 

 

>24 Hrs but< 72 Hrs 3 1.74% 3 1.88% 45 8.49%
>72 Hrs but< 14 days 3 1.74% 3 1.88% 165 31.13%
>14 Days 4 l.74% 3 1.88% 39 7.36%
D/’C Bef`ol‘e Range 0.00% 1 0.63% 178 33.58%
limit

Not Seen 10 5.81% 10 6.25% 76 14.34%
Total 172 l60 530

 

 

 

To account for the previously noted high rate of referrals to the Special Care Unit (forrnerly
referred to as the lnfirmary) &om RCDC the following may be relevant Traditionally, certain
charges have commanded increased scrutiny and clinical caution:

1. Alleged victim is very young (younger then Syo)

2. Alleged victim is very old

3. Cases of incest

4. Cases of unusual, grotesque and wanton cruelty and deviant behavior (sexual sadism and
mutilation of victims....i.e. dismemberment)

5. When HlV/ AIDS transmission is involved

6. High profile subjects (high ranking and or notable public officials politicians, clergy,
community activists, prominent businesspeople, heirs to fortunes, local celebrities)

These particular circumstances alone in many cases produce extraordinarily high levels of shame
/guilt and leads to family disruption and withdrawal of support from detainees in turn leading to
heightened vulnerability and suicide risk. The same gender situations can be even more
damaging to family relationships due to acknowledged and unacknowledged feelings of
homophobia in certain communities and deserve more scrutiny in terms of their impact on
detainees Traditionally, the cases that made it on the Chicago Breaking News were treated as
high profile Attempts were made to formalize Special Care Unit Admission criteria and the staff
were instructed not to consider automatic Special Care Unit admissions for the above charges in

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the absence of any prior Ml-l history or current mental status findings Some exceptions have
been made and Predatory Criminal Sexual Assault charges qualify for Special Care Unit
admission Clinical caution in high profile cases causes a tendency to admit to Psychiatric
lnfirmary aggressiver instead of collaborating with CCDOC seeking safer arrangements in PC,
for instance

Furtherrnore, as noted earlier, the psychologist supervising the MH staff in the RCDC/Intake unit
that conduct the comprehensive Ml-l assessment conducted an audit of lOll of charts She
concurred 100% with all dispositions from lntal<e to the Special Care Unit (SCU).

November 2015 Metzner assessment My April 2015 recommendations were adequately
addressed in the status update section.

Pa:rtial compliance remains relevant to referrals being seen by psychiatrists in the timeframe
required by the Agreed Order. Based on the new data provided via the changes in the
management information system, l think it is likely that the partial compliance is not due to
staffing vacancies but related to detainees being transferred to the Special Care Unit (formerly
referred to as the lnfirmary) prior to being seen by a psychiatrist l discussed with staff ways to
mrther clarify this area in order to better assess the level of compliance

The most problematic area was the percentage of routine referrals not being seen, which
appeared to be related to tracking and scheduling issues that need to be handled via IT revisions
A work order has been recently placed to do so.

Recommendations: As above.

d. Cermak shall ensure clinically appropriate and timely treatment for inmates,
whose assessments reveal serious mental illness or Serious mental health
needs, including timely and regularly scheduled visits With Qualified Mental
Health Professionals or with Qualified Mental Health Stafl", with
appropriate, on-site supervision lay a Qualified Mental ]l~Iealth Professional.

Compliance Assessment: Partial compliance

Factual Findings:
November 2015 Cermak Status Update

All programming hours and statistics relative to this provision can be found in the Mental Health
Monthly Statistics Report (attached).

COMPOUND HOUSlNG PLAN BY l\/[ENTAL l-IEALTH LEVELS OF CARE las of October
282 20l 51

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Cennak- P4 (Psychiatric Special Care Unit)- 2N acute male, 2W-acute and chrome female,
ZS/ZSE- male subacute, 2E- male chronic, P4 can also be housed on the third floor in Medical
Special Care Unit under special circumstances I-lousing on 38 for Mental Health reasons
requires TX orders from PCC/ Dr. Mennella. Patients with M4 and P4 can be housed on the
Medical Special Care unit based in interdisciplinary decision

¢ Division l: NO MENTAL HEALTH HOUSlNG
0 Division ll: MALE MENTA_L HEALTH l-lOUSlNG

l Dorm 2: Mental l-lealth Outpatient P2; **if any Mental Health
lntermediates (P3) are placed there, Dr. Gary works transferring them to
RTU; Westcare tiers - O/P/R (substance abuse, court ordered treatment
program); Inmates on the mental health caseload require clearance from
psychology and psychiatry prior to transfer to Westcare; CCDOC
continues to house detainees that attend MHTC (Mental Health Transition
Center) in Division ll Dorm 2

l Dorm l: NO MENTAL l-lEALTH HOUSlNG

' Dorm 3: NO MENTAL l-lEALTH HOUSING

' Dorm 4: NO MENTAL l-IEALTH HOUSlNG

o Division lIl: Female MENTAL HEALTl-l l-lOUSlNG, P2, 3rd floor on 3A and 3B; there
was a Seg. unit en the iST floor for st and GPS until 10/30/15
¢ Division lV: No l\/IENTAL l-IEALTI-l HOUSING
¢ Division V: NO MENTAL I-IEALTH l-lOUSlNG
Division Vl: MA_LE MENTAL l-lEALTH HOUSING
o Protective Custody: 2A, 213 and 2C

' Mental Health Outpatient P2 (only require mental health clearance prior to
placement/ within 24 h if restricted housing rules apply) **No Mental
l-lealth lntermediates P3 should be cleared by mental health to transfer to
PC in Division Vl; they should only be cleared for PC in Division Vlll
RTU

o Segregation: Tiers 1N and lP, 2D- PC/seg.

l Mental Health Outpatient P2 (require mental health clearance prior to
placement/within 24 h) **No Mental Health lntermediates P3 should be
cleared by mental health to transfer to segregation in Division Vl; they
should only be cleared for segregation in Division Vlll RTU

0 Division Vlll RTU: MENTAL HEALTl-l HOUSING
o Sth floor Females

' l\/lental Health lntermediates P3 (tiers B, F) Mental Health Outpatients P2
and DETOX (all other tiers)

' Segregation (tier A) Protective Custody (tier E) (restrictive housing
require mental health clearance prior to placement/within 24 h)

o 4th floor Males
' Mental Health lntermediates P3 (all tiers)
' Segregation (tier A) Protective Custody (tier E)

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o Mental Health lntermediates P3 (restrictive housing require mental
health clearance prior to placement/within 24 h)
o 3rd floor Males
' Medical Interrnediate l\/l3s (may also be P2s) with overflow l\/lental Health
lntermediate P3s
o 2“d floor Males
' Mental Health lntermediate Overflow P3 (tier 2]3)
l lntensive Management Unit (tier 2A)
0 Division lX: MALE l\/EENTAL HEALTH HOUSING
o Protective Custody (Tiers 3E, 3F, 3G house alone/out alone/ admin segregation,
3H PC)

' l\/lental Health Outpatient P2 (restrictive housing require mental health
clearance prior to placement/within 24h) **No Mental Health
lntermediates P3 should be cleared by mental health to transfer to PC in
Division lX; they should only be cleared for segregation in Division Vlll
RTU

o Segregation- non-administrative segregation (l`iers ll-l and lG as needed)

' Mental Health Outpatient P2 (require mental health clearance prior to
placement/within 24h) **No Mental Health lntermediates P3 should be
cleared by mental health to transfer to segregation in Division IX; they
should only be cleared for segregation in Division Vlll - RTU

o Level System _Division 9 lE

' Mental Health Outpatient P2 (require mental health clearance prior to
placement/admin 24h) **No Mental Health lntermediates P3 should be
cleared by mental health to transfer to segregation in Division IX; they
should only be cleared for segregation in Division Vlll-RTU

o Special lncarceration ('l`ier SI)

' Mental Health Outpatient P2 (require mental health clearance prior to
placement/within 24h) **No Mental Health lntermediates P3 should be
cleared by mental health to transfer to segregation in Division lX; they
should only be cleared for segregation in Division Vlll - RTU; Cermak
Mental Health Leadership provides a higher level of review for detainees
at P2 level admitted to Sl during their 3 day stay there.

Inmates may be in the level system for extended periods of time but DOC
has made a commitment to have a 72 hour limit on anyone placed in Sl
barring extreme circumstances lf` mental health leadership determine that
someone is too ill to handle Sl they are pulled out sooner than the 72 hours
or prevented from going in at all. Deployment of safety garments in Sl is
recommended to CCDOC by Ql\/ll-lP’s.

o General Population (all other tiers in the division)
' Mental Health Outpatient P2

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o Division X: MALE MENTAL HEALTl-l HOUSING: Mental Health Outpatient P2 **if
any Mental l-lealth lntermediates (P3) are placed there, Dr. Gary works on transferring
them to RTU

O )
o Disciplinary Segregation- lA; lD (require mental health clearance prior to
placement/within 24 h or preplacement)

o Protective Custody -1C (clean) and 2C
' **No Mental Health lntermediates should be cleared by mental health to
transfer to segregation/PC in Division X; they should only be cleared for
segregation in Division Vlll RTU
Division Xl: NO l\/lEN'l`AL l-lEALTl-l HOUSING
Division XIV: NO MENTAL l~lEALTH HOUSING
Division X`Vl (Boot Carnp): NO MENTAL HEALTH HOUSlNG
Division XVll (Women's lustice): FEMALE MENTAL HEALTl-l HOUSING
o Mental Health lntermediates P3 (requires clearance from DWJS staff)
o Mental Health Outpatients P2 (requires clearance from DWJS staff)

Compound Housing Discussions

Following several walk around tours and strategic meetings between CCDOC and Cermak, there
has been no further development on the Division Xl project and plans to relocate P2 detainees
from Divisions ll, Vl, IX and X have been tabled indefinitely

Mental Health Transition Center: A letter was written by Sheriff Dart to CCHHS Leadership
asking for assistance in the transition to the residential Ml-ITC in July 2015. A series of meetings
took place between agencies to assess the work needed to facilitate MHTC’s transition to its
residential form. In order to maximize available human and equipment resources as well as
access to the program by the greatest number of P2 detainees Cermak suggested Div. 2 Dorm 2
be entirely relocated to the MHTC Prograrn. lt was decided that the planned transition would
have to be pushed back following the completion of other ongoing housing plan projects on the
compound CCl~ll-lS seeded 3 million dollars for additional hiring to staff the transition center
program.

Proposed movement to Division 4, which was intended to merge Division lll and Division XVll
(SWJP), has been pushed back following the completion of other ongoing housing projects on
the compound

ln September 2015 CCDOC Leadership proposed to move SMU tiers from Divisions X and lX
to Division V. A series of interagency meetings were held to identify clinical and programming
space and to develop staffing and programming plans for Cermak and CCl)OC staff. No
decision has been made to finalize that plan.

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RTU staffing levels

RTU 5““ floor females (aiso RTU 4th noor(+ znd and 3“'
cover Div. 3) floors)

Psychiatrist 1.2 1.4

Psychologist/Unit Director 1.0 1.0

Social workers 1.0+ 1.0 Expressive therapist 1.0+1.0 Expressive therapist

Mental Health Specialists 2Ml-lS lll+41\/1HS ll on AM 4Ml-IS lll + 4MllS ll on AM
21\/|l-lS lll -I- 2MllSlI on PM 4MHS III + lMllS ll on PM

ll\/IHS llI + l MHS ll on
Midnight Shift ( for the whole
RTU)

P3 264 P2 3 (267)

 

 

 

 

Populaaon Ps 78 Pz 114(192)

 

RTU total population 637

P2 200

P3 378

Detainees with medical alerts/detox on the second and third floors 178

MALE RTU

RTU 4th floor has implemented several changes since April of 2015 to increase treatment
programming individualize mental health services and enhance the treatment milieus. ln the
past, other divisions held P3 overflow while detainees awaited bed space. Mental Health and
CCDOC in RTU worked together to create an overflow donn on the second floor to house P3s in
one building Ml-l staff from the 4th floor provide on tier group sessions and brief individual
follow up to assess and monitor patients ln addition to the P3 overflow dorm on 2B, the second
floor of RTU will house the lntensive Management Unit (lMU), which will provide a structured
program for high risk detainees in CCDOC. Selected personnel from mental health, CCDOC,
nursing, and correctional rehabilitation services will collaborate to develop and implement
individualized treatment plans for detainees housed on this unit. Mental health staff will provide
individual and group sessions to address the social, emotional, psychological, and psychiatric
needs of the patients

During the DOJ visit in April of 2015, the poor hygiene of some detainees was observed to
disrupt the treatment milieu on RTU dorms. Many of the identified individuals were chronically
mentally ill, noncompliant with psychotropic medication, and noncompliant with treatment
groups l\/lental health staff and CCDOC subsequently collaborated to develop a "low
functioning dorm" on tier 4B. ln general, individuals housed on this donn are chronically
mentally ill and/or cognitiver delayed Several higher functioning detainees remain on the unit
to model and encourage positive behaviors Mental health staff identifies appropriate candidates
for this dorm during weekly multidisciplinary team meetings (MDT's). Treatment programming

 

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for this tier was adjusted to address patient needs. Specifically, additional on tier groups were
added to facilitate participation and monitoring on the dorm. Mental health staff focuses
strongly upon hygiene, self-care, and medication compliance Patients on this tier collectively
developed a list to document showers of all detainees on the dorm to assess daily self-care.
Individuals who have severe and ongoing problems with hygiene/ grooming are placed on a self-
care behavioral plan that is kept in the tier blue book for input from both mental health and
security staH`. Following an interagency decision to provide “assisted hygiene interventions” for
detainees with SMI rehising basic hygiene in RTU and in the Psychiatric Special Care Units,
changes were made in the handling of detainees with poor hygiene. An understanding was
reached between Public Defenders’ Office, CCDOC, ASA, Cermak, and other interested parties
that “the Warden” has a duty to provide hygiene over the objections of detainees when public
health is at stake. The appropriate legal body of work is available elsewhere Presently, detainees
in need of hygienic procedures (excluding, thus far, haircutting) are to be admitted in a
preplanned way to the psychiatric special care unit where Dr. Key and the Superintendent have
developed the hygiene protocol allowing for the coordinated administration of hygienic services
When warranted, detainees displaying disorganization of behavior (along With the other salient
criteria) are considered and petitioned for the nonemergency administration of psychotropic
medications.

In August of 2015, mental health staff and Commander Dominguez conducted community
meetings on each tier of the fourth floor to encourage participation in the treatment milieu. At
that time, each tier was introduced to the specific mental health specialists assigned to their dorm
for day and evening shifts Expectations for treatment participation, medication compliance, and
general conduct were reviewed. Detainees were informed they could earn incentives with
appropriate behavior and treatment compliance including participation in a morning walking
group off the tier as well as outside recreation in the yard. Mental health staff recommends
patients for the walking group and for outside yard each week to reward individuals who have
attended groups, complied with medication, and demonstrated effective self-control on the tiers.
Since 9/23, selected detainees have been able to participate in the yard incentive on three
occasions. Periodically, the incentive has been cancelled due to CCDOC stalling issues and/ 01‘
problems within the jail that necessarily prohibited such movement

In terms of treatment programming, mental health staff have been providing at least 10 hours of
treatment groups per detainee per week, including both on tier and off tier groups Currently,
mental health staff provide off tier groups nom 9am until 12 on all days of the week. ln
addition, several on tier groups are held during the day to encourage self-care (Rise and Shine)
and to promote communication about relevant issues (Community Meeting). An on tier
“Reflection Group" was added during the evening to provide detainees with the opportunity to
discuss personal goals and potential barriers to success. Detai_nees are also encouraged to
participate in on tier movie discussion groups as well as off tier expressive therapy groups
While most groups have been conducted by bed number, a few mental health staff have
experimented with voluntary "sign up" groups. The following topics were offered to certain
dorrns: Healthy Relationships, Grief and Loss, Employment, and Book Club. Mental health staff

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and detainees provided positive feedback regarding the voluntary groups Consequently, the 4th
floor will aim to provide more voluntary sign-up groups as we implement the individualized
treatment card program that has already started on the 5th floor.

P3 detainees continue to have individual contacts With l\/£H staff through l tol follow up with
assigned clinicians, use of Health Service Request Forms (HSRF's), and crisis intervention or
"psych evals." P2 detainees access mental health services through HSRF's and crisis intervention
as needed.

DOJ has recommended increased out of cell time for detainees on segregation units ln July 25 ,
2015, tables on the segregation unit of the 4th floor (4A) Were fitted With rings to Sa_f`ely shackle
detainees ln August of 201 5, treatment groups began on this tier with selected staff from mental
health and CCDOC. To date, mental health staff has co-facilitated groups on Tuesday,
Wednesday, and Thursday mornings This schedule intended to acclimate staff and participants
to general procedures Mental health staff will begin conducting groups from Monday through
Friday during both day and evening shifts to eventually provide approximately 10 hours of group
on the tier per week. The Superintendent and Commander requested no treatment programming
on the weekends due to staffing issues and potential conflicts with detainee visits ln addition to
group programming mental health staff conducts segregation rounds once per week. Detainees
are also seen for individual follow up.

Regarding challenges7 mental health staff absences and staff having to be pulled to cover other
clinical areas continue to impact programming as do shortages in CCDOC staffing. To
illustrate, off tier groups have been reduced on multiple evenings and weekends since luly due to
"lockdowns," lack of movement officers and periods of essential movement Staff is
encouraged to make up groups that are missed whenever possible and to follow`up With their
individual caseloads as regularly as possible Limited space and computers make it difficult to
conduct all clinical activities and charting before 2pm when CCDOC conducts count. Further,
motivating detainees to participate in treatment often remains a struggle Staff attempt to
provide incentives and encouragement as much as possible ldeally, the treatment cards will
provide added incentive for detainees Mental Health staff, nursing, and CCDOC continue to
collaborate on identifying and addressing dangerous behaviors on the dorms. Medication misuse
has been a frequent issue Whenever possible mental health staff remains on the donns for
medication distribution to encourage compliance It has been difficult to consistently coordinate
with nursing for all 8 tiers on the 4th floor due to staffing issues and due to the schedule for
group programming (starts at 9am).

lntensive Management Unit (IMU)

A series of collaborative meetings between agencies took place since the last site visit. Active
participation in this project reflects the importance and rising visibility of non-suicidal injury on
the compound, frequently accompanied with additional stress on Cermak and CCDOC’s
operational capacity. This Unit is designed to house the detainees who would otherwise be

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housed on 2S/2SE. The location was chosen as RTU-2A. Appropriate physical plant
modifications were carried out in order to safely secure detainees to stationary objects during
structured on the tier programming and allow for safe Psychiatry/Psychology sessions as well as
the dispensation of medications Reinforcement menus/ graduation schedules/programming
materials/ criteria for admission and graduation have been prepared (See Appendix). Proposed
CCDOC staff names were tendered by CCDOC on September 28, 2015. Previously, it was
suggested that Cermak interviews CCDOC candidates/ holds the informational meetings as a part
of the vetting process Cermak was informed that Cermak would not be able to individually
interview identified candidates Cennak’s initial methodology for the vetting of CCDOC
candidates was subsequently modified following suggestions from CCDOC Leadership. The
staff"s ejection from the program (predeployment and postdeployment) will be conducted by the
team following individual performance review. The pool of back up officers should also be
stable and vetted. Staff training/ team building exercises for the core multidisciplinary team on
each shift were conducted on: Tuesday, October 20, 2015 and Wednesday, October 21, 2015 .

Pending the hiring of additional Psychologists, Drs. Key, Kelner, and Sillit‘ti will assume joint
responsibility for overseeing the clinical operation of this unit The IMU Management Team met
on October 26“‘, 2015 to identify the initial candidates for admission to the unit Those
candidates were interviewed on October 27, 2015 and transitioned to the unit on October 28,
2015. Joint team training and team building do not replace basic MH training and were merely
designed to strengthen team cohesion and effective communications all for the sake of
consistency and elimination of splitting.

lt Was concluded that it would be probably best to handle acting out behaviors and infractions as
clinical issues but up to a certain threshold. Given reinforcement menus, most of the acting out
behaviors would trigger certain predictable clinical response and would not result in the issuance
of discipline The tally of infractions will be kept, however will not automatically result in
disciplinary tickets Up to a certain point detainees do not incur additional discipline but staff
assault (projection of bodily fluids or direct aggression) should trigger charges of battery and
assault Less violent Offenses (throwing food or Styrofoam trays at staff), it is suggested, are to
be dealt with via clinical pathways. Further input was to be sought on this subject Treatment
refusals would not automatically lead to the expulsion from the program but detainees’ ability to
participate in the program would be periodically evaluated in terms of clinical benefits that they
are likely to derive from the program. The admission criteria/ graduation criteria of each referral/
participant will be collaboratively examined by the group during regular meetings

Weekly team meetings will take place weekly on Thursdays from 2:00 PM until 3:00 Pm in RTU
to allow both shifts to participate There will be additional daily huddles conducted on each shift
to increase consistency of communications and facilitate hand offs. lts location is to be
determined (off the tier or in close proximity). Both meetings are to be accompanied by
appropriate documentation

Women’s Services:
-Facilitating individualized group treatment by staffing each P3 patient regularly and using the

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treatment cards (also to motivate patients). Patients are involved in the treatment planning
process and create a “problem list“ with the tier mental health specialist who is familiar with
her. Treatment plans are nearing 100% timely completion and the quality of treatment plans
drastically improved

- P3 patients do receive the 10 hours of group on a regular basis P2 average 3-4 hours of group
per month.

-I-ISR are completed by policy - patients receive a face to face assessment within 24-48 hours or
receipt of the HSR by a MI-IS lll. All MH clinics in div. 3 and RTU are completed by a M]-IS
lll.

-SMU rounds are completed twice per week in both divisions Patients are assessed by MH
within 24 hours of placement in segregation PC receives 2 hours of group per week.
-hnproving consultation with CCDOC to refer appropriate psych evaluations which are
completed in a timely manner. RTU is now able to provide 24 hour on-site evaluations and
consultation with eth addition of staff on the overnight shift

-There is more accountable for monthly individual sessions for P3 with specific assignments

-Improvement with patients who have poor hygiene. Rise and shine occurs 5 days per week and
hygiene supplies and encouragement are provided Patients displaying ongoing, serious hygiene
concerns (generally psychotic) are admitted to the psychiatric special care unit for increased
support and therapeutic shower. lncentives are offered as needed for hygiene compliance

-Overall there is a very low self-harm rate, however a spike was seen in the past month primarily
in SMU.

-PZS are regularly transferred between the RTU and div. 3. This impacts appointments
scheduling, and medication pass Cermak will continue to work with corrections to ensure the
list of transfers from the divisions to ensure appointments are in place are provided consistently
and within a timen'ame that maximizes opportunity to reschedule clinical activities Patients also
complain about the movement specifically those who have been moved on more than one
occasion Some women are moved back and forth which is very problematic for the patient and
the staff. Several patients have become very demanding and challenging about their housing and
are frequently under the impression that mental health is responsible for their movements
between divisions

-Patient motivation remains a challenge Mental health facilitates a movie discussion group to
treatment compliant patients every two weeks Patients are provided incentive items (t-shirts,
bras, panties) randome to those attending the most groups, takings meds, and following CCDOC
rules We are also providing a standardized letter of participation monthly for patients attending
75% of recommended treatment groups

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-Cermak will continue to work with CCDOC to ensure patients are provided recreation during
hours that do not conflict with group times

-There are ongoing efforts and collaboration between Cermak and CCDOC to concentrate P2
detainees on certain tiers as opposed to housing them throughout the building This has been an
ongoing challenge which Dr. Briney will continue to address with Supt. Currie and divisional
shift commanders Psychiatry FTE 0.3. P2-120

Division II Dorm 2/P2: No maj or changes Houses O, R and P continue to house Westcare
patients MHTC detainees are housed in the V house. Overflow P3 are still housed in Division ll
Dorm 2 until a bed opens in RTU and Cermak staff transfers them immediately using bed control
tools Within the past few months there has been a concerted effort to conduct community groups
in all ten tiers on a weekly basis At tirnes, these groups have not occurred due to security
issues, employee absence, and employee vacation There is a MHS lll assigned during the
evening (3-11) shift on Tuesday, Wednesday, and Thursday. Adler School of Professional
Psychology partnered with CCDOC to provide individual therapy to some of the detainees in
Division ll Dorm 2 to decrease the amount of idle time through off tier activity. The amount of
therapy hours, patient selection, CQI, and level of supervision can be provided by CCDOC.
Telepsychiatry Clinic continues to provide reliable coverage for this Division. The initiative is
going well, along with Dr. Marri's clinic in the morning on Tuesday, Wednesday, and 'l'hursday.
Thus, medications are up-to-date, new detainees are being seen fairly quickly, and all other
complaints (e.g., side effects lack of efficacy) are being addressed without delay. The mental
health staff is working well with security Supt. Martinez has been very open to the needs of
mental health As mentioned elsewhere, Dr- Kaniuk functions as a Unit Director for Divisions
X and lI. FTE for Psychiatry is 1.2. Population: P2-390, P3-2.

Division VI/PZ: No changes Psychiatry Fl`E 0.1. P2-50.
Division IX/P2

The Level ll of the Administrative Segregation was moved to Division X in the spring of2015.
The remaining tiers of SMU’s house Special lncarceration Unit and Level ll (lE). Tiers lF and
ll-l house Disciplinary Segregation. ln October 2015 CCDOC moved detainees :Ii'orn Level II of
the Levels System back to Division lX (1E). Level lll has been liquidated Protective Custody
tiers remain on BE, F, G, l-l. Segregation rounds have improved a result of staff reassignments
which has resulted in staff having better attitudes at the task and who want to work in the
division Challenges have been noted with clinic start times on both the day and evening shifts
Cermak staff is working with corrections to understand the role differentiation of Cermak Mental
Health providers and Sheriff’ s Mental Health staff. Ongoing role clarification will assist in
smooth coordination of patient care when differing clinical opinions exist between the two
agencies Psychiatry FTE 0.2. P2~l75.

Division X/PZ

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Division Ten has some challenges which are being addressed There are now four staff
members assigned there during the day shift to deal with the many emergencies which arise on a
daily basis mostly from 1-A and 1-D ( as of October 30th, 2015 both are disciplinary
segregation). There have been difficulties with mental health staff absenteeism, which impacts
clinical care. ln general, it is more difficult to see patients because of the cell setting

milieu. HSR_F are now being addressed in a timely manner because there is a M]-lS ill on both
the day and evening shift The goal is to have community meetings on all 14 tiers texcluding 1-
A and 1-D) on a monthly basis The relationship between security and mental health is

good Mental health has meetings with Supt. Walsh on a weekly basis and he is very open to the
needs of mental health The mental health staff will be rotated every three months between
divisions (2 and 10) to avoid burnout.

Div. X received Level ll detainees in March 2015 (housed on lA) and in May 2015 a new
Disciplinary Segregation Unit on lD was opened The movement took place in part due to the
fact that many detainees in the Level ll were launching themselves off the second tier or used
rails to attach sheets to the railing and the other end have wrapped around their necks to lower
themselves Trends suggest that the numbers of non-suicidal self-injury has picked up
significantly in those housing locations Cermak’s Suicide Prevention Committee Minutes
suggest that one of the main contributing factors fueling high rates of non-suicidal self-injury is
detainees" efforts to achieve movement off the SMU tiers and, consequently, avoid conditions of
confinement on the said units The Level ll detainees were relocated back to Div. lX in late
September or Early October, returning 1D to disciplinary segregation

Due to the high utilization of Cermak and CCDOC resources in Division X, the idea to relocate
SMU to Division V (currently vacant) has gained momentum. Presently discussions are
underway. Following the implementation of the new PC criteria by CCDOC, Division X now
houses two PC tiers - lC (clean where more stringent criteria are applied for entry) and 2C
(where criteria are not as stringent). Dr. Kaniuk (Unit Director) still manages Division ll Dorm 2
and Division X (both housing P2) and his workload is substantial due in part to the distance
between those two divisions and overall patient population Overflow P3 are still housed in
Division X When necessary until a bed opens in RTU and Cermak staff transfers them
immediately using established bed control tools FTE for Psychiatry is 0.9. Ml-l population: P2-
553, P3-1. Utilization ofDivision X as P3 overflow should decrease with the opening of RTU
23 opening as a P3 overflow tier in September 2015 .

Division XVII/ Sheriff’s Female Justice Program/PZ/ll’$: No changes however psychiatric

coverage is even more fragmented after the resignation of PA in .luly 2015. Now, Drs. Kehier,
l-loward, Paschos and PA Balawender provide combined coverage (FTE-O.?>) to 81 P2 and 13 P3.

Additional information from CCDOC

Inmates in Division 08 RTU have had access to patio recreation On the Sth floor (females) focus
is placed primarily on the outpatient tiers to increase their level of activity, thereby decreasing

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the amount of idle time on the unit. lntermediate tiers are recreated outside of the programming
hours allowing for approximately 1-2 times weekly. As an incentive for positive behavior,
mental health and DOC select a number of inmates from the 4th and 5th floors to recreate in the
Division 4 outdoor yard

ln Division 08 RTU, we retrofitted the dayroom tables in the segregation units to allow the
inmates to be secured during programming hours Male segregated inmates in RTU receive
programming on the 7arn-3prn shift on Tuesdays, Wednesdays and Thursdays. Inmates in
Protective Custody are allowed out of their cells in a similar manner as general population
inmates and are escorted to the patio for recreational activities

ln Division 08 RTU, sanitation kits are maintained on the tiers to allow for daily use. Sanitation
solutions have not been replaced as it is believed that they are sufficient to manage the daily
cleaning of the units As recommended by Mr. Grenawitzke, we have instead increased the
power washing of the tiers to manage the soap scum in the shower areas

Inmate Programming

The Sheriff"s Oflice, in partnership with Adler University and the Chicago School of
Professional Psychology, provides individual and group therapy to detainees housed in Division
2 Dorm 2 (male P2 population) as well as Division 3 (female P2 population). The Sheriff”s
Office supervises 5 Master’s l_,evel and Doctoral Level students and each have a caseload of 3-
12 clients based on acuity and internship hours required by the school. Anger Management
groups for female detainees housed in disciplinary segregation started October 2015. lndividual
counseling sessions for male inmates housed in disciplinary segregation in Division 10 began
August 2015. Additionally, those detainees will receive mindfulness and meditation classes We
started a pilot program, Malachi Dads, in Division 9 with a group of offenders that had engaged
in sexually and behaviorally assaultive behaviors The program is based on spiritual principles
and teaches the detainees how to become better men and better fathers Since starting the
program in September 2015, there have been no incidents on the unit.

Pre-lbond initiative: CCSO mental health personnel staff RCDC Monday through Friday and
flag individuals that self~report mental illness prior to bond court

Intake: Classification Officers will ask screening questions to identify individuals that self-
report mental illness and drug/ alcohol use that may lead to withdrawal

In custody: Mental Health Transition Center: A community reentry program for higher
functioning mentally ill detainees charged With lower-level offenses Deta.inees receive mental
health programming, educational services j ob-readiness programming and linkage services

Coordinated Releases: Any individual identified by DOC, Cermak or Court personnel as
needing added support at the time of release is flagged by our [i-e., Sheriff"s Office] Records

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staff with a hand-to-hand transfer of the individual from our custody to their loved one or a
treatment program. DOC staff members contact the detainees loved one or the receiving
treatment program to coordinate the release/pick-up. lf` transportation is necessary, External
Operations staff provide transportation of the detainee

Discharge Lounge is a centralized location where all detainees on the mental health caseload
receive information on community-based services prior to discharge Although many have
established comprehensive plans while in oustody, the Lounge allows the CCSO to ensure
everyone is released with knowledge of resources The Lounge is staffed With personnel from
TASC and an Officer trained in Advanced Mental l-lealth.

Family supports A family support group is provided on a weekly basis for approved visitors that
have a loved one detained in our custody and diagnosed with a mental illness.

Care Line (674-CARE) Mental health hotline operated by Executive staff 24/ 7 as a resource for
former inmates seeking mental health assistance and resources after release from jail and the
family and friends of currently incarcerated inmates who are in need of special
treatment/medication while at the jail.

November 2015 Metzner assessment:
RTU

During the morning of November 3, 2015 l observed a community meeting in housing unit 4B,
which was a minimum-medium RTU male housing unit. The community meeting was very well
run by a licensed mental health specialist Several inmates reported medication continuity issues
following housing unit transfers However, medication continuity issues were generally not
present Inmates provided information relevant to access to group therapies and in the outdoor
patio that was consistent with the section entitled “current status” and pre-site information
received from Cermak and CCDOC. Speciiically, they reported at least weekly access to the
outdoor patio. Group therapies were reported to be helpful Access to the psychiatrist was
reasonable

l also interviewed inmates in a community meeting in housing unit 4F, which was a male
medium-maximum custody RTU. These inmates also uniformly described good access to group
therapies which were described as being very beneficial Medication management issues did not
appear to be present Inmates reported generally being seen by the psychiatrist on a monthly
basis Access to the outdoor patio was described to be weekly.

l observed a structured therapeutic group activity, involving three inmates on Unit 4 A, which is
a RTU segregation unit. lnrnates were engaged in the group process which included a mental
health specialist and a correctional officer as co-facilitators

l also interviewed inmates in 5B (a female minimum/medium RTU) and in 5F (a female

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maximum RTU) using a community meeting-like format These inmates also described good
access to group therapies which again were described as being very beneficial Inmates in the
female units described less than weekly access to the outdoor patio, which was generally not
consistent with custody records reviewed Medication management issues did not appear to be
present Several inmates reported that they were not seen on a monthly basis by psychiatrist
which was consistent with review of the records These inmates had not been scheduled to be
seen on a monthly basis

Inmates in all of the units that l visited described reasonable access to discharge planning

As described in the current status section, issues related to personal hygiene are now being
adequately addressed within the R'IU, which includes transfer to the Special Care Unit as
needed

RTU inmates are being offered at least 10 hours per week of out of cell structured activity with a
reported 40% refusal rate Segregation inmates are refusing out of cell time approximately 70%
of the time. The increased allocations of psychiatric time in the RTU is a positive step.

lt is encouraging that a beginning has been made in implementing increased out of cell time for
RTU inmates in segregation There are 20 male segregation beds and 20 female segregation beds
located that are located in the RTU. Equally encouraging is the very early implementation of the
lntensive Management Unit within the RTU.

A solution has been found, since last site visit, relevant to cleaning fluids available to inmates to
use within the RTU.

Divisions IX and X

The changes in the level system for the Special lncarceration Units were described as resulting in
a less punitive environment The changes referenced in my April 2015 report relevant to
protective custody status appear to have resulted in improvements from a safety perspective
During the afternoon of November 3, 2015 l observed mental health rounds being performed in
units ll-l within Division IX. The quality of these rounds was very good

The correctional rehabilitation programs provided by the Sheriff’s office as referenced in the
additional information obtained from CCDOC is a very welcomed programming available to
mental health caseload inmates The additional support services provided by CCDOC that have
been previously summarized are also very helpful and impressive

During the morning ofNovember 5, 2015 l met with P2 inmates in a community setting Within
units 3D and 4A, which were medium-maximum security housing units within Division X.
These inmates complained about lack of access to mental health programming Although several
inmates in each unit complained about access issues to the psychiatrist and continuity of

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medication issues review of healthcare records were not consistent with their complaints
inmates reported access to the recreational area on a once per week basis although such access
was reportedly scheduled three times per week.

Division II

During the morning of November 4, 2015, l interviewed male inmates classified as P2 in
Division ll (S l-louse) in a community like group setting lnrnates in S House reported
dissatisfaction with the mental health services related to lack of access to group therapies and
limited access to outdoor recreation They described their psychiatric treatment via the
telepsychiatry process to be problematic due to access issues although most indicated they were
seen monthly. Continuity of medication issues were reported but not verified via healthcare
record reviews As in the past, many inmates were dissatisfied with the Cermak formulary.

l also interviewed P2 inmates on the third floor (U l-louse) in a community setting These
inmates reported not receiving groups nom Cermak staff and generally not having access to
outdoor recreation or access to the gym. Sorne medication continuity issues were reported by
several inmates

Inmates in a Westcare dormitory on the second floor were interviewed in a community meeting
setting They enthusiastically described the benefits of this therapeutic (substance abuse
treatment) program and were complimentary of the mental health services provided (e.g.,
medication management).

The Transitions Unit

Progress has been made relevant to provide mental health services to the Sheriff Department’s
operated Transition Program as summarized in the current status section regarding a three
million dollars funding request The Sheriff’ s department has also hired mental health staff to
provide services to segregation inmates in Division X. The Staff have been providing out of cell
programming on a weekly basis which has used a cognitive behavioral approach. l discussed
with key correctional and mental health staff concerns about role issues among the two different
mental health staffs l specifically recommended that the programming provided by the mental
health clinicians hired by the Sheriff’ s Department be conceptualized as correctional
rehabilitation programming in contrast to mental health treatment This programming should
significantly help improve the conditions of confinement within the segregation housing units

Partial compliance continues although significant improvements are noted with specific
reference to the beginning implementation of out of cell structured therapeutic programming for
segregation inmates and the intensive management unit lt is also very encouraging that the
hygiene issues noted during the last site visit have been appropriately managed and that inmates
were not complaining about issues related to cleaning supplies

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Now that the vacancy rate has significantly decreased, except for psychiatrists and psychologists
a staffing analysis should occur with regards to the accuracy of the other current mental health
staffing allocations

Recommendations: Continue with implementation of programming in the lMU and RTU
segregation units Jcint planning will obviously be needed relevant to the mental health services
to be provided in the transitions unit once funding has been approved

The need for close monitoring regarding access to outdoor recreation and the gymnasium
continues based on some discrepant reports from inmates as compared to information obtained
nom CCDOC.

The frequency and the quality of the group programming available to P2 inmates needs to be
more closely monitored/supervised

e. Cermak shall ensure that treatment plans adequately address inmates’
serious mental health needs and that the plans contain interventions
specifically tailored to the inmates’ diagnoses

Compliance Assessment: Partial compliance
Factual Findings:
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Psychiatric Providers are tasked with the formulation of treatment plans for P2 (out patients).
Given existing vacancies and staffing shortages for Psychiatry, compliance with the timetables
may be an issue. A random audit of 30 patients classified as P2 (Outpatient) in Division 10 found
that 7 of the patients did not yet need a treatment plan completed as they were admitted to that
unit/level of care within 90 days Of the remaining 23 charts, 12 contained the required elements
(medication management, access to 1:1 contact with MH staff for crisis and individual
counseling as needed, and participate in community meetings). The chart below summarizes the
findings (See Appendix).

 

 

 

 

 

 

 

Audit of Random Charts in Div. 10 for Outpatient Treatment Plans
Treatment Plan Not Yet Due 7 23%
Outpatient TX Plan contains required elements 12 40%
Tx Plan Does not contain required elements 11 37%
Totals 30 100%

 

 

 

Women’s services continue to produce timely treatment plans and have now shifted focus to
improving the quality of each individualized plan. The treatment team is now facilitating

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individualized group treatment by staffing each P3 patient regularly and using the new treatment
card program to motivate patients (see Appendix). This involves offering patients a letter of
attendance that can be taken to court dates on a monthly basis Patients are involved in the
treatment planning process and create a problem list with the tier mental health specialist Who is
familiar With her. Treatment plans are nearing 100% timely completion and the quality of
treatment plans drastically improved.

Male services in RTU will initiate the treatment card program in the near future. Treatment
plans in the special care units continue to be produced timely, as they are initiated as part of the
admission assessment process The overall quality of treatment plans and timeliness of updates
during clinical staffings will improve greatly with the oversight of the new unit director.

Additionally, comprehensive interagency management plans have been developed by the chief
psychologist or respective unit director, in concert with the full multidisciplinary team, when
needed for more complex or difficult cases

November 2015 Metzner assessment As per current status Continued supervision is required
relevant to outpatient treatment plans Residential treatment plan Ql’s are focusing on quality of
the treatment plans since they have been found to be timely during previous site assessments
Recommendations: As above.

f. Cermak shall provide 24-hour/7-day psychiatric coverage to meet inmates’
serious mental health needs and ensure that psychiatrists see inmates in a
timely manner.

Compliance Assessment: Partial compliance
Factual Findings:

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7/1/2015-Psychiatrists

 

Chair (1) 1.0 (D. Kelner)
Attending Psychiatrists (15) 6.8 (Advani, l-Ioward, Marri 0.8, McNeal, Menezes,
Paschos, Ward)

Psychiatric PA’s (2) 1.1 (Balawender, Locums Bastidas 0.1)

Psychiatrist’s Overtime 0.2 (l-loward, Moreno)

Psychiatrists (Account 133) 1.1 (Kartan, Lassen 0.1, Ramic, Chinvveze on maternity
_ leave)

Total Functional FTE 10.2

10/8/2015-Psychiat1ists
Chair (1) 1.0 (D. Kelner)

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Attending Psychiatrists (15) 6.8 (Advani, l-loward, Marri 0.8, McNeal, Menezes,
Paschos, Ward)

Psychiatric PA (2) 1.1 (Balawender, Locums Bastidas 0.1)

Psychiatrist’s 0vertime 0.2 (Howard, Moreno)

Psychiatrists (Account 133) 1.3 (Kartan Ramic, Lassen 0.1, Chinweze,Chavlayohan
has ASD around November 2nd)

Total Functional FTE lO.4 ( l 0.7 if Chavlayohan starts in November)

7/1/2015-Psychologists

Chief Psychologist (1) 1.0 (K. Key)

Psychologists (10) 5.0 (Briney, Sillitti, Kaniuk, Nunez, Rogers)

Total Functional FTE 6.0

1 0/3/201 5 -Psychologists

Chief Psychologist (1) 1.0 (K. Key)

Psychologists (10) 6.0 (Briney, Sillitti, Kaniuk, Nunez, Rogers, Waxler)

 

Total Functional FTE 7.0

There are 16 FTE for Psychiatrists, 2 FTE for Psychiatric PA. Current vacancy rate for this group
is 49%.

There are 5 part-time Psychiatrists and in that group all the vacancies have been filled (Dr.
Chavlayohan has been credentialed and her ASD is in November). The majority of part time
(Account 133) Psychiatrists are committed to working between 8 (Lassen) to under 20 hours (Dr.
Kartan and Ramic) while Dr. Chinweze has returned from maternity leave in October to provide
4 hours every other week. There two part-time equivalents of Consulting Physicians, both
remained vacant (those positions were originally created for Rush residents but eventually
CCl-ll-IS funded them at a much higher rate to make it attractive to Psychiatric Attendings).
RCDC coverage remains rather fragmented after Dr. Lassen pulled out and services of full time
attendings are sought (on a voluntary basis) to provide evening coverage at the moonlighting rate
while their daytime clinics are intended to be covered by JSH providers via Telepsychiatry.

ln June 2015 Cermak Mental Health submitted paperwork necessary for the creation of the new
non-union position of the Associate Chairman!Director of Psychiatric infirmary to assist the
Chief of Psychiatry in clinical and administrative duties As of October 2015 this position has not
been cleared by Budget.

Total net loss for Psychiatry since April 2015 is 1.3. The net changes in vacant positions for
Psychiatry graph is available in the Appendix.

Significant human effort, time and resources have been expended (mostly by Drs. Gomez and

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Kelner) to coordinate the Hiring of the Locums Tenens l°roviders through outside vendors At
this point in time, there is one Locums PA who provides FTE 0.1 mostly in RTU 5th floor and
RCDC. Numerous candidates provided by the three County vendors have been interviewed since
November 2014. The possibility of mentoring of new Locums PA’s without any MH
background, in spite of initial interest, has been ruled out as untenable due to the fact that
Stroger’s attendings do not work past 4:40 PM and Locums PA’s (So far two of them have been
submitted by the vendors) were only available during afternoon and evening hours One of these
PA’s was hired but Dr. Kelner did not keep him following a lengthy period of training at Cermak
due to lack of theoretical knowledge and insufficient clinical skills The Telepsychiatry option
has been added to Locurns’ contracts in 08/2015 and it did lead to a significant increase in
Locums candidates interested in working at CC.l via Telepsychiatry. SElU’s grievance re: The
Hiring of Locums Providers is still ongoing Cermak Mental Health Leadership was informed by
CCI-IHS Labor to continue interviewing Locums candidates

Telepsychiatry: Current Telepsychiatry Clinic mnctions well in Division ll Dorm 2. CQl
conducted revealed that Dr. Ward’s performance meets expectations (see Appendix). Cermak
was prepared to launch a new Telepsychiatry clinic in Division X. Stroger Psychiatrists (and
Locums Providers when hired) were supposed to provide tele-psychiatry outpatient support for
the detainees The support was supposed to be provided on an equitable rotation by the Stroger
Psychiatcists. Stroger Psychiatrists were to maintain their current work schedule and work load
while providing Tele-psychiatry. CCl-ll-lS will provide the equipment needed for the Stroger
Psychiatrists to perform Tele-psychiatry. The opening of this clinic has been complicated by
several factors; one of them was the identification/training/deployment of Clinic Attendants.
CCl-lHS Corporate Compliance Office offered an interpretation of who qualifies to work as an
attendant which disqualifies clerks and administrative assistants Furthermore, these categories of
workers would require additional training for “patient contact related tasks” as they are not
trained to perform patient care related duties At this time, using the definition of qualifications
provided by the Corporate Compliance, we are planning to deploy Ml-IS ll. Another factor in the
opening of the clinic is the hardware installation (it was completed on the receiving site (JSH) as
of the week of October 9th). The originating site installation will proceed forward according to
the plan. As of October 20th, 2015 , Telepsychiatry project in Division X is nearing completion 2
daytime clinics and one afternoon clinics will be staffed by JSH providers following their
orientation (November lltl‘). RCDC Telepsychiatry Clinic is scheduled to have a test run on
November 3rd. SEIU continues to be involved even after the MOA was Signed and a series of
meetings with SEIU members/ CCHHS Labor representative are scheduled for November 12th

New rates: CCHl-IS and SElU executed a Memorandum of Agreement (MOA) on October 2nd,
2015 in connection with changing the salaries of the Psychiatrists - which will become effective
the beginning of the pay period: Cermak Psychiatrists will be placed at Grade K10; Step 2 _ an
annual salary of$216,661; and the Cermak differential for Psychiatrists will increase by $4,600
to a total of $15K. These new rates are expected to attract new candidates and retain already
present staffv The salaries of existing attendings and the incoming staff have been given parity
and no seniority considerations have been factored in. The signing of the MOA was coupled with

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the provision of Telepsychiatry services by the JSH Psychiatrists. ln Cermak FY 2016 budget
request, Cermak did not request any reduction in positions or their finding Cermak has not
heard from CCHHS regarding the reduction of any of our positions as a salary funding solution
either. However, we won’t know the detail of the CCHHS budget until it is released to us

Shakman: lt was proposed on many levels that the hiring of Providers at Cermak be outside of
the purview of Shakman’s Monitors. On October Sth, 2015 CCHHS informed Cermak leadership
that the County will be piloting a new process for recruitment and hiring of Advanced Clinical
Providers. The project is under development This should allow a more effective approach to
hiring psychiatrists for Cennak. This is the first step in the decoupling of Psychiatric hiring from
the Monitors. The Advanced Clinical Position (ACP) l-liring Process was unrolled in October
2015. Psychiatry, Psychology and PA Positions at Cermak are eligible. The main points include:
the reduction of steps necessary to follow before a job offer is made from 9 to 4; being able to
request an indefinite posting period until the position is filled; applicants may apply via the
CCHHS job site or the designated email address; daily updates of applications on the job site;
applications may be reviewed while the posting is still active; allowed more contact with
prospective candidates ( off and on site ); the manger will be able to determine Whom to pursue
for the position while still reviewing additional applications or at the end of the posting period.

Cermak continues to advocate for the expansion of the recruitment outreach through professional
organizations (Job Board during the AAPL Convention, October 22nd - 25th.) New rates will be
offered. HR is calling candidates who previously rejected job offers based on compensation
Otherwise, CCHHS runs recurring ads in 88 various publications

There is a total of 11.0 FTE psychologist positions (including the chief psychologist position)
with a current vacancy rate of 37% (4 FTE). Dr. Waxler was hired as Acute Male and Female
Units Director and joined Cermak in September 2015. Cermak has lost several candidates in later
stages of their hiring process due to the fact that their internships were not APA approved
Efforts are made to vet candidates early on to identify candidates whose internships would
disqualify them from receiving clinical privileges at Cerrnak.

There is a total of 70 MHS Specialist Positions with a current vacancy rate of 2.8 % (ZFTE for
Ml-lS lll). Currently we 16 unlicensed staff (3 recently achieved licensure and are awaiting
reclassification), 52 licensed staff (1 currently on administrative leave). We are currently
working with Labor Relations to upgrade the staff who recently achieved their licensure in their
respective disciplines

There is a total of 7 Medical Social Workers Positions with a vacancy rate 14.28% (lF'l`E).
Positions of the Chief of Psychiatry, Chief Psychologist and Mental Health Director are filled.

The October 26, 2015 Cermak position status tracker indicated that eleven mental health
clinicians had been hired since the Apri120l5 site visit. These 11 clinicians were not necessarily

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all hired into l l.0 FTE positions

There is a total of l 18 FTE mental health positions With 20 vacancies that represents 16.94%
vacancy rate. See Appendix.

November 2015 Metzner assessment: During July 2014 there were a total of 9.70 mnctional
FTE psychiatrists working at CCDOC as compared to the 11.7 FTE psychiatrists during April
2015. There were 2.0 PA’s employed at Cermak during Apr112015.

There is now a total of 16.0 FTE psychiatrist positions (including the chief psychiatrist position)
and 2.0 FTE psychiatric physician assistant positions with 10.4 FTE psychiatrists and 1.0 FTE
PA currently employed at Cermak. The current vacancy rate is 49% for psychiatrists/physician
assistant positions There are now 1.3 FTE more psychiatrist/physician assistant vacancies as
compared to 2015. However, there are the equivalent of 4.0 FTE locum tenens psychiatrists who
are currently in the credentialing process The locum tenens contract was recently modified to
include telepsychiatry, which significantly increase the applicant pool. In addition, two
psychiatrists working at Stroger Hospital will be providing a morning per week of
Telepsychiatiist clinic time in the near future.

There is a total of 11.0 FTE psychologist positions (including the chief psychologist position)
with a current vacancy rate of 37% as compared to 45% vacancy rate during Ap1i12015. In other
words, there is an additional l.0 FTE psychologist employed at Cermak as compared to the last
site visit.

The recently approved salary increase and the Shakman pilot hiring project summarized in the
current status section are very positive signs and should significantly assist in recruiting
psychiatrists

During the April 2015 site visit, l reported the following:

There is a total of 118 FTE mental health positions with 25 F'I`E vacancies that
represents a 21% vacancy rate

As of the November 1, 2015 site visit there was total of 20 vacancies which represents a 16.94%
vacancy rate.

l am significantly encouraged that appropriate steps have been taken that should now make a
significant dent in the psychiatrists’ vacancies l discussed with appropriate staff the importance
of advertising through the American Psychiatric Association in their publications entitled
“Psychiatric News” and “Psychiatric Services.”

Recommendations: Continue the aggressive recruiting efforts and advertise in the above
referenced publications

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g. Cermak shall ensure timely provision of therapy, counseling, and other mental
health programs for all inmates with serious mental illness. This includes
adequate number of Qualified Mental Health Staff to provide treatment, and an
adequate array of structured therapeutic programming Cermak will develop
and implement policies and procedures defining the various levels of care and
identifying the space, staffing, and programming that are appropriate to each
identified level of care.

Cornpliance Assessment: Partial compliance

Factual Findings:

November 2015 Cermak Status Update There is a total of 70 filled Ml-IS Specialist Positions
(8 more as compared to April 2015) with a current vacancy rate of 2.8 % (2 FTE for MHS lll).
Currently we 16 unlicensed staff (3 recently achieved licensure and are awaiting
reclassification), 52 licensed staff (l currently on administrative leave). We are currently
working with Labor Relations to upgrade the staff who recently achieved their licensure in their

respective disciplines

Cermak reported the following during the April 2015 site visit:
We also need additional MHS lll coverage in Division lX where we have 2 Ml-IS
lIl (previously 3, but due to increased intake numbers the ."’)“1 had to be returned to
the RCDC), 3 evenings per week and also added l FTE, Tuesday through
Saturday, to provide support for the growing mental health caseload. The
population of P-2 inmates in Division lX has averaged 140-150, maximum
security individuals in general population, segregation, protective custody, and
various Level Systerns of segregation as well.

lt was too late in the budget cycle to request the additional MHS lll coverage for 2015-2016.

Recommendations: Re~assess staffing needs for the next budget cycle.

h. Inmates shall have access to appropriate infirmary psychiatric care when
clinically appropriate.

Compliance Assessment: Partial compliance
Factual Findings:
Cermak Male Acute, Subacute amf Chronic Mental Health Unit Descrc]ptions

The Cermak male psychiatric units are comprised of 60 beds distributed among 3 units _ 2North

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(acute unit), ZSouth (subacute unit) and 2East (chronic unit). The purpose of the units is to
provide extended observation, stabilization and structured/unstructured therapeutic activities
Services are provided by a multidisciplinary team, which includes psychology, psychiatry,
mental health specialists nursing, social workers correctional rehabilitation workers and custody
staff.

Male detainees may be admitted to 2North, the 24-bed acute psychiatric unit, from intake,
general population or other mental health units Primary reasons for admission include an acute
risk for harm to self or others acute psychosis and an inability to care for Self or marked
decompensation that poses as a risk for victimization in other living units While on the unit,
detainees receive at least ll - 13.9 hours per week of structured and unstructured therapeutic
activity. Detainees housed on 2North are scheduled to see a psychiatrist 5~7 times per week.
Detainees are typically housed on 2North for a brief period of time before transitioning to a less
restrictive setting

The subacute mental health unit, 2South, is a 26-bed unit for detainees that have demonstrated a
decrease in the severity of psychiatric symptoms but continue to evidence symptoms that cannot
safely and adequately be treated in a division with mental health services Some detainees exhibit
chronically severe symptoms that necessitate long term sheltered housing They may be housed
on ZSouth or 2East, a 12-bed unit that houses detainees that demonstrate severe negative
symptoms of psychosis chronically severe depression and/or sigiifica.nt cognitive delays
Detainees housed on 2South receive 8-8.5 hours per week of structured and unstructured
therapeutic activity and 2East receive 5.5-6 hours per week of similar activities

Discharge Planning

Cermak male mental health units are staffed with l l\/ledical Social Worker who maintains
regular contact with detainees diagnosed with serious mental illness to coordinate post-release
treatment services in the comrnunity. Due to the severity of their mental illness all detainees
released to the community from these units must be assessed by a Qualified l\/lental Health
Professional prior to discharge to determine the need for hospitalization If community
hospitalization is not warranted based on the clinical assessment the Medical Social Worker can
assist the detainee with referrals to community agencies for continued treatment and shelters for
housing The Medical Social Worker can also arrange for the detainee to be given a 2-week
supply of his current medications

Staff reported that the video cameras used to supplement the monitoring of the observation cells
in 2N have not been working for about three months A work order reportedly was initiated

Cermak Female Acute and Chronic Mental Health Unit Description

The Cermak female acute and chronic mental health unit, 2West, is a 20~bed unit devoted to the
psychiatric stabilization of detainees whose presentation warrant stabilization and/or extended

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observation Detainees may be admitted to 2West from intake, general population or other
mental health units Primary reasons for admission include an acute risk for harm to self or
others acute psychosis and an inability to care for self or marked decompensation that poses as
a risk for victimization in other living units Detainees housed on 2West are scheduled to see a
psychiatrist 5-7 times per week. Detainees are typically housed on 2West for a brief period of
time before transitioning to a less restrictive setting unless they present with symptoms that
warrant chrome care services Chronically mentally ill detainees that require continued housing
on 2West demonstrate severe negative symptoms of psychosis chronically severe depression
and/or significant cognitive delays that cannot safely and adequately be treated in a division with
mental health services

Discharge Planning

The Cermak female mental health unit is staffed with l Medical Social Worker who maintains
regular contact with detainees diagnosed with serious mental illness to coordinate post-release
treatment services in the community. Due to the severity of their mental illness all detainees
released to the community from this unit must be assessed by a Qualified Mental l-lealth
Professional prior to discharge to detemiine the need for hospitalization lf community
hospitalization is not warranted based on the clinical assessment, the Medical Social Worker can
assist the detainee with referrals to community agencies for continued treatment and shelters for
housing The Medical Social Worker can also arrange for the detainee to be given a 2-week
supply of her current medications

Additional information from CCDOC

Inmates in Cermak (excluding 2N, the acute male unit) are recreated on Thursdays, Fridays,
Saturdays outside of programming hours For the months of luly, August and September inmates
were recreated approximately 1-2 times each week.

2 North

The General Population detainees/patients receive time out of cell for a minimum of 7-8 hours
per day. Due to the census and high turnover it is hard to state with accuracy how many hours a
day Out alone/l-loused alone detainee/patients receive. Many refuse, are being interviewed or
are at court. Due to the damage the some inmates cause to the rooms hours may be minimized
by the need to complete facility repairs At minimum, they receive l hour out of cell each day.

All activities in regards to security are notated in the Officers Log Books.
2 Sonth

The General Population detainee/patients along with Protective Custody and Housed Alone
detainees/patients are out of their cells for a minimum of 7-8 hours per day. Detainees are

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monitored for disruption Ifthey become too disruptive, the isolation room may be utilized upon
a Cermak staff person's orders Detainees/patients that are Housed Alone may be secured back
inside their cell.

At any given time there may be 5 -7 detainees that are Housed alone. Some refuse to come out for
their hour during different shifts Some may refuse an hour out for the whole day then want to
come out in a group the next day (we will allow them to come out of their cell for programming).
Sorne will only come out by themselves and are very vocal about being in fear of coming out
with others

All activities in regards to security are notated in the Offlcers Log 'Books.

2 East

The census of General Population detainee/patients is usually 8-12 detainees/patients All but
two come out of their cells for a minimum of 8-10 hours a day. Some of the detainees/patients
don‘t want to come out on both shifts all the time, and some want to come out only for a few
hours A few eat and want to go back to their cells We allow them the freedom to return to their
cells

2 East is able to get more participation during sessions due to the detainee/patient census

All activities in regards to security are notated in the Offlcers Log Bool<s.

2 Wesf

The census of General Population detainee/patients fluctuates considerable on this living unit but
usually houses 14-21 detainee/patients All detainees/patients except two come out of their cells
for a minimum of 7-8 hours a day.

All activities in regards to security are notated in the Ofticers Log Books

Inmate Hygiene

DOC, nursing, environmental services and mental health staff have been proactive with
managing inmates with poor hygiene in Cerrnak. Once a humanitarian shower is requested, all
staff work together to accomplish the tasl<.

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Programming hours and Statistics relative to this section can also be found in the Mental Health
Monthly Statistics Report

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Psychiatric coverage of the lnfirmary has been modified Previously existing rotation of
divisional attendings through 2N has been cancelled 2N is covered by l FTE Psychiatrist and l
FTE Psychiatric PA. 2W/2S/ZSE are covered by l FTE. 2E is covered by OI.FTE. Given the
acuity and clinical needs on 2W and 28 it was decided to deploy a dedicated Psychiatrist there so
Dr. Howard does not have other clinical assignments (aside from 2 hours in Division XVII on
Tuesday) outside of the Psychiatric lnfirmary which was designed to lead to more coverage, staff
Supervision and availability 2S/2SE traditionally have been units Where most of the treatment
resistant and unwell patients were concentrated 'l`he presence of a dedicated provider (1 FTE
sharing 2W and 2S/SE) is supposed to increase the quality of care and lead to improvements in
therapeutic milieu. Reestablishrnent of the Treatment Compliance lncentive Program has also
positively impacted the overall milieu. Dr. Waxler, Psy.D. was hired in September 2015 as
2N/2W Unit Director (1 FTE). With these realignments the amount of supervision available to
staff allowed Chief Psychologist and Chief Psychiatrist to spend less time on direct staff
supervision However, an unexpected absence of another Unit Director resulted in the Chief
Psychologist assuming direct responsibility and oversight of the mental health staff in the
remaining of the special care units

ln July 2015 730 lLCS 125/ 14 the County Jail act has been amended lt provides that any
prisoner transferred to the custody of the Department of Human Services the Warden shall
supply the Department with all the necessary information regarding the prisoner. The above
amendment and meetings between CCDOC and DMH has led to further rightsizing of the
transfer and further increase in efficiency of the removal of the detainees found UST (Unfit to
Stand Trial) from the CCDOC compound Increase in efficiency and better adherence to the
statutory deadlines for UST removal to the DMH has led to fewer delays for 2S/2SE detainees
awaiting their turn to go to the DMI-I.

Detainees meeting criteria for involuntary admission by petition and certificate are transported to
one of two area hospitals (Mt. Sinai and St. Anthony) upon release from Cermak by the court
system. In 2014, an average of four patients per month were transported for involuntary
admission by petition and certiiicate upon release. For 2015, this rate held for Ql and Q2, but
has dropped for Q3 to about one per month. There is no obvious explanation for the current
decline in referrals other than that it is based on the fact that no patients were hospitalized upon
release in luly. Since involuntary admission upon release has been in effect as Cermak policy
for only a few years it is not possible to rule out ‘normal variation’ as the simplest explanation
All Cermak psychiatric inpatients are evaluated at the moment of court release, and those
anticipated to meet criteria for involuntary admission in the community are also ‘fiagged’ ahead
of time to ensure that their need for continued inpatient treatment is not overlooked if they are
released in the overnight hours There has been no indication of ‘missed’ evaluations at
discharge recently, and the program is viewed by Cermak staff as one of the more stable and
successful initiatives in recent years Involuntary admission upon release will continue to be
monitored on an ongoing basis to ensure that the reduction this quarter does not mean that some
patients might not be ‘slipping through the cracks’ at the time of release.

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I'N`VOLUNTARY HOSFITALIZATION BY PE’I`ITION & CERT]_FICATE UPON RELEASE
2014-15

YEAR JAN FEB M.AR APR MAY JUN JUL AUG SEP OCT NOV DEC TOTAL
2015 3 7 2 2 3 10 0 3 2 32
2014 3 5 4 4 4 5 5 4 3 4 3 4 48

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

INVOLUNTARY HOSPITALIZATION Ql-Q4 2014-

 

 

YBAR Ql Q2 Q3 Q4 TOTA]_.
2015 12 15 5 32
2014 12 13 12 ll 48

 

 

 

 

 

 

 

 

 

Inpatient programming hours have, with some variation been maintained at a relatively stable
level over the course of 2015. 2 West has been offered the most weekly programming, averaging
25 hours per patient per week over the course of the year. 2 South has been maintained at about
18 hours per week. As noted below, 2 South had the highest rate of canceled dayroom time by
environmental services and CCDOC staff, averaging about canceled three dayroom shifts per
week. This has meant a loss of about six to nine programming hours weekly during Q2 and Q3,
loss of personal hygiene and phone privileges and missed recreation and unstructured dayroom
activity totaling about another three to six hours per week. 2 East has had the lowest
programming averages at about 12 hours per week. This unit offers programming on day and
evening shifts five days per week rather than seven days due to staffing shortages and 2 East is
the unit designated to provide staff coverage in the event of absences in areas deemed high

priority.

Programming on 2 North is calculated on a daily rather than weekly basis and has averaged four
hours per day throughout the year. The use of daily calculation is justified by the fact that this
unit is designed for brief stays of 48 hours lt is rare for a patient to Spend a full week on the
unit. Regarding concerns over the number of programming hours offered on 2 North, for Q3,
staff began documenting the amount of time patients were actually permitted out of their rooms
to participate in unit programming For luly, August, and September, patients in 2 North were
out of their rooms an average of 5, 5 , and 5.3 hours per day, respectively The quarterly average
of dayroom time was 5.1 hours per day. Because patients spent approximately four hours a day
in group, they were involved in programming about 80% of the time they were permitted out of
their rooms

ln addition for the past two quarters all units have tracked the rate at which dayroom time and
programming are canceled To accomplish this unit staff members have been instructed to
complete and submit forms detailing the circumstances leading to cancelation. This has been
monitored for the past two quarters in both Cermak and RTU. As indicated above, in Cermak,
canceled programming generally means that patients are denied dayroom access for the entire
shift This includes cancelation of two to three hours of group progran'nning5 access to showers
and phone service, and denial of recreation and unstructured dayroom time for that shift
Clinical staff members complete cell front rounds in these instances since patients are not
permitted out of their cells

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|NPAT|ENT WEEKLY PROGRAMM|NG HOURS BY UN|T 2015

 

 

 

 

 

 

 

 

 

 

 

 

LOC JAN FlEB MAR APR N|AY JUN JUL AUG SEP OCT NOV DEC AVE
ZN* 4.5‘g 4.5* 3.9* 3.3* 3.7* 4.2”‘ 4.5* 4.7* 3.9* 4.1*
25 14.3 14.8 15.5 23.1 21.8 19.8 18.0 11.7 19.1 17.6
2E 13.9 12.8 11.7 15.2 14.1 12.2 7.1 7.5 14.1 12.1
2W 23.0 25.0 22.5 27.7 26.2 25.0 23.6 21.8 255 25.0

 

 

 

 

 

 

 

*Calculated as DAlI.Y PROGRAMMING HOUHS

 

lN|PATlENT SN|ALL GROUP PERCENTAGE BY UN|T 2015

LOC .IAN FlEB MAR APR MAY JUN JUL AUG SEP OCT NOV DEC
2N 5% 10% 5% 4% 5% 4% 11% 10% 10%
2$ 20% 10% 5% 5% 5% 5% 5% 5% 5%

ZE 75% 80% 80% 70% 80% 85% 80% 80% 80%
ZW 4% 10% 1096 5% 3% 16% 25% 25% 10%

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

[NPATIENT CANC|ELED FROGRAMMING SHIFTS QZ-QS 2015
REASO NS 2N 25 ZE ZW TOTAL
CL|NICAL STAFF CANCELED 0 0 5 2 7
SECURITY CANCELED 39 38 7 19 103
SCHEDULE CONFL|CTS 0 1 1 0 2
ENV|RONN]ENTAL |S$UES 16 36 5 15 72

PT REFUSA]_S 0 0 0 7 7
TO`l'AL CANCELED 55 75 18 43 191
AVE CANCELED PER WEEK* 2.2 3.0 0.7 1.7 7.6

 

 

 

 

 

 

 

*Average canceled programming per week far the 25 weels of 01 & QB

 

2 NORTH CANC|ELED PROGRAMN||NG SH|FTS 2015

 

 

 

 

 

 

 

REASONS APR MAY JUN JUL AUG SEP OCT NOV DEC TOTAL
CL[N[CAL STAFF CANCELED 0 0 0 0 0 0 0
SECUR[TY CANCELED 4 7 2 6 7 13 39
SCHEDULE CONFLICTS U 0 0 0 0 0 0
ENVERON|V|ENTAL lSSUES 3 0 2 6 3 2 16

PT REFUSALS 0 0 0 0 0 0 0
TOTAL CANCELED 7 7 4 12 10 15 55

 

 

 

 

 

 

 

 

 

 

 

 

2 SOUTH CANCELED PROGRAMM|NG SH|FTS 2015

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

REASONS APR MAY JUN JUL AUG SEP OCT NOV DEC TOTAL
CL|N|CAL STAFF CANCELED 0 0 0 0 0 0 0
SECUR|T‘{ CANCELED 8 10 5 7 6 2 38
SCHEDULE CONFL|CTS 1 0 0 0 0 0 1
ENVIRONMENTAL lSSUES 3 2 4 16 5 5 36

PT REFUSALS 0 0 0 0 0 0 0
TOTAL CANCELED 12 12 9 23 11 8 75

2 EAST CANCEL¥.ED PROGRANIMING SHll'-I'S 2015

REASONS APR MAY JUN .IUL AUG SEP OCT NOV DEC TOTAL
CL|N|CAL S`|`APF CANCELED 1 0 0 2 0 2 5
SECUR]TY CANCELED 1 2 0 1 1 2 7
SCHEDULE CONFL|C]'S 0 1 0 0 0 0 1
ENV|RONMENTAL lSSUES 0 0 0 1 1 3 5

PT REFUSALS 0 0 0 0 0 0 0
TOTAL CANCELED 2 3 0 4 2 7 18

 

 

 

 

 

 

 

 

 

 

 

 

 

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2 WEST CANCEI_LED PROGRAIVINI|NG SHIFTS 2015

REASONS APR MAY JuN JuL AuG stP oct Nov DEC ToTAL
cLINchL sTAFF cANcELF.D o 2 o 0 o o 2
sECuP.lTY cANcELEo s 2 3 5 4 1 19
scH Eou:.E coNFLlcrs o o o o o 0 o
ENvlaoNMENTAL issues s o s s 0 1 15

P'r aEFusALs 0 1 2 4 o o 7
roTAL cANcELED 5 5 s is 4 2 43

 

 

 

 

 

 

 

 

 

 

 

Cermak Mental Health wrote to Executive Leadership of CCJ in Apri12015 and l unc 2015 to ask
for their assistance and advocacy in mounting a legislative effort to develop a more efficient
Administrative Review (as opposed to the Judicial Process) for pretrial detainees on the campus
of CCJ. Further effort to review the feasibility of such changes in our jurisdiction was to be
examined

ln July 2015 the IL l\/lental Health and Developmental Disabilities Code is amended by changing
Sections 3-100 as follows: (405 lLCS 5/3-100)

Bill l-IB 2673; 7/29/2015 enacted - “The circuit court has jurisdiction over all persons alleged to
be in need of treatment under section 2-107.1 of this Code, whether or not they are charged with
a felony”. Technically, in this Jurisdiction any judge can order meds, but they have to still have a
hearing under the lL mental health code. The criminal judges don’t generally want to do the
hearings because the County Division has judges who do it already.

This provision only clarifies what we already know, that persons charged with a felony can get
involuntary meds.

The Mental Health Code stipulates if you are a person charged with a felony you can't be
subjected subject to involuntary admission to a mental health facility. Prior to this amendment,
there was an interpretation of the above by some people asserting that you can't involuntarily
medicate persons charged with a felony. So, this amendment clarifies what we already know
that detainees charged with felonies CAN BE treated involuntarily There have been no
substantive changes in the Code to facilitate the administration of involuntary medications (non-
emergency basis) to pre-trial detainees

The audit of frequency of contact between providers / quality of documentation in EMR was
undertaken See the Appendix.

On October 14, 2015 the CCSO facilitated a 7 hour CIT training overview for Cermak clinical
staff and custody staff`. Staff persons selected for this initial training are currently assigned to the
psychiatric care units or the residential treatment unit. Staff selected to attend reported finding
the training extremely useful

Medical social workers continue to provide linkage and aftercare planning for SMI detainees and
a selected group of P2 detainees The Medical Social Workers also continue to be an integral part

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of the response to calls received by the Sheriff’ s Care Line. All information related to mental
health issues continues to be forwarded to our two senior medical social workers for follow up
and/or delegation to divisional social workers if indicated Since the last visit, our social work
staff has addressed 73 calls/referrals Of those referrals, (78%) had already been identified,
evaluated, placed on the MI-l caseload and were receiving treatment (8%) of the referrals yielded
new additions to the MH caseload, and the remaining (14%) referrals were determined to not be
in need of continued follow up from the MH department This collaborative community
outreach effort has resulted in increased access to collateral information and opportunity for
improved care and clarification of needs.

November 2015 Metzner assessment Significant improvement since the April 2015 site visit
include increased and consistent psychiatry coverage within the Special Care Unit and the hiring
of the unit director position as summarized in the status update section Programming has
increased within the Unit SE related to, in part, the opening of the lntensive Management Unit
within the RTU that now houses several inmates formerly housed in Unit SE.

During the afternoon of November 3, 2015 l attended the afternoon staff meeting on 2W. There
was very good interdisciplinary discussion among mental health and custody staff, which
included Superintendent J ones l also met with female detainees on 2W. Of note, inmates in all
the units within the mental health infirmary continue to be locked in the rooms from about 1 PM-
4 PM, except for those being seen in individual sessions by a psychiatrist and those on special
management status l also observed group activities on 2W during the morning of November 4,
2015, which were directed in a competent manner by the mental health specialists

I also interviewed inmates in a group setting on Unit ZS. They continued to report that they were
essentially restricted to sitting in their chairs during dayroom time although this information Was
not consistent with information provided by CCDOC staff or my observations via video
monitoring They described their group programming to generally be helpful. l also observed
group activities on 2S during the morning of November 4, 2015, which Were also directed in a
competent manner by the mental health specialists

During the morning of November 4, 2015, I also observed group activities on 2N, which were
well structured by the mental health specialist

l remain impressed with the leadership demonstrated by Superintendent J ones and the continued
evolving working relationship between custody and mental health staffs

Attachmentl summarizes statistics relevant to the Special Care Unit.

l am concerned about the number of canceled activities as summarized in the current
status section. This issue needs to be jointly monitored by CCDOC and Cermak staff.
CCDOC reported that security-related cancellations were due in part to compound
lockdowns. As a remedy, CCDOC will allow inmates housed on the 2nd floor of Cermak

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to engage in unit programming during such lockdowns. CCDOC has provided post orders
for their staff indicating increased out of cell time for inmates housed on the 2nd floor of
Cermak. Additionally, the Cermak Superintendent will meet regularly with Cermak
mental health leadership to review reasons for programming cancellations and determine
Ways to minimize such cancellations

Partial compliance remains related, in part, to the psychiatrists vacancies and the need to
provide more adequate treatment for the current maximum-security inmates which is
hampered by the involuntary medication process l am encouraged by the opening of the
intensive management unit (lMU) and the programming hours that are being offered l
remain concerned by the limited out of cell hours offered to most inmates between 12:30
pm - 4 pm, which is related to the need to provide out of cell hours to “house alone”
inmates

CCDOC has met the requirements of this provision, understanding that ongoing
collaboration with Cermak regarding program cancellations and increasing the out of cell
hours offered to most inmates between 12:30 pm - 4 pm is required
Significant improvement is noted as compared to the previous site assessment
Recommendations: Address the above issues
i. Cermak shall provide the designated CCDOC official responsible for inmate
disciplinary hearings With the mental health caseload roster listing the
inmates currently receiving mental health care.
Assessment: Substantial compliance (since June 2012)
Factual Findings:
October 2012 Cermak Status Update
0 Cerner is now able to generate a patient roster for the mental health caseload to provide to
the CCDOC; however, it does not yet include the level of care/mental health
classification as this is being built within the alert system.
November 2013 Metzner assessment Substantial compliance continues
November 2015 Cermak Status Update Communication between the two systems continues to
work well. A new segregation alert has been built in CCOMS to assist in readily identifying all

detainees in segregated housing at any point in time.

November 2015 Metzner assessment Substantial compliance continues

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j. When CCDOC alerts Cermak that an inmate is placed in lock down status
for disciplinary reasons, a Qualified Mental Health Professional will review
the disciplinary charges against inmate to determine the extent to which the
charge was related to serious mental illness. The Qualified Mental Health
Professional will make recommendations to CCDOC when an inmate’s
serious mental illness should be considered as a mitigating factor When
punishment is imposed on an inmate with a serious mental illness and to
minimize any deleterious effect of disciplinary measures on an inmate’s
mental health status

Assessment: Substantial compliance continues (since October 2012).
Factual Findings:
November 2015 Cermak Status Update

Based on the results of interagency collaboration, the 14 day stipulation was removed, DOC
understands that if mitigating factors are identified and there is no contraindication for continued
placement in disciplinary segregation they will limit disciplinary segregation time to 14 days or
less The form was updated to reflect recommendations from the previous monitoring visit and
interagency discussions

The creation of a separate huddle meeting for Disciplinary Segregation analogous to The Levels
System Meeting (for Administrative Segregation) or perhaps expanding the Levels System
format to include Disciplinary Segregation was discussed with CCDOC during Suicide
Prevention Committee Meeting. lt was decided that these discussions would occur at the
divisional level during the local management meetings with the Unit Director, Superintendent
CRW, Nursing, and the Assistant EXecutive Director.

Cermak Ml-l Leadership (Drs. Key and Kelner) continue reviewing the SI cases of detainees
housed in Special lncarceration Unit (for P2 routinely and GP cases upon additional request from
DOC ) to provide the higher level of review.

lt was understood that Mental Health staff’s role is limited to assessing whether inmates who are
classified as either P3 or P4 and have been charged with a maj or infraction meet criteria for
mitigation Specifically, the mental health assessment should address the following questions

a. Does the inmate have a mental illness?

b. If the inmate has a mental illness were the symptoms of the mental illness directly related to
the behavior resulting in the innaction?

c. lf the answer to a and b is yes, does the clinician have any recommendations specific to how
the disposition should be mitigated?

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d. Additionally, in June 2015 the following was incorporated - Whether or not there are current
clinical contraindications for housing in segregation?

lt is understood that it is not within Cermak MH staff purview to determine whether or not a
major infraction has occurred lt is also implied that detainees without major infractions will
NOT be referred for mitigation

November 20115 Metzner assessment: Substantial compliance continues

k. In the case of mentally ill inmates in segregation, CCDOC shall consult with
Cermak to determine whether continued segregation is appropriate or
whether the inmate would be appropriate for graduated alternative based on
Cermak’s assessmentl

l. Cermak shall ensure that mentally ill inmates in segregation receive timely
and appropriate treatment, including completion and documentation of
regular rounds in the segregation units at least once per week by adequately
trained Qualified Mental Health Professionals or by Qualified Mlental Health
Staff with appropriate, on-site supervision by a Qualified Mental Health
Professional, in order to assess the serious mental health needs of inmates in
segregation. Inmates who are placed in segregation shall be evaluated within
24 hours of placement and thereafter regularly evaluated by a Qualified
Mental Health Professional, or by a Qualified Mental Health Staff with
appropriate, on-site supervision by a Qualified Mental Health Professional to
determine the inmate’s mental health status, which shall include an
assessment of the potential effect of segregation on the inmate’s mental
health. During these regular evaluations, Cermak shall provide CCDOC
with its recommendation regarding whether continued segregation is
appropriate or whether the inmate would be appropriate for graduated
alternative based on the assessment of the Qualified Mental Health
Professional, or Qualified Mentall Health Staff with appropriate, on-site
supervision by a Qualified Mental Health Professional.

Compliance Assessment: Substantial compliance (11/15)

Factual Findings:

November 2015 Cermak Status Update

Dr. Metzner’s suggestion dating back to March 2015 about creating mental health segregation
tiers where Cermak can deliver therapeutic program and where the amount of out of cell time

exceeds that of what is ordinarily available on regular segregation tiers was shared at the Suicide
Prevention Committee Meeting (October 23rd, 2015). The idea is to (reliably) separate the

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mentally ill requiring segregation from the ones w/out identifiable DSM pathology (or the ones
that are kept on the Mental Health case load due to self-injurious and disruptive behavior) and
provide different services on different tiers.

There have been notable improvements in the consistency of receipt of segregation notifications
from CCDOC. ln instances where notifications have not been received, each Unit Director is
able to address with the divisional superintendent during the divisional meetings As such
greater consistency in compliance with pre-/within 24 hours placement screens can be seen
across divisions See Appendix. Additionally, a new segregation alert was created in CCOMS in
October that will allow Cermak staff to print reports reflecting all admissions to disciplinary
segregated housing.

Mental Health staff continues to conduct rounds minimally weekly in all segregation tiers.
Shortly after the last site visit a new power form to document segregation rounds was launched
in the EMR. Staff is now able to formally document completion of rounds on each detainee in
the medical record. Completion of rounds has been a great challenge to staff due to the behavior
of some of the detainee’s housed in disciplinary segregation lncreases in sexual acting out,
projection of bodily fluids, and verbally threatening behavior by detainees who are not severely
mentally ill have added to the difficulty in completing this task.

November 20115 Metzner assessment Review of the Special Management Housing Screen
review log documented 93 %-100% compliance with this provision.

Substantial compliance continues

n. Cermak shall ensure that a psychiatrist, physician or licensed clinical
psychologist conducts an in-person evaluation of an inmate prior to a
seclusion or restraint order, or as soon thereafter as possible. An
appropriately credentialed registered nurse may conduct the in-person
evaluation of an inmate prior to a seclusion or restraint order that is limited
to two hours in duration. Patients placed in medically-ordered seclusion or
restraints shall be evaluated on an on-going basis for physical and mental
deterioration. Seclusion or restraint orders should include sufficient criteria
for release.

Compliance Assessment: Partial compliance
Factual Findings:
November 2015 Cermak Status Update

An audit regarding Notiflcations to the Facility Director was undertaken and can be found in the
Appendix.

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Restraint audit QI report to be provided by nursing Presence of the new psychiatric special care
Unit Director, Dr. B. Waxler will provide the opportunity for onsite supervision of the mental
health responsibilities relative to the deployment of restraints, including de-escalation and patient
and team debriefing This should result in consistency of compliance with all policies and
procedures

November 2015 Metzner assessment: l reviewed with nursing and mental health staff
leadership an audit completed by nursing staff relevant to the restraint/seclusion policy and
procedure. About 22inmates had been restrained during the third quarter of 2015. This audit
clearly demonstrated improvement relevant to implementation of the pertinent policies and
procedures since the April 2015 site visit. However, there were some methodological issues
relevant to this particular quality improvement activity which were discussed and will be
corrected when the next audit is performed

l discussed with the Cermak nurse manager, Madonna Mikaitis, R.N. my recommendation that a
concurrent audit be performed at the end of each day when an inmate has been placed in
restraints

Recommendations: As above.

o. Cermak shall ensure an adequate array of crisis services to appropriately
manage the psychiatric emergencies that occur among inmates. Crisis
services shall not be limited to administrative segregation or observation
status.

p. Cermak shall ensure that inmates have access to appropriate acute infirmary
care, comparable to in-patient psychiatric care, within the Cermak facility.

Compliance Assessment: Partial compliance
Factual Findings:
November 2015 Cermak Status Update

The collection of the HSR_F response data was revised to reflect face to face evaluations
conducted by mental health specialists by level of ordered priority (see APPENDIX).
Compliance with responding to all HSRF with a face-to-face evaluation within the required
timeframes has shown some improvements, but continues to fall below expectations One
known factor continues to be delayed scheduling of appointments related to staff allocation and
staff attendance A second full-time mental health specialist was assigned to Div. 9, one of the
problematic areas, in the evening to assist with timely response to HSRF. Other areas are
impacted by staff absenteeism and sheer volume of HSRF submitted There are just far more
patient requests for services than we have the staff to respond to in the required time frames As

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such, clinics fill up quickly and appointments are scheduled further and further back. We expect
to see improvements in response time as we increase our staff numbers As a department we
continue to discuss ways in which to address the challenges associated with responding to
repetitive and misused requests (i.e. detainees who fill out numerous requests for secondary
gain). We also expect that as the protocols and procedures for the processing of I-ISRF becomes
more fluid within Cermak as a whole; the mental health response time will improve. Nursing
staff were reeducated regarding the handling of HSRF for mental health services through the
development of triage flow chart (see Appendix). Cermak leadership is engaged in ongoing
efforts to improve the system protocols in this regard

Of concern was the number of HSRF that were not responded to as evidenced by absence of
documentation reflecting an evaluation in the medical record. An analysis of root cause of
HSRF not responded to for the month of September was conducted by Dr. Key. 41 charts
identified as “Not DC’d, Not Seen” were audited (see Appendix). Findings indicate that the
most significant causes were related to scheduling issues, patient refusals and erroneous referrals
to mental health that were not mental health related and did not warrant a mental health
evaluation Mental health staff will continue to work with the Scheduling department to
determine a plan of action to address the scheduling issues The Chief Psychologist will monitor
“Not Seen” patients to ensure access to care is provided

'l`o expand the availability of crisis response to divisions, additional telehealth equipment was
requested and installed in the urgent care. With this additional equipmenh once operational,
when there are two mental health providers scheduled to the urgent care, divisional services will
have increased access This will assist in addressing the often high numbers of individuals that
enter segregation on a daily basis

November 2015 Metzner assessment The relevant policy and procedure requires that mental
health HSRFS be triaged by mental health staff within 72 hours However, there is a
misunderstanding among mental health staff relevant to this policy and procedure and confusion
in the context of the definitions of priority and routine referrals Consequently, a significant
proportion of HSRFS are not being triaged within 72 hours

Staff need to be trained regarding this policy and procedure and a QI should be performed
relevant to implementation following the training

Recommendations: As above.
60. Psychotherapeutic Medication Administration
a. Cermak shall ensure that psychotropic medication orders are reviewed by a
psychiatrist on a regular, timely basis for appropriateness or adjustment

Cermak shall ensure that changes to an inmate’s psychotropic medications
are clinically justified and documented in the inmate’s medical record.

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b. Cermak shall ensure timely implementation of physician orders for
medication and laboratory tests. Cermak shall ensure that inmates Who are
being treated with psychotropic medications are seen regularly by a
physician to monitor responses and potential reactions to those medications,
including movement disorders, and provide treatment where appropriate

Compliance Assessment: Partial compliance
Factual Findings:
November 20]l5 Cermak Status Update

Infonnation regarding recommendation above regarding the careset was shared with the IT team.
No further updates at this time.

November 2015 Metzner assessment: An October 14, 2015 Ql study demonstrated continue
compliance issues relevant to obtaining pertinent laboratory tests, especially relevant to the use
of risperidone, Zyprexa, Geodon.

Recommendations: Develop and implement the previously referenced careset.
E. SUICI]DE PREVENTION MEASURES
61. Suicide Prevention Policy

a. CCDOC shall participate with Cermak in a jointly established Suicide
Prevention Committee charged with developing policies and procedures
to ensure the appropriate management of suicidal inmates and with
implementing and monitoring a suicide prevention program in
accordance With generally accepted correctional standards of care.

b. Cermak shall participate With CCDOC in a jointly established Suicide
Prevention Committee charged with developing policies and procedures
to ensure the appropriate management of suicidal inmates and with
implementing and monitoring a suicide prevention program in
accordance With generally accepted correctional standards of care.

c. The suicide prevention policy shall include, at a minimum, the following
provisions:
(1) an operational description of the requirements for both pre-service
and annual in-service training;
(2) intake screening/assessment;
(3) communication;

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(4) housing;

(5) observation;

(6) intervention; and

(7) mortality and morbidity review.,

Compliance Assessment: Substantial compliance (November 2013)
Factnal Findings:

November 20l3 Metzner Assessment: Signiiicant improvement is noted in the Mor|:ality &
Morbidity Review reports, which are now using a root cause analysis forrnat.

As described elsewhere in this report, problems remain relevant to the intake
screening/assessment process, especially in the context of priority referrals and segregation
admissions screening These issues are addressed elsewhere in this report.

November 2015 Cermak Status Update

Three reports were submitted for review following initial RCAs, prior to and since the last site
visit. Following the initial RCA completion and recommendation horn Dr. Metzner, Cermak
created narratives with a summary of relevant f`mdings for the three completed suicides The
narratives were created before receipt of CCSO reports

As of the submission of this report the following data has been received following three RCAs
secondary to completed suicides conducted in 2015.

#l. -J.A.- Critical lncident Review; CCSPD Report/ Autopsy Results were received by Cermak
on October 23

#ZT.T. - Detainee Expiration Memorandum, Data Collection Packet/Witness Statements

#3J.C. - Critical lncident Review. On September 30th, 2015 the CCSO (Sheriff’s Police) Report/
Autopsy Results were was received by Cermal<. The case was discussed during the Suicide
Prevention Committee. All the case above are at least 4-5 months old at the time of this report.

Autopsy results for TT were unavailable at the time of the report.

The initial RCAs were conducted according to the timetables (10 days) stipulated in the Policy
with the participation of representatives from Cermak and CCDOC (#l and #3) with the
exception of one case, #2 TT.

#l and #3 were discussed during the most recent Suicide Prevention Committee with follow up
on previously identined Action ltems. Revised versions of these two RCAs reflecting updated
documentation received and status of each action plan was sent for review in encrypted files

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Of note, the result of the action plan below is likely related to an observed high rate of special
care unit admissions

Cermak provided CCDOC a list of high risk charges CCDOC will explore the possibility of
having an alert on the dashboard of CCOMS or some other means (i.e. an internal email referral
system) of red flagging detainees with high risk charges The idea is to identify the charges that
lead to intense guilt, shame and similar feelings that increase the risk of suicide:

Predatory Criminal Sexual Assault

Abuse of a corpse

Sexual relations within families

Disrnembering a human body

Conspiracy to commit murder/ solicitation to commit murder

lntentional homicide of an unborn child

First degree murder when the following aggravating factors are present: killing of a peace
officer, murdering two or more individuals murdered individual was less than 12 years of age,
matricide, patricide, the murder involved infliction of a torture, death resulted from exceptionally
brutal or heinous behavior or wanton cruelty. These charges result in an admission to the
psychiatric special care unit for observation, even in the absence of past or present psychiatric
symptoms

Two RCA’s following staH assault in Cermak were conducted with CCDOC participation
according to the timeframes (10 days).

November 2015 Metzner assessment My Apri12015 recommendations were implemented
Substantial compliance continues

62. Suicide Precautions

a. CCDOC shall ensure that, where suicide prevention procedures established
jointly with Cermak involve correctional personnel for constant direct
supervision of actively suicidal inmates or close supervision of special needs
inmates With lower levels of risk (e.g., 15 minute checks]), correctional
personnel perform and document their monitoring and checks

b. Cermak shall ensure that, where suicide prevention procedures established
jointly with CCDOC involve health care personnel for constant direct
supervision of actively suicidal inmates or close supervision of special needs
inmates With lower levels of risk (e.g., 15 minute checks), health care
personnel perform and document their monitoring and checks

c. CCDOC shall ensure that when an inmate is identified as suicidal, the inmate
shall be searched and monitored with constant direct supervision until the
inmate is transferred to appropriate Cermak staff.

d. Cermak shall develop and implement policies and procedures for suicide

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precautions that Will set forth the conditions of the Watcli, including but not
limited to allowable clothing, property, and utensils, in accordance With
generally accepted correctional standards of care. These conditions shall be
altered only on the Written instruction of a Qualified Mental Health
Professional, except under emergency circumstances

Compliance Assessment: Substantial compliance (11/15)

Factual Findings:

November 2015 Cermak Status Update

See APPENDIX for Suicide Detection and Prevention Ql Report Qtr. 2 2015 and Qtr. 3 2015

November 2015 Metzner assessment Review of the relevant CQI studies indicated that all but
one of the provisions of the relevant policies and procedures were with greater than 90%
compliance The one provision not in compliance, which involved posting of the observation
status instructions on the cell door, has since been corrected

Substantial compliance is now present
Recommendations:
64. Suicide Risk Assessments

a. Cermak shall ensure that any inmate showing signs and symptoms of suicide
is assessed by a Qualified Mental Health Professional using an appropriate,
formalized suicide risk assessment instrument within an appropriate time
not to exceed 24 hours of the initiation of Suicide Precautions.

b. Cermak shall ensure that the risk assessment shall include the following:

(1) description of the antecedent events and precipitating factors;

(2) mental status examination;

(3) previous psychiatric and suicide risk history;

(4) level of lethality;

(5) current medication and diagnosis; and

(6) recommendations or treatment plan. Findings from the risk
assessment shall be documented on both the assessment form and in
the inmate’s medical record.

Compliance Assessment Substantial compliance (l l/13)

Factual Findings:

m

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November 2013 Metzner assessment

The 15 charts in the EMR of patients, who had screened positive on the suicide screen, were
reviewed by my fellow in forensic psychiatry These charts were randomly selected among
approximately 40 patients who had screened positive on the suicide screen Every patient chart
reviewed had a secondary suicide risk assessment completed In 12 of the 15 assessments, the
form was completed and the narrative summary was consistent with the checked items. In three
of the assessments, the narrative summary was thorough, but risk factors highlighted in the
narrative summary were not checked as risk factors in the body of the assessment form. This was
likely an error because the narrative summary assessed those patients as a risk for suicide.

November 2015 Metzner assessment Substantial compliance continues

65. Cermak shall ensure that inmates will only be removed from Suicide Precautions
after a suicide risk assessment has been performed and approved by a Qualified
Mental Health Professional, in consultation with a psychiatrist A Qualified Mental
Health Professional shall write appropriate discharge orders, including treatment
recommendations and required mental health follow-up.

Compliance Assessnlent: Substantial compliance (11/15)
Factual Findings:
April 2015 Cermak Status Update

Current protocol of only a psychiatrist being able to remove a patient from suicide precaution
continues Cermak policy is being updated to reflect this practice, which was adopted prior to
November 2014 site visit

As reported in paragraph #62, Ql report relevant to suicide detection and prevention were
reviewedn The overall compliance rate for the January 2015 audit was 92%. Oi` the 14 key
indicators, four had a compliance rate below the target of 90%, which included the following:

Ql\/lHP documented consultation with psychiatrist for disposition of suicidal detainee -
Documentation of daily psychiatry contact while in observation status
Observation log completed

Observation status instructions completed

P?°!\-’Z_‘

November 2015 Cermak Status Update
Please refer to Ql report referenced in provision #62.

November 2015 Metzner assessment Review of the relevant Ql results were consistent with

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the presence of substantial compliance
H. QUALITY MANAGEMENT AND PERFO]RMANCE MEASUREMENT
86. Quality Management and Performance Measnrement

a. Defendants shall each develop and implement written quality management
policies and procedures, in accordance with generally accepted correctional
standards, to regularly assess, identify, and take all reasonable measures to
assure compliance with each of the provisions of this Agreed Order
applicable to that Defendant.

a. Defendants shall each develop and implement policies to address and correct
deficiencies that are uncovered during the course of quality management
activities, including monitoring corrective actions over time to ensure sustained
resolution, for each of the provisions of this Agreed Order applicable to that
Defendant.

Compliance Assessment: Substantial compliance (11/15)

Factual Findings:
November 2015 Cermak Status Update

rl`he following Quality Improvement audits have been initiated and can be found in the
Appendix:

Telepsychiatry Utilization and chart audit

Intake Psychiatry Referrals chart audit

Facility Director Notii"lcations chart audit

CQl Frequency of contact with Providers in Cermak
23 Psychiatry Contact Visits chart audit

Quality of RCDC Mental Health Assessments
Health Service Request Not Seen

November 2015 Metzner assessment The pre-site information packet which included the QI
appendix, was well done and very helpful.

Substantial compliance is present
Recommendations: Continue with the QI process.

Additional Information

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During the anemoon of November 4, 2015, Susan McCampbell and myself met with key
leadership staff from CCDOC and Cermak medical/mental health services to discuss issues
relevant to the use of force involving mentally ill inmates which has been increasing during the
past year. Reference should be made to the reports by Mr. McCampbell for a summary of the
trends specific to this issue.

Two different populations were discussed relevant to this increasing use of force issue. The use
of OC spray within the second floor of Cermak often involved inmates who were in need of
involuntary administered psychotropic medications although the OC spray was not being used to
involuntarily medicate them. The psychiatrists’ vacancies, difficulties obtaining court orders for
the use of nonemergency involuntary medications, and the amount of out of cell time provided to
these inmates were among the issues discussed

The second population involved inmates in segregation units within Divisions IX and X who
were threatening suicide and/or engaging in dangerous and/or self harming behaviors These
inmates were noted to have predominantly personality disorders and did not meet the usual
definition of a serious mental illness. At the time of this discussion it was unclear how many of
these inmates were on the mental health caseload

Recent efforts by CCDOC to change the conditions of confinement by implementing out of cell
structured correctional rehabilitative programs on these units were described and acknowledged
as being extremely beneficial There was agreement that these inmates needed to have an
individualized behavioral management plan developed jointly by mental health and custody
staffs Positive incentives were also briefly addressed (e.g. increased out of cell time, access to
televisions, suspension of time in segregation etc.). The need to discuss issues related to
additional mental health staff for a behavioral management unit for some of these inmates was
also discussed There was agreement that CCDOC and Cermak would need to meet on a regular
basis to begin to address and discuss developing a correctional rehabilitative program and/or
mental health programming that would be cognitiver behaviorally based for these inmates

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Re: Mental Health Services at CCDOC

USA v Cook Counly, et al
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Appendix V

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Re: Mental Health Services at CCDOC

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Appendix VI

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Appendix Vl
Re: Document requests
Page 1 of 3

Please have the following information available in hard copy at the time of the site visit, and
sent to me one week prior to the site visit in electronic form (but not in PDF) unless indicated
otherwise Each piece of information should cover the period since the last site visit.

Note: If any of the requests are too burdensome to produce, please contact me before
attempting to produce such information.

Appendix I Agreed Order 5/13/10 lVlI~I provisions revised

Using the word version of Appendix lV in my last submitted report, after each of the
“recommendations” section add the following section: [date of site visit] Cermak status
update: and complete a narrative with proof of practice as available This document
request is the most crucial document Please do not delete my November 2015 findings or
recommendations except for provisions that have beenfound in substantial compliance for
at least 18 monrhs..

Some of the following requests may he in the above document and only need to be
referenced_it does not have to be provided twice.

Mental Health System

1. The mental health system organization chart (with both position and name of person filling
the position and his/her credentials~ e.g., degree).

2. Any new policies and procedures relevant to mental health services
3. Any new program descriptions of the current mental health system.

4. Any other reports (i.e., internal or external reviews) relevant to the mental health system at
CCDOC.

Institutional Program Status
l. Narrative summary of program status

Stafiing

1. List authorized mental health staff positions by discipline (psychiatrists, psychologists,
social workers, nursing staff, clerical staff, etc.) and by program/area (intake, crisis
stabilization, mental health housing units, etc.). For each position, indicate the person’s
name, professional degree, start date, and percent ofFTE if not full-time. lfthe position is
vacant, provide the date it became vacant. For any staff on leave, indicate the date the leave
began

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Re: Document requests
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2. List any newly allocated mental health positions and the dates they were established
Census/Mental Health Roster

l. The total number of inmates in the jail, total number in segregation units, total number of
mental health caseload inmates, and total number of inmates in each program area (crisis
observation, mental health housing, general population, etc.).

2. Statistical information pertinent to the reception center screening of inmates (i.e., number of
persons on a daily, weekly, or monthly basis for the past six months, percentage of inmates
who have positive screens nom a mental health perspective, percentage of inmates with
positive screens who enter the continuum of mental health services, percentage of all newly
admitted inmates who enter the continuum of mental health services).

Access to Higher Levels of Care

l. Number of inmates admitted to the infirmary on a monthly basis and the median length of
stay in such beds.

2. List of names of inmates admitted to the infirmary more than twice during the last
six months, including the admission and discharge dates.*

Disciplinary Reports
l. The total number of disciplinary reports Written in the jail.

2. The total number of disciplinary reports written for mental health caseload inmates in the
jail. Please list by mental health housing wings by Division.

3. The percentage of disciplinary reports that assessed mitigating circumstances to be present.

4. An analysis of the impact of positive mental health assessments re: mitigation

Quality Improvement

l. Agenda and minutes of all CQl meetings

2. Agenda and minutes of all Mental Health Subcommittee of the CQl meetings

3. A copy of each relevant QA/QI audit conducted, preferably in electronic forms. For each
audit provided, a description of:

a. Statement of the issue being studied
b. i\/lethodology used
c. Results

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Appendix Vl
Re: Document requests
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d. Assessment of results
e. Plan of action based on the assessment

Medication management

l. List of inmates and/or logs or other documentation of inmates receiving
medications on an involuntary basis.*

2. Audits or other documentation of timeliness of medication delivery to inmates who
arrived at the institution With current psychotropic medication orders or adequate
verification of current psychotropic medication usage.

3. Audits or other documentation of timeliness of medication delivery upon expiration
of prior psychotropic order.

4. Audits or other documentation of practices identifying patients noncompliant with
their psychotropic medication (as defined in polioy), timeliness of referral to mental
health, and timeliness and adequacy of psychiatric response

5. Audits or other documentation of laboratory testing orders as per standards for
psychotropic medications, timeliness of results, timely notice regarding abnormal
results, and appropriate medication adjustments

6. The total number of mental healthcare caseload inmates prescribed medication

Suicide Prevention
l. F or any completed suicide, a copy of the mortality and review report.
2. Agenda and minutes of Suicide Prevention team meetings
Additional Items

l. Schedule of group therapies/structured out of cell therapeutic activities offered to
inmates in the mental health housing units.*

2. Lo gs showing the use of restraints and seclusion, including the dates and times the
orders Were initiated, renewed, and discontinued, and the timing of nursing checks
conducted.*

3. Audits relevant to the mental health screening and rounds in the segregation units.

4. Description of the status of` any new construction or remodeling for mental health
treatment space.

*Does not need to be sent in advance of site visit

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Cermak Health `S'ervices of Cook County
Quality Improvement Report
Indicator/Project Name: 1. Referrals' to Secondary Ment_al_ Assessments by primary
screeners in RCDC and 2. Quality of dispositions by Men'tal Health Speciali`sts in
REDC [_sec'ondary sereeners}

During parissi os/awae'is-os/si/'zois

 

 

Exeeutive Summa.ry

 

DE]FINE I.Quality of Secondary Mental Health Assessments in RCDC Was analyzed 2.
To analyze low level of referrals for Secondary MH Screeni-ng iri RCDC.

o Between 03/23/2015 and 03 / 31 / 2015 604 Initial CHS Screeni.ngs took place in
RCDC [17-6_ 159, 1 14, and 155 respective to the above dates}. Out of those 39 have
been referred to Secondary Mental Health Assessmerits performed by QMHP’- s in
RCDC-15%

When separated by gender the folioun'rig data has been obtained; out of 513 males 63
have been referred to Secondary MI-l Assessi'nent (12. 2%} o_i-.it of 91 females 26 have
been referred to Secondary MH Assessriient [23. 5%].

o nn additional study of 102 charts was conducted by Unit_Dire_otor between
3/27/2015 and 3/30/2015. Total 102 patients were seen for Secondary Mental
Health Assessme'rit. Following the Secondary Merital Health Assessm_ents, the
following dispositions have been obtained:' Geriera_l Population 39 [33%], P2'- 41[40%),
P3-14[14%] and Pa-.S[S%].

The Chart audit revealed that in 12 cases {9%], the Unit Director disagreed with the
original disposition made by MHS 111 j QMHP.

 

 

 

 

 

 

LOC N`umber % of total Conoii_rrence % of L~OC by

D`isposition by agreement Supervisor
Supervisor

'GP 39 33% 34 '37% PZ

132 41 40% 41 100_%

Ps 14 ii% 13 93% 132

P¢i. s _ a% s ioo%

Totals 102 '100% 96 94%

 

 

 

 

 

 

 

 

All information provided in these appended materials is compiled at the director of the Cermak Department of Quality and Patieni
Safety and' is privileged and coniidential. They are to be used solely m the course of quality control and for the purpose of reducing
morbidity and mortality and improving the quality of patient care. 'l_`his confidential Patient S_afe_ty Work Produci' is protected under
the Federal Patient Saf`ety and Quality Improvemeni Aci and the lllinois Med`ical Studies Act.

 

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Cermak Health Se'rvi'ces of Cook County
Quality Improvement Report

o Another- study was conducted between 8/.27/2015 and 3/’31/201.5. 132 charts Were
analyzed by Chief of Psychiatry Questionable dispositions have been made by ?
erent s.
3%
8%
3%

25%
16.6%.
2'5%
S%

 

The rate of male referrals form Initial Screeni'ng remains low. The rate of female referrals to
Secondary Ml-`I screening is acceptable

The presence of outliers [albeit with low statistical power] has been identified

MH Leadersliip met with Directcr of Nursi`ng and discussed ways of improving the initial
Screening process in RCDC {the rate of referrals to Secondary MI-I Assessinent/ the rate of
l:"` else Positives remains lower than expected}. lt Was decided to continue using the existing
instrument used by screeners in terms cf sensitivity and balance it out against other
imperatives during the screening process In the meantime primary screeners Were
presented with an overview/refresher of the procedure lt was emphasized that the cut off
score of 13 is zmiportant but not the only trigger to warrant further referral to MH There
was ,a misconception that the total score on the 6-=qnestion screen is the only thing that
matters when considering MH referrals following the initial CHS screen. Any positive
response to a MH related question AND/OR a score of 13 or more on the irl-question screen
results in an automatic referral to MH for an assessment Screeners should be asking for
lifetime use of MH services A detainee is to be referred to MH for assessment at intake if
the S~question screen is positive AND / OR the detainee responds aihrmatively to any of the
other MH screening questions

IMPROVE`

l. Cermak MH Leadership has met with Nursing Leadersh`ip and clarified expectations and
the methodology used when applying initial screening in RCD`C. Fu_rthe_r studies
assessing;interratei' variability between primary screeners will have to be conducted by
the Paticnt Care/ Nursing Department

2. RCDC Unit Directh will continue addressing quality of assessments in group and
individual supervisions with Ment`al health Specialists working in RCDC.

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Saiety and is privileged and confidential They are to be used solely in the course of quality control and.for the purposeof reducing

morbidity and mortality and improving the quality of patient care. This-confidential Patient S_afety Worl_c Prodnct is protected under
the Federal Patient Safety and Quality Irnproveinent A-ct and the `lllinois Medical Studies Act,

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Cermak Health Services of Cook County
Quality Improvement Report

Indicator,fProject Name; Intake Psychiatry referrals chart audit

Wortin“g_`_period: 09!1-/"2016-09/30/0`1_5

 

 

Exeoutine `Siimmary. Chart audit revealed that some lntake Psychiatry referrals are not
seen within the required timefrarnes and some are not seen outside of the timeframes.

1. Psychiatiists in RCDC see detainees before Ml-l specialists put in `Emer-genoy Psychiatry
referral and the logic does register this evaluation as No Note-Not Seen.

`2,_ In some cases detainees are rushed to Urgent.Care (medi_oal conditionsl vnthdrawal
reactions and drug/ETOH toxidromes) and then to MSCU (Medieal Special Care Unit.]

5 ,/Deto)dfication Units by Primaryr Care and before Psychiatrists can assess in RCDC. Then
they are to be seen as Consultations in MSCU and RTU on the 2nd and 3 rd floors but with
resultant delays in the timefra;cne for Emergent Referrals.

3- When detainees Who were referred for Urgent and Routine Psychiatry referrals enter
Deto)diieation Units or admitted to MSCU [and/or sent to JSH], and remain there., there is
no separate mental health Clinic Template in Cerner for those non mental health locations
and the identification of these appointments is dependent on the eon_imunication between
Nursmg/Medical Providers and Psychiatric providers so that Psychiatry is notih_ed of
detainees appointments This communication is not always efficient as it calls for ret-view of
pending orders by Nursing and Medioal staff.. Frequent movement of patients With high
acuity between d'etozdii`c'ation / medical and mental housing also contributes to the fact that
appointments are missed and then rescheduled outside of timeframes.

4_. Schedulers/AA do not work during weekends /holidays and those referrals to Psychiatry
made on Fridays/Saturdays/Sundays/Ho}id'ays are scheduled for Urgent Consultations
with delays

\ 5.. SP IDOC(_parole ), EM and Outlying County shipments remain active in Cerner and
therefore are captured by its logic as not seen.

6. lt Was discovered that the CHS Mental Health Assessmen_t form used by MHS:in RCDC
was programmed to generate Urgent land not Emergent) Psychiatry Referrals When
detainees Were referred to Intake Psychiatry

 

DEFINE To study the pattern of referrals to Psychiatry using Emergent, Urgent and `Routine
tirneframes and factors impeding compliance with the requisite time frames, an audit of
charts ruth 77 `Urgent` and 77 Routine lntalre referrals to Psycluatry was conducted

MEASURE

Some of the reasons that led up to inefficiencies in seeing referrals in a timely fashion were
multifaetoii_al and most of the reasons fell in the following categories

All information provided in these appended materials is compiled at the director of the Cermak Department of Quality and Patient
Safety-and is prii»'ileged and oonfidential‘. They are to be used solely in the course of quality control and for the purpose of reducing
morbidity and mortality and improving the quality of patient care. This contidentia`l Patith Safe.ty Work.Product is protected under
the Federal Patient .Safety and Quality lmprovement Act and the lllinois Medioaf Smdie`s_Act.

 

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Cermak Health Services of Cook County
Quality Imprevement Report

 

Proeess issues 360/o
Cerner hmdvarmg issues 350/0
Scheduling issues 16%
Humari factors/ errors 13%
ANALYZE

Soliltio'ns Will require a multidisciplinary approach including IT Department and collaboration
with the Proces`s. and Flow Analysts as Well as the Patith Care Department What Wais
discovered reflects further need for creating a new sustainable process to eliminate delays in
Psychiatric referrals

IMPROVE
1. Staff will be directed to enter Psychiatry Refer_ral.order_s before charts are handed off'to
Psychiatrhds
2. This may be a poorly modi§iable factor using our current process (Patient Care Department
notifies Chief of Psychiatry of pending Psychiatric Referrals in Me_di`c_-al SCII) but Me_ntal Health
will continue working with Patient Care Department to identify those Referrals through the
development of a new process
3. Related to #3. Cermak is engaged in conversations with the Scheduling_.l)epartment’s supervisor
and Patie`nt Care Department
-4. \Mental Health will work with the Scheduling Department trying to resolve the issue. To address
this particular issue Cermak Administration will build a new Ui‘gent Referrals for Psychiatry
CHHiche`mp`l_ate in Cerner so ]Providers covering weekends and holidays Wi]l be able-to see those
Urgen.t Psychiatry referrals made (most of ' them are either in Psychiatric Iniirmary or in Medical
Iafir-mary) but only if AA’-s are assigned to limited coverage on Saturda'ys and Sundays.
Work order to IT has been generated to address the issue.
’l`llle issue§has been addressed and Cerner is reprogrammed to generate Emerger_lcy Psychiatry
referrals for Intake.

.5\$*'

CONTROL

All information provided in.these appended materials is compiled at the-director ofthe Cermak Department of Quality and Patient
Sa'fety and is privileged and confidential They are to be used solely in the course ofquality"eontfol and for tlle:purpose of reducing
morbidity and mortality and improving the quality of‘patient care. This coniden_tial Patient Sa§`ety Work Product is protected under
the Federal Patient Safety and Quality Improvement Act and the Illinois Metlical Studies Act,

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denman M:N'rm. summit
rN'rl:Nslv:: MANAGr-.MENT umw '- n'ru an
PLANNING ov:nv::w

 

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CERMAI( 'ME'NTAL HEALTl-l lNTENSlVE MANAGEMENT UNIT --RTU ZA.

 

Staffing Plan

1-.1. Psvc`hology-

1.2. Psychiatry

1.3. Mental Health Specialists
1.4.- Nursing

1.5. Custody
1.5. Exp_r.essive_ Art Therapist

1._7. ll‘l.llez:llcal Social Worker

1,8. Correctiona| Rehabllltatlon .Worl<er

lvlissior\: To utilize evidence based practices and interventions to assist detainees in reducing ld|entiHed`target

behaviors that often result in significant harm to se|f, others, or damage to the institution

Philosophy: To provide management and mental health treatment appropriate to the detainee’s diagnosisl risk,

acuitv, behavioral presentation end ability to self-regulate The-focus is detainee and staff safety.and reduction of

overall risk behaviors. All disciplines collaborate to coach, redirect-l re-inforce,-and manage the behavior-sand

progress of the inmates on the unit.

Admission `Crit'eria

4.1, Serio_us lv’_l_ental illness

4.2. Severe Func.ti_ona| Det`icits/Cognitive D`lsabi|itv

4.3. Anv of the above in conjunction with Adml'nistrative Segregation Status

4-.4, Ele.vated score o_n the Ma|adapt`ive Behavior Screen

4.-5_. Excluslo_narv Crlteria - Acute psychosls, acute medical concerns,

F.unct_lon"s of the Treatment Team

5.1. lvleet regularly-to review and plan for new admissions referrals,_ dischargesl and transitions.

5.2. To determine-the level and structure ot‘support the detainee needs, privilege leve|s, what activities-can be
safely engaged in

5.3. To review treatment progress

5.4. To analyze apel-address engagement in target behaviors on the unit

5.5. To discuss and problem solve any unit-or program issues and needs

Contlngenc-v Management - C`ollaboration with CCDGC

Cunriculum

Discharge Criteria - individualized based upon reduction in frequencv/intensitw'severitv of targeted behaviors per

the Maladaptive lBeh'avior Screening

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10/2.7;2015

 

 

 

 

 

 

 

 

 

 

 

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10/27/2015

 

 

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MLADA_PTIVE .BEHAVIOR SCREENING

 

 

offender items ooc'.# ' stassi-riparian ` onisianiceii

 

 

 

 

 

 

Staff making referrals Date: QMHP: Received Dat_e-:

 

'l'he following criteria-are to tie used in rating the frequency of behavior:
Never
Rarejly - iess than once per month
O.coasiona|ly ~_one to three time per month
Regu|arly - one to seven times per week
Fraq_ue_niiy - two to ten times per day
Very ‘Fre_quently_- more than ten times per day
The foliovilirig_criteria are to he used in rating severity or lntensity:
0 DU` not cg i.ir or riot ma_|ada gtiv` - behavior does not occur or its occurrence dow not represent a` problem as ii does riot
interfere with other adaptive behavior.
1 lns`gnilioant - behavior is without adaptive value in _a given Setting and is incompatible with other more\adapliv'e activities
2 Mi_l_d.- behavior occurs with force but no lnjury resuits if property destr).ic:`riciril there' is rio permanent change in the quaiiiy
or function of the object For stereotypic behavior and violations. sometimes interferes with programming
3 Modereie~ behavior occurs with sufficient force to cause reddening of the skin and/or contusions |f- behavior` is property
destn.iotions one occurrence will produce repairabi_e change' in the quality of the object For stereotypic behavior and
violations frequentiy. interferes with or prevents program participation
4 Sev‘ere'~ behavior occurs with force sufncient to cause bleeding, lesions andior medically diagnosabl.e internal injury (e.g. .,
broken limbs distende'd muscies which results` in temporary loss of function). if property destruction, behavior produces
loss of the objects function on` either a short or long term basis
5 i.i`fe Threatenlng - behavior ocwrs with force sufficient to induce permanent injury to self or oii'ie`rs or to produce death if

(H-hb§N-*O

left unabated.
seLF DiRE-cTEi:i FREQUENCV sEvERiTY
1. l-iil self or hits self against object 0 1 2- 31 4 5 0_ 1 2 3' 4 5
2 S_cratches self, cuts. reopens wounds 0 1 2 3 4 5 0 1 2 3 4 5
3 Bites- self ti 1 2 3 4 5 0 1 -2 3 4 5
4 Digs.'inserts items in body openings iears. eyes, nose remit vegiria)_ U. 1 2 3 4 _5 0 1 2 3 4 5
5 induces regurgi`talion 0 1 2 3 4 5 0 1 2 3 4 5
6 |nge.sts inedible objects such as roci<s, metal-, faces 0 1 2 3 4 5 0 1 2 3 4 5
OTHER D`iRECTED= FREQU`ENC¥ SEVER]T¥
1 l-§iitsi kicks..bites, scratches. ishovee, choices others 0 1 2 3 4 5 0 1 2 3 4 5
2 Threaterls. insulis, teases\,ourses or otherwise provokes others 0. 1 2 3 4 `5 0 1 2 3 4 5
3 Throws urine, fecas, etc 01 1 2 3 4l 5 0 1 2 3 4 5
4 Disrupts'with loud noise, tantrums, etc. 0 1 2 3 4- 5 0 1 2 3 4 -5
5 Sexuai acting out, inappropriate touching, exposures 0 1 2 3 4 5 0 1 2 3 4 5
6 Pester.s. nags. begs, or tables to others 0 1 2_ 3 4 5 0 1 2 3 4 5
P-RCIPERTY D|RECTED FREQU ENCY SEVE-RITY
1 Tbrows' objects 0 1 `2 3 4 5 0 1 2 3 4 5
2. Breaks objects o 1 2 3 4. 5 o 1 2 3 4 5
3. lvlari<s. scratches_, pee|_s;_ or soils objects o 1 2' 3 4 5 0 1 2 3 4 5
4. Steais property belonging to others 0 1 2 3 4 5 0 1 2 3 4 5
5. Moves. disposes or conceals property 0 1 2. _3 4 5 0 1 2 3 4 5;
SYMP'FOMAT|C BEHAV|.OR. l-'REQUENC`Y SEVER|TY-'
1. l-iighiy repetitive words-or phrases o 1 2 l3 4 5 0 1 2 '3 4 5
2. Taiks with self with no one near 0 1 2 3 4 5 0 1 2 3 4 5
3. O`ther 0 1 2 3 -4 5 0 1 2 3 4 5
CDMP.LIA.NGE lSSUES FREQUENGY SEVER|T`Y
1. Fails- to foiiow directives '0 1 2 3 4 5 0' 1 2 3 4 5
2. Reiuses medications consisteniiyir'nisuses medications 0 1 2- _3_ 4 5_ 0 1 2 3 4 5
3. Ret’uses to attendlparticlpate in programming 0 ‘I 2 3 4 5 o 1 2 3 4 5
4. Other: 0 1 2 3 4 5 0 ‘i ;2 3 4 5

`l'otai points _
[:] lntensive.iii_iariagernent _Hou-S_ing Plan Recornmend_ed
l:_i intensive Management Housing Plan Not Recomm'ended

Notee:.

 

Reierrai Soorc_e Signature

 

QI'i/|HP Slg nature

 

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CERMAK MENTAL HEALTH `
MENSIVE MANAGEMENT MANAG‘EI\!_{ENT HOUSI[_\TG PLAN

Management Housii:ig Plan

 

 

 

 

 

Detainee Name: `DQC it DDC Ciassit”ication `MI-l Classification
' Da_te Plan initiated: Data of Review:

 

 

 

in order to assist the detainee in avoiding behaviors which negatively impact their progress, the following
environmental restrictions will be.use'd, in additio.n:'to the expectations associated with intensive management status:

 

 

|, Ge.nera|_ Precautions r' lntervent_ions (Check Aii ThatAppiy)`:

 

 

 

 

 

 

A. Precauti'ons B. interventions
l !:] Not Appiicabie l:l Not App|ic_ab|e l:\ Clinical Restraints
i'_’i is»iiiiriu-ts watch ` l:l safety ailments 1:1 safety neiin
§ 'Consta nt _Watch I:] iviodit“ied Stripped Cell i:j Utens_il Restricti`on
E_ Other: Ei Stripped Geil El Clin_icai Precau`tionary Diet
l L__E O`ther: l l

 

 

 

 

l:i ||. Glinicai `Prec'a_i.itionail,‘jyr Diet: Wil| remain on CPD until a QMHP authorizes a regular diet. To prevent any use of
food utensils for seif-'harm, the Detainee will receive a Clinicai Precautionary Di'et, and will not be given use of any type
of utensii or plastic food tray. |.f the Detainee-a_buses food, such as throwing or smearing it, use-of Nutra Loaf will be

_ considered by the treatment team

L__l Additional instructions

 

i:i ili. iP`ersona| Propertyi.Le-gal Materials (Cheok Aii That Appiy): No personal property will be permitted in the cel|,
except for mail from which any staples will be removed, unless the Detainee misuses their mail for purposes of seif-
injury. 'i'he Detainee_ will also be permitted to borrow one (1) book or magazine et a time-from the-Detainee |ibrary, at
a frequency consistent with housing unit procedures unless the Detainee damages such reading materia|s, upon

l which any library privilege will be terminated if the Detainee uses oorrespondenoefreading materials to cover a coil
camera or viewing wind.ow, or to flood their celi, or is found to secret contraband items in them, ali such materials will
be removed for a period-of up to 30 days.

 

 

 

 

 

 

 

 

 

jl:l Detainee is authorized to have ONL‘( the following:
_A_. B'eoding ` B. clothing
i:|:'Mattress l:l Saf_ety Biariket ij .Boxers_ l:l dump SuitiUni`form
1:1 B|an'l<et 7 I:] T-Shirt i:l Safety Smock
i:i sheer [Ii Soci<s i:l:shower shoesrooc shoes
i:i Other; _ m Other:

 

 

fl Ci OtheriLegai Materia|s: Detainee will be given a Detainee pen temporarily for signing legal documents, etc.
The Detainee wiii bet directly observed when using a Detaine'e gen for these [:_)i.i_i'.pos't=rsl and is to return the pen to the
Ofi`icer afterwards _

i:l Detainee is authorized to have ONLY the foiiowing:
i:]; Writing Paper‘ 1:1 S'afety P.en j:l Rea`ding Materiai `l:l iviai| {Screened`)

[:i needing rvisieriai l:i Failvre iO return the i:i orrier: ij other;
pen will result in cell

entry to recover it.

 

 

 

 

 

 

 

 

 

 

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GERMAK MENTAL HEALTH
INTENSIVE MANAGEMENT MANAGE;MENT chsmc PL-A_N

UNTI` _ _ _
W

 

[:l D`. Hygi.ene items: No personal hygiene items will be permitted in the cell lnstead, hygiene items will lee
placed into a bag which' is kept in the tier ofhce or on the Detainee cell door. ch'c'ers will give the Detainee one

‘ t - ., l . - - iene. item will be
i:lireoti§i_F observedlsugerv_i`sed until it is returned to the officer A teethbrush will be dispensed to the Detainee
from outside of the cell with toothpaste on it tc be immediately returned after observed use. Fa_ili.i`r`el to return the
item will result in cell entry to recover it. The only occasion for`the Detainee to receive-shampoo will be when it is
placed onto-his hand from -a container and a single bar cf soap, upon entering the -shower. Detaine`e is to return
soap, wash cloth and towel upon leaving the shower, Detainee may have no more-than (’1} roll of toilet paper at

 

 

 

 

 

 

 

 

 

 

 

a time.

i:lDetainee is authorized to have onLY tire roiiowinMiene_items.
l:l Tcwe| ll W.ash Clo_th l:l Sc-ap l:] De'cdorant l [:] Toile_tPaper
[! _T.oot_hbi'ush l:l To_ct=l'ipaste [:l Lotion= § Qihef!

§§ lV. Detainee Movement: For required movement such as sh'ower's-, placement in a different cel|, exercise and
medical appointments the Detainee will be restrained and escorted in accordance with lntensive Management
procedures lt the Detain_ee needs to be transported Outsid`e of the fecility, such as to Court,i or` to a medical
appointment,\ method of' transport will ice determined by"custod_y, unless 1a medical procedure requires otherwise

 

_l:] V Cell Search: The cell shall be searched for contraband prior t`c the Detainee- being placed into the cell o_r'
returning to the cell This may occur when the Detainee is cutter exercise showers, cr for some appointment in
addition the cell will be thoroughly searched for contraband at unannounced times at least twice each week or more
rotten ii indicated by the treatment team and/or Seourity 'Supervisor.

ij Additional lnstructions:

 

[:l Vl: : Additiona_l instructions {which may include terms of behavioral contracti}:

 

; \.tll: Ac`ts cf Seiti Harm: l‘l, despite these precautions the Detainee is observed in the act of harming himselt_, such as
_ cutting themselves with some unsecured item, or scratching himself or hanging himself against a hard surface so as to

cause blood to flow, or swallowing or inserting foreign objects Officers will take emergency measures to prevent
additional seif- harm This may include use of pepper spray from outside of the cell, and!or cell entry and use of
restraints as needed Upon all such incidents, a Qtvll-lP- wili be contacted to check on the status of the Detainee and
intervene!pro\.ride pcst~incident debriefing as necessary

 

 

 

 

Qualified Mcntal Health Professionat Data Unit Director)’De`signee Date

 

Supcldntcndent or Dcsi'g_ncc Data Dctaincc ' Date:

m Detainec Ren`:lsed to Sign

truly 2d 2015

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lntensive Management Unit

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

';S_unday _ Monday Tuesday Wed ne_sday Th'ursday Fridav 'Saturday _
3 am Vanduan ' Vand;:an_: Rise- and C_aputo: kise Vanduan: Rise\and -Vanduan': 'Young: Young.on
'On\ca|| Shine/ Medication and Shine Shine_g' Med_ication Ris_e an_d Rise and call -
$hine/ Shine
\ . M.edication
9 'am Var'idua'n: Caputo: Vanduan: \`landuan'-. Yourrg:
Tx Graup Tx Group Tx Grc_\up Tx Group T)< Gmup
: 10 am Va`nduan: C_aputo: Vanduan: Vandua_n: Young_:
_ Tx GrQup Tx firon Tx G_roup' Tx Group Tx qup
11 am Dr. Key: Dr. Nunez
T)c Group _Tx Group
12 pm
1 run
2 pm
3 pm
4 pm ' §Pau| o.n Paul_: Brangh: Dr. Si||itti: §ran¢h:f Branch Branch o`n
C._a'\| _ Tx Grcup Gruup l Tx Gfuup G_rc`>up 1 on call call _
5 gm Branch: Br'anr.:h:
- Group 2 Group 2
6 pm
3 P_m
3 pm
9 pm
119 'pm

 

 

 

 

 

 

 

 

 

Day Shift 12i4pm: Time for CRW,_ Law Library,_ CCDOC activities (hygi.ene, phone cai|_s, tv, ej.tjc}

Afte-mcon Sh'ift'.&pm <m: Time for CCDOC activities

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Plan tier specialized female mental health treatment services

0 Each P3 patient will be presented in MDT clinical staffing;to rra-assess
specific treatment needs and the treatment plans will be updated as
needed.

¢ Treatment staff wii| follow the group treatment schedule to ensure
every patient receives the services deemed necessar\,r.

0 .Each patient will receive a monthly treatment card, highlighted with
their specific treatment recommendations to follow the treatment
pian.

o Ea`c_h patient must attend 75% of all treatment groups on her
treatment plan to receive a certificate of treatment attendance each
mo-nthi. Each patient is responsible for attending groups to meet the
treatment goal. ‘

» l\i’|en‘tal health staff will date and initial in colored ink for each group
each patient atten'ds. The treatment cards will be maintained by the
assigned mental health specialists in a binder for each tier.. Patients
are encouraged to keep track of their own group attendance

f o Make-.up groups will be facilitated by specific staff to ensure all
groups are offered lt a group cannot be facilitated it will not count
against the patient

¢ Patients wil! be informed by the tier`l\/|H`S and Dr. Br-iney in
community groups in September. Inform'ation Wiii be posted on P-3
tiers to remind patients of all `of these po.ints. 7

¢ Patients who achieve the 75% goal will receive one certificate per
month during the first week of the month. Extra certificates will not
be printed prior to the following month. Patients are responsible for
maintaining their certificates

¢ Start date of 10/1/'15

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Treatment Card: _ _ _ _lV!on-th:

 

 

Healthy TLiving

are

 

Managing
Feehngs

era

 

Substance Ab`use
& Co-occurri ng
Diisorders

3in

 

Community Re-
entry

3/'4

 

`P’sychoeducation

5/3

 

Copi`ng Ski.l|s

E/S`

 

l Me_ntal Health
Gro'up

6/8

 

l Communiry
Gp/Linkage

Expressive Arts

Rise & Shin-ejii/ied
Complr"on ce

 

 

 

 

 

 

 

 

 

 

*l understand this is a reflection of my group attendance for the menth.

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Prob.lem list for treatment plans - women'-s services
v Domes`tic vioien'ce
0 Sujb-stance Ab~use
d finger
o Anxiet;\,.'
-¢ Behat/ior issues
o Communicati`on skills
¢ Cri.mlnal vs. responsible behavior
o Degpr'ession
m Eating disorders
o Expressing Feelings
¢. Relationship issues
¢ Grief and loss
¢ Hfarrn to self or others
o Health -issues/ physical_health issues
1 Mledica_tion Management
c Miood Management
o Persona| Hygiene and self care
¢ Sle-image
» Sleep issues
¢ Social skills
0 Stress management
o Thought Dis'or-der
o Traurna '
o. Community -Re~entry
n Coping ‘Skills
» Know|edge_jinsight of mental i!|ness

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Group Top`ic-s' for Worne-n’s Servi`ce$-

Healthy Living - Living¢ a balanced lifestv|e, personal h\,r.gienel sleep hvgiene, exercise,- Cleani`ng'.
the tier and -rooms,-respect for self and others, se|fsesteem,- sitting voga, and nutrition {Heo`l=th
l‘lnno"oursr sleep resources self-esteem binder} - 4

Manaiging Feelings ~ Managing feelings of anger, anxi.etv,_ depression, self-harm. {Anger
management modules, depression & anxiety binders, thoughts 521-feelings module } - 4

Cop' ing -Sl`cills - Utilizing coping skills, managing stress, relaxation {$tress management module
stress jou_rnol, mindfulness, meditotion, progressive muscle relaxation hondouts} - 8

Substance. Aliz_use and Co-C\ccurring `Disorders- Edu_cate and discuss issues related to substance
abuse and issues related to having a substance abuse problem and mental illness, .Disc'uss the
consequences of substance abuse and treatmen-t'opti.ons. {12.step module; Hazelden workbook.
modules, psychoeduco.riondl videos} - 4

 

Community.Re-.ent[y - Discu`ss issues related to reentering the 'c'ommunitv, including finding
housingJ j;obs, mental health treatment etc. Provide referral handouts. En_gage in helpful
activities that would be useful to re-engaging with the community .(i.e. discuss job interviews
clhiicl care, etc.) - 4

Psvr.hoeducation Groups - Provide information and discuss mental health disorders and issue-s,
medication issues and encourage compliance, better decision making, provide support
{Depression & anxiety modules, paranoid and thought disorder handouts, thinking for a change
module, psychoeducntion videos, choices in recovery gome, mental health jeopardy} - 8

Mental Health Topica| Group - Various topics related to. mental heai.th, including but not
limited to: Domestic violence, responsible behavior vs\ criminal behavior, improving
relationships/parenting, po'sitivefassertive communication, eating disorders, seif-imag_e, social
skills, and grief/loss {Communicotion module, goal-serting, personal j-ourn'ols, topicou‘ hondouts}
- 8

Communitv Nleetin'e (on tierl - Ad'dress tier concerns and issues Reiterate the rules of the tier
and-establish the tone as a mental health tier. Promote_ unity and a positive atmosphere
Encourage treatment compliance

*Rise & Shine/ Meclication Compliance and management/Unka-ge to be completed during
morningand evening shifts on the intermediate mental health tiers.

*Expressive Arts - Art therapy, music therapv, poetry, creative writing, sitting vega

   
 

 

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am Preckvrin]t}e Cook County'}lealth & Hospitals System

 

 

 

 

assent . - §‘il%‘§'r??’lt’l,`§’ §"LE§L§§ ama trauma
Cook.Gounty Board of `Commi_'ssioners CC g l |__I S M_ gill gamma-di . Chaimm
-John ,]a§‘ Shannon, MD ` _ , ` Commissioner Jer`t_'y flsut`ler » Vice- Chairman
mathewan grace Ls\_».ts census
Cook County Health & `l-Iospitais System _ Rlc Estrada
Ada Maty Gugenheim
Emll:'e.N,_}__unge _ _
Waync M. Lcmer, DPH, FACHE
Carmen Vela,squaa
Dorrrnc P. Wiese, Edl)-
DA'TE:
NAME:
DOC#:
To Whom It May Concern,

This letter serves to affirm that the above named patient has attended ‘75% or
more of the recommended clinical therapeutic programs available to them
and recommended as part of their individual mental health treatment planh
Cermak Mental Health Services- Department affirms attendance This letter

reflects program attendance between the dates of and

 

Sigrted,_

 

Unit DirectorfLicensed Clinical Psyc'hologist

*Pl_ease note original copy of letter is signed in non-black ink to preserve authenticity of document

 

s nashvilth & Commvnity Health Ne'|lwou'k - Cermak Health $er\ri¢es *' hook county Department ct public lll_eul‘llii *'
0 Jolm ll-ll. Strog¢_r, Jlr.. Hosqa\il*u|l v Dak |Foresll Health Cem\ll'er v Provi¢leml' Hospilltl¥ ¢ Ru'ih M. lloi'hstein CORE firequ *

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c@r.mak Health-services Functional FTE's 11/1!`2'015
Psychiat'rists and Psychiatric PA

Chair' (1§} 1.0 (D. Kel‘ner}

Attendin_glPsychiatrists 6.8 (Advani, Howarcl, Marri`O.S, Menezes,. Pascbos, Ward)
Psychiatric PA (2) 1.1 {Baiawender, Basti'das '0.1}

Psychiatris%s Uve`rtime '0.2 {Howard, Morenc}

Psychiatrists (13.3 acct}- 1.'3 {I<a rtan, Las_s'e'n, Chinweze-, Rami_€); Chav}ayohan’s ASD-
1:1¢’2!2035

Tota=l Func§tional FTE 10.4

11!1[2015~P.svchologists
Chief Psycho`|o.gist [1) 1.0
Psychoiogis’cs`{lb_)_ _ 6.0

(.K. Key)

(Rogers,_ Bfrineyl Kaniuk, Waxl`er,, Sil|_itti, N\unez)`

 

’|'otal Fundtjign.a;l FlTE 7.0

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Cermak H_ea$th Services

Functi`onal FTEs 7]-1115

Psychiatrists and Psychiatric PA us p.ositions_}

 

-c`hair.(;c). 1.0

 

 

 

 

'Attending Psychiatrists‘ (15) 6.0
Psychiatric P-A (21 1.0
-$a-|'aried Psychiatrist OT 0,'2
Ps chiatrists 133 sect-3 1.5
91
Ch"a'ir (1) 1.0_
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Psychiatric PA {2) 110
Psvchiatrist"s ‘G.ve`rtime 0.2
Psvch:atrlsts ( 133 acct 1131 1. 5
" 10 5
C11air 111 1.0
At‘tehding psychiatrists 6,8
Psychiatric PA 2.0
Psychiatric-'O\rertime 0`.2
Psychiatri`sts Part:Time: 1.7
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111115
Chair (1) 1.0
Attending‘ Psychiatri'sts {'15) 6.3
Psychiatric PA 121 1_.1
7/3]15 bu Has called l_n déi_ly
Psychiatrist's 0vertime 0.2
Psvchlatrlsts 113__3 acct #31 1 1

 
 

_, : _nctmlna| FTE

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Psychologists (11 pos-itfons]
7/11'14
Chief Psychoi'ogist [1.0} 1.0

{D, Kelner}

(Howard, Marr§`,\ McNeal,.Menezes.; Mocreno, Paschos']
(Ka|man}

(Howard.)

{Kartan, Lassen, Ramic)

(D. I<_e|n`er)

_(Advani, Howacrc§, Ma-rri, Mc-Neazl‘, Menezes, P.aschos,_ Ward)
(Ka|man}

-(Howard, Moreno)

[Kartan_. Lassen, Ramic`:]

(Kel_ner-)

(Advani', Howard, Marri O.B, Mcnea|-, Menezes,- Paschos, Ward}
(Ba|awender,_ Kalman)

(H'owar_d 0.1,, More_no 0.11

{|(artan 0.5, Lassen 0.5, Ramic B.S, Chinweze 0,21

(D. Kelner)
[Advani, Howard, Marri 0.8, McNeal, M'enezes, Paschos, Ward_]
(Kalma-n' ' ‘ '. , Balawende'r, Locums 01)*Ka|manreslgnedeffectwe

(I-|'oward, Moreno)
(Kar-tan, Lassen, R'amic, Chmweze)

 

“ ‘;:vh'-`rviafé'rihifv

  
 

{K- Kev)

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Ps-vchelqgists 1101 _ 5.0
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Chief Psychoiogist 111 1¢0
Psycholggists 1101 5.0
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Chief Psycho!ogist [1.0} 1.0
Psvchofoe¥sts 1101 5.`0
1919 .\ _. 9 9 _ FTE *--1*1\ `1*9.1.'9
Activity Updiat'es:

(Bri'nev, Gumez, '|{aniuk, Nune'z_, Rogejr51

(i<. Key}
(Briney,-Gomez, Kaniuk, Nune-z, Rogers1

ll<- Kevl
(Briney,_.$il|itti, Kaniuk_.Nunez_, Roge_rs)

v One di the two Locums hired will be relees'e_d, decreasing the Locums from O;Z.to 0.1
iv 1 FTE Psychiatric PA has resigned

0 2 psychologists are irl the -credentiall_n`g process

¢ Dr. Lassen pulied out'of RCDC coverage during the week

¢ Dr. Chinweze is on maternity leave; did not give a date of antiti_pated return

» Dr. Chavlajohan ( Part time 1 has just submitted her-credentia|ing application

~ Dr.. G'om'ez transitioned to the position of Men_tal Health Directh

nw sman cev!paw S!Ousul am Jarpur\ lmwem.lu¢o pure p€HHlEA!J-d,,

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Cermak Health Services of Cook County
Quality Improvement Report

 

Indieato.riProjec't namet RATE`S OF PSY'CHIATRY INPATIENT CONTACT ON
CERMAK UNITS

Repo»rdn§ period: All inpatients on Cermak units on May 26, 28, and June 1, 2015

 

 

Eicecu-iive S:ummary (Give a brief but complete description 'ofihepurpose ofyour studyJ
' inezhoa’s nsed, resuits, and conciusions)

This study reviewed thej$'equeney of psychiatry contacts with inpatients in Cermak to study
compliance with po.iicy guidelines T he median ratio ofiiays per vis-ii per patient was calculated
for each ofthefour Cermak units Resuitsfounci 2 North and 2 West to be compliant with policy
guidelines 2" he median number ofdays per visit per patient were 2 0 and i 6 respectively for
these units 2 Easi, which is a chronic care setting where patients are to be seen monthiy, was

‘ found to be about one week below expectation at 3 8 5 days 2 South, ai 23. 8 days, was farthest
from compiiance. Further review gave indication that a number of 2 South patients waited a
month or more to be Seen.for ajirsi visii once transferred there

Limitedpsychiat)‘y siajj" has been on issue on _2 South, and this issue is being addres ed With two
new contract physician assistants who are starting this week lt is planned that they provide
additional coverage on 2 Souih. Co;ri='ilz:#liancewin1 be reviewed again next quarter.

 

 

DEFINE (Briejiy state the purpose ofthe siudy)

The purpose of this-study was to review'the frequency of psychiatry contacts With i'npatients
housed on the fom'psychiatric units in Cermak Health Scrv.iccs. Ccrrent policy outlines the
frequency of psychiatry contact as follows: On the acute care units cf'Z Ncrth and 2 We.st,
patients arc expected to be seen daily with the exception of Weekends and holidays, which would
be expected ic average out to one visit per patient every 1.'5 days On 2 S.outh, which is
designated as a subacute setting,_patienis are to be seen three nmes per Week, holidays excepted,
or once'every 2.5 days, unless otherwise ordered On 2 Ea_st, Which is designated as a chronic
care unii, patients are to be seen once a month This Study reviewed compliance With current
poii`cy.

MEASURE ('Describe what is being measured attach data}

On the date each unit Was reviewed, length of Stay (LOS') for each patient Was calculated based
on the nansfer' date posted in CCOMS. The number of psychiatry visits documented in Cerner
between the admission and review dates was then calcuiated for all patients on each of the four
units

isn index cf ‘days per visit per paiient" was calculated as a ‘median ratio’ of median LOS
divided by median number of visits per patient This method Was used in order to reduce the

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Cermak Health Services of Cook County
Quality Improve_mcnt Re_port.

 

disproportional influence of the ‘outiiers’, the few patients Whol had heen`housed in Cermak for
prolonged periods lLas’dy, a table of provider contactsw`as_ created for each unit (See Appen.:iix).

ANALYZE (Snmmarize analysis ofihe data, identity opportunities to -improve)

2 Nol"th:' Census on 2 North at 7am on June 1, 2015 was 25, and the review included all patients
on thc:unit on‘that data Lcngth cf Stay for these patients ranged from 1 to 20 days, with a
median L`OS of 4 days Number of psychiatry visits per patient ranged horn 0 to 1'4_, With a
median of`2. A median ratio of median LOS divided by median.number of visits per patient
yiered a ratio of 2.0 days per visit per patient

2 West: Ccnsus on 2 West at 7arn on June 1, 2015 was 12-_.. Leagih cf Stay ranged from .1 to: 80
days, With a median LC)S of 13 days Nurnber of psychiatry visits per patient ranged from 1 .to
`34,‘with a median of`l 1.5. The median ratio for 2 West was 1.6 days per visit per patient

.2 South: fCensus on 2 South at 7an1 on May 26th Was 26__. Lcng|;h of Stay ranged from 610 425
days, wich a median LOS of 4~'!.5 days Numbcr of psychiatry visits .totaled SJ, and ranged from
0 to 25-, With arnedian oi`2. The median ratio for 2 South was 23_.8 days per visit per patient

2 East: Cens_us on 2 E-ast. at 7am on May 28“‘ W.aS 12. Length of Stay ranged from 1 to 521
davs, With a median LO`-S of 3'8.5 days_. N-umber of psychiatry visits totaled 3"1, and ranged from
1 to 9_, with a median of 1. The median ratio for 2 Easi Was `38.5 days per visit per patientl

TABLE 1:R'A'_1`IO M:EDI'AN LOS & PSYCHIATRY VISITS _

 

 

 

 

 

 

PTS LDS LOS V|S|TS V|SITS MEDIAN CERMAK
sewer MED\AN cases MEolAN sArlc* P._oz.\cv

zN 25 ‘ 1-20 _4.0 0»14 '2.0 2_.0 is
zw 12 csc 13.0 1_~34 11.5 1.6_ 15
25 25 5-4'25 415 0-25 2.0 zs.-s 2.5
25 12` 1*521 sss 1-9 1.0 sss son

 

 

 

 

 

 

 

 

 

 

 

Based on unit.census;.on review date for each unit
*:Median Ra_tio is ‘number of days per visit per patient’.

On the issue of compliance, 2 North and 2 West yielded median ratios Whi'ch were very close to
the 1,5 day per visit.per patient average identified in the Cermak policy guidelines The 2 Norch
and 2 Wcst median rates Werc 2.0 and 1.6 days per vi'sii per patient, respectively The ratio for 2
_East was about one week below expectation, at 38.5 days, rather than 30 days 2 South
ccmpiiance, at 23.8 days per visit per patient, Was Wcll below the 2.5_ day average Due-to
salfing Shortages in psychiatry, this area has been understaffed.

IMPROVE diet-ions taken/benefits realized)

Of particular importance in improving the rate of psychiatric contact with 2 South patients is the
Wait for the first visit Of those within the first five We_eks of their stay on 2 South,- live cf twelve
patients, or 4-2% had not yet seen va psychiatrist, and an additional five patients had only seen the

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Cermak Health Servicies of Cook County
' Quality Improvement Report

 

psychiatrist ronce. A number of patients o_n' 2 South do remain on the unit'for Ver-y long periods
of time., Wl:icli Wculd_ justify a less intensive level of care_once these patients have stabilized
Howeser, all-patients need to be seen one-or more times during-their iirst month on the unit, a
policy-staadar£i Which is in effect for_£. East, which is considered aa chronic care setting

TABLE'_Z: 25 P-SYCHIA'I'RY CON'IACTS BY LENGTH OF STAY*

 

DAYS #PTS- UNSEEN 1)( 2){ BX _4){+
'1-35 _ 12 ` 42% 42% S% B% O%

 

 

 

 

 

 

 

seq-426 14 c% 7% 12%. 29% 50%`
ton May 2a 2015 (N=zs)

 

 

 

 

It is recommended that psychiatry and physician assistant staffing patterns bemodii`ied to
provide greater coverage, particularly for new patients on 2 South.\ Currentiy, two new contract
ph;\fsiciali1 assistants acre starting at Cermak, audit is planned thattliey -Will help provide coverage
in 'Cennale, including 2 South-

CON'_I`R¢:.`}L (Pl.cm to maintain improvement)

Reidew compliance again next quarter.

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Cermak Health S'ervices of 0001_! County h
Quality Improvement Report 1-

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

APPEN'DIX
its P_sYt-;FHAEIRY VISITS'*
ATTENDENG, -#=vlslTs
§ sp 27
JH 15
AB 14
LF l s
ana ` 5
KF` 4
EL s
TA _ 2
TcTAL- 79-
*Jim¢ 1, 20§;15 cenals; N=zs
zw PSYCHI;ATRY WSITS*
a“rTE.NoicsG #‘vlslrs
D_l< 122
tc 21
tA 5
AR 5
MM 5
sp 2
AB 1`
JH - 1
JM 1
mmi 164

 

 

 

‘*Iune i-, 20155 Census_; N=12

 

 

 

 

 

 

 

 

 

 

25 BSYCH_IATRY `VI_SITS*
ATTEND\NG # visits
m 65
Mi< 14
Dl`< 3
ira 2
AR 1
Aa 1
ToTAL 87

 

 

*May 2_6, 2015 Censil.¢,; N_=ze

 

 

 

 

 

2313 P._SYCH_IATRY VlS-ITS*
A‘l'rENomc-;- # visits
` Mw`i 29
sp 1 _
iH 1
TOTNL 31

 

 

 

 

*M.ay 28, '29€15\ C`ensus; N=lQ

  
 

Case: 1:10-Cv-02946 Document #: 303 Filed: 12/08/15 Page 116 of 131 Page|D #:4556

2 SO.UTH PSYCH|ATRY PATiENT 'VESITS:_ lViAY- 251 2015 CENSUS;

The purpose 'ot this review was to evaluate the frequency of psychiatry visits with patients admitted to .2
South Cermak. Census on 2 South on Mav 26, 2015 was 26, and the evaluation included ali patients on
the unit on that dates

Method involved determining the number of days each patient had been housed on the unit up to the
May 26“‘ date, i.ength of Stav (_LOS) for each patient was calculated based on the transfer date posted in
CCOMS. N'ext, the number of psychiatry visits documented in Cerner'bet.ween the admission date a_n'd
lv'lavr 26,\2015 was determined for each patient. Length of stay ranged from tito 425 davs, with a
median LDS of 415 d'a-vs. `Number of psychiatry visits totaled 87, and ranged from 0 to 25, with a
median of12.

An index of 'patient'davs per visit' was calculated in two ways to determines method which might be
-most‘reliable given the broad variability in Length of Sta`y between patients A 'median ratio' of median
LO-S divided bv median number ot visits per patient yielded a ratio of 47-.5 divided by 2, or 23.8 days per
visit per patient Calcula.tad using the total number of patient days`for ali 125 patients (-1,973 total
patient dav-s) divided by the totat number cf psychiatry visits (87), yielded an average of 22.7 days per
visit per patient The two ratios [23.8 and_ZZ.i_’) are quite similar to each other, and suggest a reliable
conclusion of ‘23 days per visit per patient'_

The length of time it took to be seen for a first visit on 2 South-was of interest Gn May 26‘*‘, five
patients had not been seen bv psychiatry since their transfer to the ,unit£ =aithough they had been seen
on the day of tra'n$fer. The LOS for these tive patients ra nged-fmrn 6 to 35 days, with a median of 14
davs- Of_the 21 patients who had been seen at least once by psychiatry since their arrival on the unit,
the median wait was tour davs. The average wait for first visit for all patients seen was 8 davs.

Fina‘liv+, although the average patient on the unit was seen bv psychiatry every 23 davs, this varied widely
as noted in the table immediately belovv.

25 PSYCHlATRY CONTACTS B”Y LENGTH OF STAY*

 

 

 

 

 

 

oats _#PTs' `un`ssaiv ix 2-'3)¢‘ 4-5)< s-rx s)t~+
` 6-15` s so% so%' 0% 0% c% o%
is.-sa 7 1496 is%. 72% 0% o% o%
assts _ s o% 17% as% 50% cia 0_%
3120~425 s oss c% '20% zo% 40% zo'%

 

 

 

 

 

 

 

 

 

*Or\ May `26, 2015 {N=ZG}‘

Last|v, a listing ot the providers who had seen patients housed on 2 South on May 26“" is provided
below_

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visits ar nnovlnsn
ntrenpuv_e # visits
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3d1 2
`A'n 1 y
ns 1
tom 37

 

 

 

 

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Special Management l"lou_sing S_cre'en. Review:

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

September 2015
Prelzzlhr-Placement, MI-l Screen %
Division BF'RTU" 47 98%
RTU MALES 18 - 17 94%
Division 6 100%
` 9 69 z » 82'%
Division_li] 55
ota'I-s 93%
2015
24l1r-Piacement M`l-l Screen
Division RTUj 20
RTU MA‘LES 22 21
Division 6 203
Division 9 143
Division 10 80
Tot_als 468
y July 2015 .
Segregation Pre]l¢lhr-.Plai:ement MH Screen 36
pinson sjntu ` 23 23 loose
RTu MALE$ 20 20 ` 100%
Divisi`on 6 194 194 100%
Divisinn 9 l 112 ` 105 94%
Division 10 53 53 100%'
Tura'ls ` 402 395 .93%
June 2015
Segregation `Pre/Zdhr-Placement MH Screen %
Division 3]RTLl 13 12 912%
nru miss ` 17 ` 17 100%
Divisio`n ;6 163 163 100%
prvrsion a 101 101 100%
D_ivision 10 ` #D|WOI
Totals ` 294 _ 293 100%
\ May 2015
Segregation Pre/Z¢lhr»Placement MH Screen %
Division sjn'ru 25 25 100%
RTU MALES 28 27 95%
D-iv'ision 6 194 194 100%
Divisi_on 9 159 159 100%
Division 10 #D|V/O!
iotals 406 405 100%

 

 

 

 

 

 

CaSe: 1:10-cv-02946 Document #: 303 Filed: 12/08/15 Page 119 of 131 Page|D #:4559

Cermak Health Services of Cook County
Quality In:lprovemellt Report

 

Indlicator}Project Name: 'Noti&cat-ion to Facility Director of Patient: Place_ment in
restraints

7 Re]portllng_period: 04/ 01 f 2015_-08_! 241 20 15

 

 

Exccutive Sulnmary

During the eaid period of 2015 there were 63 total FLR deploymehts at Cermak. A]l of the deployments tools
place 'orl 2N (a.cute male housing unit] and 2W [acute and aubac-ute female unit] 51 deployments took place
on 2N allci 12 on 2W. Facility Director was notified 27 times (42. 85% of total number of deployments}_. Out
those 27 notificatith 2 [7%) were reported to him within a day, 6 [22%] were reported within 2 daye, 3 (l l%l
were reported within 3 daye, and 16 [59%} were reported outside of the 4 day wh‘ldow.

 

DEFINE

ANALYZE

Accordillg to Cermak Secll'lsio'll and Rcsttaint Policy I-O_l: “ Once restraint or seclusion has been deployed during one 24
hour pcriod, it may not be used again with the same patient during the next 48 hour period without the written
authorization of the Chief of Psychiatry pursuant to the ]MlHMDC ( 405 ILCS 5!2- 08 Ch. 91 ‘/z,- part 2-108).“ This
particular notification ls a part of a number ofilldicato_rs monitored m the Restral'nts alld Seclusi'oll Au'dlt conducted by the
Depaltnlcllt of Nursirlg. thll Department of Nurs'ing does not notify the Chief of Psychiatry of these events timely it
precludes him from reviewlng cases defined under the policy’ s provision On 03!031‘2(}15 Nursillg was presented with the
updated current form “l~`lot`ificatioll of` Facility .Direotor" ~ Forl-ll # 86815 This' lssuc has been discussed multiple times ill
e-communications,: with the Nu'rsing Leadership. The cited numbers reflect poor adherence to the Polioy provisions

IB’IPROVE
Fu'rther dialogue With Nllr'sirlg Lca'dcrship about the importance of timely Notit`lcatl`ons will continuc.

CUINTROL

A.`ll information provided m these appended materials is compiled at thel director of the Cermak Department of Quality and Patith
Safety and ls privileged and confidential They are to be used soleiy` m the course of quality control and for the purpose of reducing
morbidity and mortality and improving the quality of patient care This confidential Patient Safety Work Prodnct ls protected under
the cheral Patient Safety and Quality lmprovemcnt Act and the Ill_illois Medical Studies Act.

 

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marma_c==.a owoommw. named _.,S. wm.mw$ Nm._mw¥_
nw _.m€mma m H®.mm.w_w hm.wp$
meredc=:m 5ch :_:§os_: h mrme mm.h_..o$
<<3:@_ DQE_.B@._._§Q h Q.Hmm.\a.__ mm_.mw.§_
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T~oommw Qmo$em_:& z=.__ w h.mm¢\¢ m_w.wm§
na§_m_a_a § arm a ~__e§ woman
2a m__=e,_ » §§ a.l.._m§
mn:eee_wsa dance 20 age v N.§R_ wo.,~u_,x_
a ee.c.eea_ _ o t §§ _ woman
__ueaa negate P eha @w_.§e
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NQ.QQ.H.

 

 

 

 

 

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RN paper t‘r`iages Health\$;ervi`ce Requ-est. F\orm (H-SRF)

and determines M'H service need

 

 

 

Division 202
RTU

 

 

Division 10

 

 

 

 

 

 

 

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Divisions '(T:sa't ram-loew

oivisinn 9 (r-`sat rem and-§un-Th: s~
llPM}

 

Division 1

Dli'vls;-io'n 201

 

 

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And every Monday and Sunday in E
& 3

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` Division _3 Ann'e`r.
- Div_ision 11

Division iii

 

 

 

 

 

 

1 Who_eve.r triages gives to' onsite MH worker

 

 

Nurse.or medi_c scans to
mhreterra|@c`ookcountyhhs.dr'g

 

 

 

 

Sees' detainee

Wh.en present

 

 

 

 

 

 

IV| H staff checks for sea n-ned HSR Fs
between'll and 12

 

 

/

 

 

MH staff schedules to clinic
for next day appointment

 

 

 

Urgents -seen same day.
Ca;ll division

 

lfvo.u don't see MH staff you should scan t§he referral
please use a cover sheet with your D`ivision

 

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¢ Abiove times are only guidelines Statfing can change due to call-ins our-emergencies m
gdn_'t see MH staff vou should scan the refe_\;\;al
¢ Before you scan
o Clarify entry into Cerner document if FZF:sometimes nurse documentation does not
always reflect what was done
0 Forms are not always complete when scanned
l Nurses check for completeness
" Some documents don't have DOC' numbers
» Nurses should see MH urgent and document the F2F visit
o suicidaiity and or homicidality = immediate referral to p:s.vc_h
o new voices,.severelv depressed severe change from baseline Nurse does FZF'ti'len
disposition
o need my medications (tease this out may be non-urgent_...do-tiiey have an active
prescription?)
o Physica| symptoms chest pain , short of breath, headaches need medical clearance first
\ o can't sleep is not treated with medication by M'H providers provide_.s|eep hygiene
materials
o Anxious and can't cope complaints usually can be 'scann.ed`if they are not urgent to
receive a next day appointment Be sure to .assess.

 

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Cermak Health Services of Cook County
Quality Improvement Report

 

Indlicatorf,/Project Name: Suicide Detec_t_ion and Prevention

getting period: Janua.ry 2015 - September 20]l.5

 

 

Exccutive Summary

'l."he ChisfPsychologist with the assistance of ci Ml'-IS ill conducted the quarterly audits, reviewing a
total of thirty charts per quaJ-ter. The goal of the surely is to' determine stci.i_fjf compliance with the
Interagency Suicide Detecti'on and Prevention directive The audit tool consists offoiirteen quality
indicators taken directlme the mtcrogency directive s procedure for Cermak si;cgjc CCDOC staff
_- mform of compliance with Indicat`or #8 Completlon of Observo:lion Log & Fom‘i by CCDOC.

The overall compliance rate for the April audit was 93% Of the fourteen key indicators specific to
Cermak stcgj€ 3 had a compliance rate below the target of 90%. They mcluded:

-QMHP documented consultation with the psychiaa'istfor disposition of suicidal

detail-162

-Docimientcijtlon-of daily psychiatric contact while on»observati'ori status

-lndividual treatment plan identities a schedule for follow up

Following the midd, Unit Directors were convened and directed to continue to address policy-specih'c
issues in group:supe_rvislon. Staff continues to verbalize having consulted with psychiatry-jar the
disposition of detainees with suicide ri'slc, yet they_continue _to.remciin' incon&l`$tent in domutl€nling die
consultation Addiribnally, staff will be reminded that completion ofthe suicide risk assessment and
subsequent referral to intake psychiatry do not replace documenting psychiahy considtation.

Policg~specg-”ic discussions will continue to occur in the weekly psychiatry/ psychology meetings to
educate die treatment team leaders Unit Directors will continue to review and retrain all staffon the
applicable policies and facilitated policy- specific discussions during group supervision meetings with
mental health specialists individual staff that remains noncompliant with policy directives will be
identified and disciplined as appropriate,

The vacant positions currently within psychiatry continue to adversely impact compliance The
workload created on weekends by the census and acuity of new patients results in unmtentionol
missed contacts Additionallg, the psychiao'y team has had to rely upon a rotation for coverage of the
mfirmary units Consequently staff covering the units has less ji'equent opportunity to engage this
policy resulting in compliance challenges The ChiefPsychlah'ist will provide oversight of the infirmary
psychiatry staff to increase compliance with daily psychiatric contact for those on close and constant
observation status

The overall compliance rate for the duly audit was 96.5%. `Oj diefow'teen key indicators specific to
Cermak stdff,; 2 had a compliance rate below the targeth 90%. Tieg included-:
-QMHP documented consultation with the psychiatrist for disposition of suicidal
-Documenta,tion of daily psychiain'c contact while on observation status

 

All information provided m these appended materials is compiled at die director of the Cermak Department oil` Quality and Patient
Safot.y and is privileged and con§dontial. They are to be used solely' m the course of quality control and for the purpose of reducing
morbidity and mortality and improving the quality of patient care. This confidential Patient` Safety Work Product is protected under
the Federel Patith S_at`ety and Quality Improvcmcnt Act and the illinois Medicai Studies Act_,

 

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Cermak Health Serv_ices of Cook County 55=`
Quality Improvement 'chort

 

 

While not l_l')CJ‘-?¢ir1 the second quarwr' audit reflects improvement in compliance since the
fast quarter Followi'ng the audit individual sta_;§" members not in compliance with the expectation to
document consultation with psychiatry were identified and addressed by the ChiefPsychologist.

The daily contact with close observation staats patients has improved this qi_iarter, however vacant
positions cwrently within psychiatry continue to adversely inpac`tfull compliance The workload
created'.on weekends by the census and acuity of new patients results in unintentional missed
contacts Additionall_y, the psychiatry team has had to rely upon a.rotati_onfor coverage of ' the
infirmary iv'ii'ts. Consequently, stc'y_'jc covering the units has less frequent'opporiwiity to engage this
policy resulting in compliance challenges The ChiefPsychiaa'ist will provide oversight of the infirmary
psychiatry staff to increase compliance with daily psychiatric contact for those on close and constant
observation status

The overall compliance rate for the October audit was 889€_:. Qj" the fourteen key mdicalors specific to
Cermak st@ only one had a compliance rate below the target ong%:

-Observation Stahis Instract_ions Completed

While the overall compliance percentage for the third quarter dropped tlu's was solely due to non-
compliance-af the one indicator There were noted improvements in compliance in every other
indicator since thefvst quarter. Followi_ng the audit the ChiefPsychologi.st was able to determine
that this noncompliance was due to a cross departmental rriisconmiwii'cation regarding the presence
and active utilization ofan. _elecaonic version of the Observation- Status Instructions. All mental-healdi
and nursing stage were immediately instructed to resume use,of the paper document that will later be
scaruied into the medical record until the EMR issues are rectij`ied.

 

DEFINE

The purpose of the study Was to determine staff compliance With the lntera_gency Suicide
Dctection and Prevention directive

Fourteeri quality indicators were identified from the hitcragency Suicide Detection and
Prevention directive Chart reviews are completed for thirty detainees each quarter,
specihcel_ly assessing compliance With the identified indicators

A.‘ll information provided in"t_hcse appended materials is compiled at the director of the Cermak Department of Quality and.Palicnt
Safoty and is privileged and coohdcntisl. They arc to be used solely in the course of quality control and for the purpose of'reducing_
tii¢.')rl:olcliiyl and mortality and improving the quality of patient care. This confidential Patient Safcty Work Product is protected under
the F ederal P_i_i_tieot Safety and Quality Improvcment Act and the lllinois Medical Studies A'ct.

 

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Cermak Health Services of Cook County l
Quality Impr'ovement Repo'rt

 

 

 

 

Jan`uary-.Ma`rch'£(ii§ _ _
Quality indicators Yes No NfA % Compliance
A identification and Refe`_rral
1 Suicide risk screen completed by a Qualitied` 30 160%'
tui_ent_al Health Staff (QMl-|S) person
2 it`detainee had a positive.sutcide risk screen, 30 tOD°/e

heishe has a` suicide risk assessment completed
by a`Ouaiiiied Men_ta| Health Professionai

 

 

 

 

 

 

 

 

 

 

 

 

 

 

ionHP-). _ .

3 OMHP documented consultation with 18 12 60-%.
Psyoh`iatrist for disposition of suicidal detainee

ii Suicidal detainee'tias 'an_ order for constant or 28 2 93%
close observation

5 Adrois__sion_.care set is completed by 30 ' 100%
Psychiatrist.

6 Ot)seriration Status instructions completed 29 ` 1 97%

? Obsenratien Lo'g completed Nursin.g. 29 1 ` 9?%_.

5 Observ'ation Log completed by CCDOC. 30 100°/=

9 Docu mentati'on or daily psychiatric contact 23 7 ` ?7%
while on observation status.

10 Observ'aiion status`discontinued by physician 30 100%
or psychologist

11 Patient referred for follow up mental health 22 1 7 95%
care within-96 days or discontinuation oi
observation status

B` Foilow up

1 if identified as a serious suicide -at_tempt_, 2 28 100%
patient has an iiV|AGS alert for “History of Serious
Suicide Atternpt”

2 li identitied as a' serious suicide attempt, 30
morbidity review completed within 30 days or
incident

3 individual treatment pian identities a schedule 22 ` .3 5- BB%
for follow up

 

 

 

 

 

 

 

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Sech and is privileged and confidential. They are to be used'sole]y in the course of quality control and for the purpose ofireducing
morbidity and mortality and improving‘the quality of patient care. This confidential Pati'eni; Safet;y Work P`r.o'duct i.s'protected_ under
the Federal Patient Safet'y and Quality Improvernent Act and the Iltinois Medical S.tu.dios Act.

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Cermak Health Serviees of Cook County §:
Quality Improvement. Report

 

Apjrii - June 2015

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Quality indicators res ito wit %'comptianee

A ` identification and Referrai

1 ` Suicide.n`si< screen comptefted bya Qualified 30 1003/s
iti’ienial Heaith Staff (Q;MHS] person-._ _` _

2 ii.detaihee had a positive suicide risit screen, 27 3 109%
heishe has a suicide risk `asse'ssm eni completed
by a Quaiiiied‘liiienta`| Health Protession'ai
(GMHP). _

3 ' GMHP documented consultation with 21 “." 2 _ `75% `
Pstc_hiatrist for disposition oi suicidal detainee ` .

4 Suicidai d`etainee:has an order for constant or 29 t ' _ 97%

_ close observation _

5 iedmi-ssion care set is completed by Psychiatrist. 30 1 UO%

5 -O_ bseriraiion Status instructions completed 29 '1 1`00%

7 1ZJbser\ration L_og ccrnpieted Nursing. 29 1 100%
Obsenation Log completed by CCDOC. 30 ' 100%
iDocu'me'niati'on 'oi daily psychiatric contactwhile 25 3 12 . .`89`% '
on observation status. l

111 Ooseryation status discontinued by physician or 29 ` 1 100%_
psychologist

11 Pa‘u‘ent referred ioriollow up mental health care 29 1 ` 100%
within 90 days of discontinuation of observation
stems _

B Foli`o`w-up

1 ; it identiiiejd as a serious suicide attempt patient 39 #DMO!
has an iltiACS aiertior “Historyof Serious
Suicide.A_t_tempt”

2 li.iden`iihed esa serious suicide attempt 30 ` '#Di‘dtl!
morbidityretiew completed within 39 days of
incident _

3 individual treatment plan identities a schedule for 29 1 100%
follow up

 

 

 

 

 

 

 

 

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morbidity and mortality and improving the quality of patient care This confidential Patient Safety Work Product is protected under
the Federal Patient Safety and Quality lmprovement Act and the lllinois Medical Srudies Act.

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Cermak Health Services of Cook County
Quality Impr-ovement Report '

 

 

 

 

 

duty - September 2015 _
Quality-indicators lies No N!A tie Compliance
n identification and seems '
1 ' Suicide risk screen completed by a Qualiti_ed 22 1 7 ` 96%
Mental i-leaith Staff (QMHS) person._
2 ti'd.e_taine.e had a positive suicide risk screen, 18 2 10 90%`

helsh'e nasa suicide risk assessment completed
by a Qualiied Mentat Health Protessiona|

 

 

 

 

 

 

 

 

 

(QMHP).

3 leii-lP documented consultation with 24 1 5 96%
Psychiatrist tojr disposition of suicidal detainee

=l Suicidal detainee has an order for constant or` 30 100%
close observation

5- Admiss-ion care set is completed by 29 1 9?%
Psychiatrist.

6 Gbservation Status instructions completed 1 29 ` 3%

7’ Obseoration Log_ completed Nursing. ` 28 2 93_`%

8 Observation Log completed by CCDOC. #D|WO!

9 Docomentation ot daily psychiatric contact 27 3 ` 90%
while on observation status

iii ' ' Obseryation:status discontinued by physician 28 2- '_ 100%
or psychoiogist, `

o ` assent referreu`rsr renew up mental health so todd
care within 90days ct discontinuation ot
observation status

 

B Fo|tow up

1 lt identified asa serious suicide.ettempt, 0 ` 30 n -itDlW`O!
patient has an |MAGS alert for “History of 'Serious
Suicide Atiempt”

 

 

2 lt identified as a serious suicide attempt, 0 30 #D'l’WOl
morbidity review completed within 30 days of t
incident

 

3 n lndividuai treatment plan identities a schedule 30 l 100%
for follow up

 

 

 

 

 

 

 

 

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morbidity and mortality and` improving the quality ofp'at;icnt care This confidentiaf Patient Safety Work Product' rs protected under
the Pcdci‘al Pati.ent'Safety and Quality lmprovemcnt Ac.t and the lll_inois Medioa.l _Stiidies Ac_t-.

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Cermak Health Services of Cook County
Quality Irnpro'vement Report'

 

ANALYZE

The ovemall compliance rate for the October 2015 audit Wa_s 88%. Howeve_r, the decline in overall
compliance Was a direct result of noncompliance 011 one key indicator as described above Which is
being addressed

There is an ongoing need for continued supervision, including targeted individual supervision, and
discipline When -applicable, With non-compliant staff, in addition to administrative oversight to
achieve absolute compliance in this area.

IMPROVE

The formal suicide risk screen and assessment tools Were Ena]i_'zed at the end of September 2013
Staff received 1111t1al traim’ng on the tools in October 2013 They Were __p_ut into practice immediately
following the initial n"ain-ing Ongoing supervision will he needed to ensure the tools are used as
outlined 111 polic_v.

Staii" assignments are rotated as needed to minimize staff bur-nout and corripla_c¢.=,-nc§r due to the high
demands of the various clinical areas and the toll taken by addressing chronic crisis situations

The -forr'nal suicide risk screen and assessment are formatted/ embedded within the ciinical note to
make completion-rnandatory.

All mental health specialists have received an annual review and training on this polic_y.

-Currernt protocol involves only psychiatrists being permitted to discontinue a patients observation
status.

licensed mental health staff has been availed to intensive rae-training regarding responsibilities
associated With\disposition of suicidal detainees in Urgent Care and RCDC. "Bojot_ Cainp” trainmgs
March 2015.

’l`he Chief Psychiatrist provides climoal oversight 01 psychiatric assessment, treatment and
documentation

The new Psychiatric =Special Care Unit Director for 2 l\lorth_r.~lne:ll 2 West has been hired and is in
place The unit directors role is to assist in supervision of the staff and will increase-oversight of
policy compliance

The Chief Psychologist Will Wo_rlt with l’l` regarding the Observation Status lnstructions form.
CONTROL

The Chief Psychologist and the Chief Psychiatrist' will proV1de regular clinical oversight of
compliance With the directive Audits Will continue to be completed quarterly to continue to
document progress

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morbidity and mortality and .unproving the quality of patient care. This confidential Patie:nt Safety Work Produot' 15 protected under
the Fecleral Patith Safety and Quality Improvement Aot and the lilinois Medioal Studies Act

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Re: Mental Health Services at CCDOC

USA v Cook Counl‘y, er al.
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Attachment 1

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NU:R'SING DEPARTMENT -CENSU.S' REPGRT
FY 2015

TOTP\L PAT, LENGTH
CENSUS ADM_|SSIONS TRAN'S_FERS DISGHARG_ES DAYS OF S"I'AY
175 85 1 12.61
21 4 13.18
164 48 147 1..4.04
224 191 2
L 245 . .
MAY - 4 82 1 2318 2.95
JUNE 184 1 B 10.66
JUL`Y 21 4 1
AUG 202 ' 1996 1051
SE|PT 202 1 12.93
OCT ' 0 0
NOV C| 0
. 2032 11.
1ST QTR 543 6434 1328
1151
BRD . 664? 10
TH O ` . ' 1

_ ` 'ro’rAL,-PAT, LENGTH
census ‘ mmlssaous TRANSFERS- DlscHARGEs DAYS oF s'rAY
- 140 51 99 99
682 1 4a 1 682 e.
644 29 6.85
7 192 60 127 32 6.51

729 205 38 1 70 429

Y1-2 178 56 118 ‘ 6.03
156 61 105 i 6.04

533 171 49 108 . 6.32
` 165 46 104 ' 6.01

163 86 73

1656
426
575

’ TOTAL PAT, LENGTH
MONTH 1 ADMISSIONS TRANSFE_RS DISCHARGES 5 DA QF STA¥
D 14 35 ; 36 298 8
JAN 47 . .
FEB . 35 § 271 7
MAR.CH 32 § 358 1.
40 42 ; 1036
Y 36 33 ‘ 441 13
JUNE 2.9?
JULY 47 11
AUG 37 44 446 10. 4
SEPT ; 38
'l" : . 0
NOV , 0
YTD
1ST TR
QTR
BRD GTR
4_ Q

 

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NURSIN`G D-EPARTMENT`-CENSUS' REPORT
FY 2015

OCT
NOV

TR
TR-
sRuJ QTR

CENSUS
342

320
308

338

216
248

ADM|ssloNs

ADMlssloNs `

§ R-ECE|VED B"l"

RECEIVED BY TOTAL FAT;
TRANSFER 1 DAYS
29 577
539
7 1 5?.7
-684

1 .
1 6 557

438
415

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TO`l'-AL PAT,
TRANSFER DAYS`
286
2?

266
:2?0
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261

 

262
250

D‘

815

250

RECEWED B¥
TRANSFER
4

4 7

TOTAIL. PAT.
DlSCHARGES DAYS

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NN

366

1
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boulme

N
hoc mg

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LENGTH
S_TAY
20l 6 1
49. 00
36.

1.9_0
2=7
14.46
21
1237
19.0_4

22.65
35
25

'LENGTH
OF STAY
572-0
.OO
.OO
1 .50 .
38.00
90.0(1
27'.44

32

25:00

.94
111.07
89.17
3.2.50`

LENGTH
OF STAY
57
1?.3

771-39
67.60
43.2[}
59.50`
65.6‘2
1 .50

61`
54.73

 

